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                            CERTIFICATE OF SERVICE

 I hereby certify that a true and correct copy of this Appendix was served via ECF
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 Privacy redactions: privacy redactions were required at pages 870, and 937-38 in
 volume 4 of the Joint Appendix.

                                       s/Peter Krumholz
                                       Peter Krumholz
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              Colorado Outfitters Association, et al.,
                                v.
      John W. Hickenlooper, Governor of the State of Colorado
                             14-1290
                                            and
           Jim Beicker, Sheriff of Fremont County, et al.,
                                  v.
      John W. Hickenlooper, Governor of the State of Colorado
                              14-1292
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                                                                              ALLMTN,APPEAL,TERMED
                                U.S. District Court
                          District of Colorado (Denver)
               CIVIL DOCKET FOR CASE #: 1:13−cv−01300−MSK−MJW

   Colorado Outfitters Association et al v. Hickenlooper           Date Filed: 05/17/2013
   Assigned to: Chief Judge Marcia S. Krieger                      Date Terminated: 06/26/2014
   Referred to: Magistrate Judge Michael J. Watanabe               Jury Demand: None
   Case in other court: USCA, 14−01290                             Nature of Suit: 950 Constitutional − State
                        USCA, 14−01292                             Statute
                                                                   Jurisdiction: Federal Question
   Cause: 28:1331 Federal Question: Other Civil Rights
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                                                         #3200
                                                         Denver, CO 80201−8749
                                                         303−295−8000
                                                         Fax: 295−8261
                                                         Email: dabbott@hollandhart.com
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Magpul Industries                       represented by Jonathan Michael Anderson
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Douglas L. Abbott
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Colorado Youth Outdoors                 represented by Peter J. Krumholz
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

   Plaintiff
   USA Liberty Arms                        represented by Jonathon Michael Watson
                                                          Sherman &Howard, L.L.C.−Denver
                                                          633 17th Street
                                                          Suite 3000
                                                          Denver, CO 80202−3622

                                                                                              2
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                                                          303−297−2900
                                                          Fax: 303−298−0940
                                                          Email: jwatson@shermanhoward.com
                                                          TERMINATED: 02/12/2014

                                                          Marc F. Colin
                                                          Bruno Colin &Lowe, P.C.
                                                          1999 Broadway
                                                          Suite 3100
                                                          Denver, CO 80202
                                                          303−831−1099
                                                          Fax: 303−831−1088
                                                          Email: mcolin@brunolawyers.com
                                                          ATTORNEY TO BE NOTICED

   Plaintiff
   Outdoor Buddies, Inc.                    represented by Peter J. Krumholz
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                          Richard A. Westfall
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

   Plaintiff
   Women for Concealed Carry                represented by Peter J. Krumholz
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                          Richard A. Westfall
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

   Plaintiff
   Colorado State Shooting Association      represented by Anthony John Fabian
                                                           Anthony J. Fabian, P.C.
                                                           510 Wilcox Street
                                                           #C
                                                           Castle Rock, CO 80104
                                                           303−663−9339
                                                           Email: fabianlaw@qwestoffice.net
                                                           ATTORNEY TO BE NOTICED

   Plaintiff
   Hamilton Family Enterprises, Inc.        represented by Anthony John Fabian
   doing business as                                       (See above for address)
   Family Shooting Center at Cherry Creek                  ATTORNEY TO BE NOTICED
   State Park

   Plaintiff

                                                                                               3
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   David Strumillo                       represented by David Benjamin Kopel
                                                        Independence Institute
                                                        727 East 16th Avenue
                                                        Denver, CO 80203
                                                        303−279−6536
                                                        Fax: 303−279−4176
                                                        Email: david@i2i.org
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

   Plaintiff
   David Bayne                           represented by Peter J. Krumholz
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                      Richard A. Westfall
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

   Plaintiff
   Dylan Harrell                         represented by Peter J. Krumholz
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                      Richard A. Westfall
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

   Plaintiff
   Rocky Mountain Shooters Supply        represented by Jonathon Michael Watson
                                                        (See above for address)
                                                        TERMINATED: 02/12/2014

                                                      Marc F. Colin
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

   Plaintiff
   2nd Amendment Gunsmith &Shooter       represented by Jonathon Michael Watson
   Supply, LLC                                          (See above for address)
                                                        TERMINATED: 02/12/2014

                                                      Marc F. Colin
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

   Plaintiff
   Burrud Arms Inc.                      represented by Jonathon Michael Watson
   doing business as                                    (See above for address)
   Jensen Arms                                          TERMINATED: 02/12/2014

                                                                                             4
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                                                           Marc F. Colin
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

   Plaintiff
   Green Mountain Guns                      represented by Jonathon Michael Watson
                                                           (See above for address)
                                                           TERMINATED: 02/12/2014

                                                           Marc F. Colin
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

   Plaintiff
   Jerry's Outdoor Sports                   represented by Jonathon Michael Watson
                                                           (See above for address)
                                                           TERMINATED: 02/12/2014

                                                           Marc F. Colin
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

   Plaintiff
   Specialty Sports &Supply                 represented by Jonathon Michael Watson
                                                           (See above for address)
                                                           TERMINATED: 02/12/2014

                                                           Marc F. Colin
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

   Plaintiff
   Goods for the Woods                      represented by Jonathon Michael Watson
                                                           (See above for address)
                                                           TERMINATED: 02/12/2014

                                                           Marc F. Colin
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

   Plaintiff
   John B. Cooke                            represented by David Benjamin Kopel
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

   Plaintiff
   Ken Putnam                               represented by David Benjamin Kopel
                                                           (See above for address)


                                                                                                5
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                                                      ATTORNEY TO BE NOTICED

   Plaintiff
   James Faull                            represented by David Benjamin Kopel
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Larry Kuntz                            represented by David Benjamin Kopel
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Fred Jobe                              represented by David Benjamin Kopel
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Donald Krueger                         represented by David Benjamin Kopel
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Stan Hilkey                            represented by David Benjamin Kopel
   TERMINATED: 05/08/2014                                (See above for address)
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Dave Stong                             represented by David Benjamin Kopel
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Peter Gonzalez                         represented by David Benjamin Kopel
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Sue Kurtz                              represented by David Benjamin Kopel
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

   Plaintiff
   Douglas N. Darr                        represented by David Benjamin Kopel
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED



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   V.
   Defendant
   John W. Hickenlooper                      represented by Daniel D. Domenico
   Govenor of the State of Colorado                         Colorado Attorney General's Office
                                                            Ralph L. Carr Colorado Judicial Center
                                                            1300 Broadway
                                                            Denver, CO 80203
                                                            720−508−6000
                                                            Fax: 720−508−6032
                                                            Email: dan.domenico@state.co.us
                                                            ATTORNEY TO BE NOTICED

                                                            David Christopher Blake
                                                            Colorado Attorney General's Office
                                                            Ralph L. Carr Colorado Judicial Center
                                                            1300 Broadway
                                                            Denver, CO 80203
                                                            720−508−6000
                                                            Fax: 720−508−6032
                                                            Email: david.blake@state.co.us
                                                            ATTORNEY TO BE NOTICED

                                                            John Tien Yau Lee
                                                            Colorado Attorney General's Office
                                                            Ralph L. Carr Colorado Judicial Center
                                                            1300 Broadway
                                                            Denver, CO 80203
                                                            720−508−6000
                                                            Fax: 720−508−6032
                                                            Email: jtlee@state.co.us
                                                            ATTORNEY TO BE NOTICED

                                                            Jonathan Patrick Fero
                                                            Colorado Attorney General's Office
                                                            Ralph L. Carr Colorado Judicial Center
                                                            1300 Broadway
                                                            Denver, CO 80203
                                                            720−508−6000
                                                            Fax: 720−508−6032
                                                            Email: jon.fero@state.co.us
                                                            ATTORNEY TO BE NOTICED

                                                            Kathleen L. Spalding
                                                            Colorado Attorney General's Office
                                                            Ralph L. Carr Colorado Judicial Center
                                                            1300 Broadway
                                                            Denver, CO 80203
                                                            720−508−6000
                                                            Fax: 720−508−6032
                                                            Email: kit.spalding@state.co.us

                                                                                                     7
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                                                      ATTORNEY TO BE NOTICED

                                                      LeeAnn Morrill
                                                      Colorado Attorney General's Office
                                                      Ralph L. Carr Colorado Judicial Center
                                                      1300 Broadway
                                                      Denver, CO 80203
                                                      720−508−6000
                                                      Fax: 720−508−6032
                                                      Email: leeann.morrill@state.co.us
                                                      ATTORNEY TO BE NOTICED

                                                      Matthew David Grove
                                                      Colorado Attorney General's Office
                                                      Ralph L. Carr Colorado Judicial Center
                                                      1300 Broadway
                                                      Denver, CO 80203
                                                      720−508−6000
                                                      Fax: 720−508−6032
                                                      Email: matt.grove@state.co.us
                                                      ATTORNEY TO BE NOTICED

                                                      Molly Allen Moats
                                                      Colorado Attorney General's Office
                                                      Ralph L. Carr Colorado Judicial Center
                                                      1300 Broadway
                                                      Denver, CO 80203
                                                      720−508−6000
                                                      Fax: 720−508−6032
                                                      Email: molly.moats@state.co.us
                                                      ATTORNEY TO BE NOTICED

                                                      Stephanie Lindquist Scoville
                                                      Colorado Attorney General's Office
                                                      Ralph L. Carr Colorado Judicial Center
                                                      1300 Broadway
                                                      Denver, CO 80203
                                                      720−508−6000
                                                      Fax: 720−508−6032
                                                      Email: stephanie.scoville@state.co.us
                                                      ATTORNEY TO BE NOTICED

   Interested Party
   Board of County Commissioners for      represented by David Robert Frankel
   Mesa County Colorado                                  (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                      Maurice L. Dechant
                                                      Maurice L. Dechant, Attorney at Law
                                                      1940 10 Road
                                                      Mack, CO 81525
                                                      970−216−0941

                                                                                               8
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                                                            Email: lyledechant@gmail.com
                                                            TERMINATED: 03/03/2014

   Plaintiff
   John B. Cooke                             represented by David Benjamin Kopel
   Sheriff of Weld County, Colordo                          (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Terry Maketa                              represented by David Benjamin Kopel
   Sheriff of El Paso County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Justin Smith                              represented by David Benjamin Kopel
   Sheriff of Larimer County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   David A. Weaver                           represented by David Benjamin Kopel
   Sheriff of Douglas County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Bruce W. Hartman                          represented by David Benjamin Kopel
   Sheriff of Gilpin County, Colorado                       (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Dennis Spruell                            represented by David Benjamin Kopel
   Sheriff of Montezuma County, Colorado                    (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Tim Jantz                                 represented by David Benjamin Kopel
   Sheriff of Moffat County, Colorado                       (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Jerry Martin                              represented by David Benjamin Kopel
   Sheriff of Dolores County, Colorado                      (See above for address)


                                                                                                 9
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   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Mike Ensminger                             represented by David Benjamin Kopel
   Sheriff of Teller County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Shayne Heap                                represented by David Benjamin Kopel
   Sheriff of Elbert County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Chad Day                                   represented by David Benjamin Kopel
   Sheriff of Yuma County, Colorado                          (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Fred D. McKee                              represented by David Benjamin Kopel
   Sheriff of Delta County, Colorado                         (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Lou Vallario                               represented by David Benjamin Kopel
   Sheriff of Garfield County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Fred Hosselkus                             represented by David Benjamin Kopel
   Sheriff of Mineral County, Colorado                       (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Brett L. Powell                            represented by David Benjamin Kopel
   Sheriff of Logan County, Colorado                         (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Brian E. Norton                            represented by David Benjamin Kopel
   Sheriff of Rio Grande County, Colorado                    (See above for address)


                                                                                                  10
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   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Duke Schirard                             represented by David Benjamin Kopel
   Sheriff of La Plata County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Jim Beicker                               represented by David Benjamin Kopel
   Sheriff of Fremont County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Ronald Bruce                              represented by David Benjamin Kopel
   Sheriff of Hinsdale County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Chris S. Johnson                          represented by David Benjamin Kopel
   Sheriff of Otero County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   James Crone                               represented by David Benjamin Kopel
   Sheriff of Morgan County, Colorado                       (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Si Woodruff                               represented by David Benjamin Kopel
   Sheriff of Rio Blanco County, Colorado                   (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Tom Ridnour                               represented by David Benjamin Kopel
   Sheriff of Kit Carson County, Colorado                   (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Tom Nestor                                represented by David Benjamin Kopel
   Sheriff of Lincoln County, Colorado                      (See above for address)


                                                                                                 11
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   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Forrest Frazee                            represented by David Benjamin Kopel
   Sheriff of Kiowa County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Rick Dunlap                               represented by David Benjamin Kopel
   Sheriff of Montrose County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Ted B. Mink                               represented by David Benjamin Kopel
   Sheriff of Jefferson County, Colorado                    (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Fred Wegener                              represented by David Benjamin Kopel
   Sheriff of Park County, Colorado                         (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Bruce Newman                              represented by David Benjamin Kopel
   Sheriff of Huerfano County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Randy Peck                                represented by David Benjamin Kopel
   Sheriff of Sedgwick County, Colorado                     (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   Dominic Mattivi, Jr.                      represented by David Benjamin Kopel
   Sheriff of Ouray County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Plaintiff
   John Minor                                represented by David Benjamin Kopel
   Sheriff of Summit County, Colorado                       (See above for address)


                                                                                                 12
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   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Scott Fischer                              represented by David Benjamin Kopel
   Sheriff of Jackson County, Colorado                       (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Rick Besecker                              represented by David Benjamin Kopel
   Sheriff of Gunnison County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Charles "Rob" Urbach                       represented by David Benjamin Kopel
   Sheriff of Phillips County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Rod Fenske                                 represented by David Benjamin Kopel
   Sheriff of Lake County, Colorado                          (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Grayson Robinson                           represented by David Benjamin Kopel
   Sheriff of Arapahoe County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   David Campbell                             represented by David Benjamin Kopel
   Sheriff of Baca County, Colorado                          (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Mike Norris                                represented by David Benjamin Kopel
   Sheriff of Saguache County, Colorado                      (See above for address)
   TERMINATED: 11/27/2013                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

   Plaintiff
   Amos Medina                                represented by David Benjamin Kopel
   Sheriff of Costilla County, Colorado                      (See above for address)


                                                                                                  13
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   TERMINATED: 11/27/2013                                        LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

   Plaintiff
   Miles Clark                                    represented by David Benjamin Kopel
   Sheriff of Crowley County, Colorado                           (See above for address)
   TERMINATED: 11/27/2013                                        LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

   Plaintiff
   David Encinias                                 represented by David Benjamin Kopel
   Sheriff of Bent County, Colorado                              (See above for address)
   TERMINATED: 11/27/2013                                        LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

   Plaintiff
   James (Jim) Casias                             represented by David Benjamin Kopel
   Sheriff of Las Animas County, Colorado                        (See above for address)
   TERMINATED: 11/27/2013                                        LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

   Plaintiff
   Garrett Wiggins                                represented by David Benjamin Kopel
   Sheriff of Routt County, Colorado                             (See above for address)
   TERMINATED: 11/27/2013                                        LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

   Plaintiff
   Grand Prix Guns                                represented by Jonathon Michael Watson
   TERMINATED: 12/23/2013                                        (See above for address)
                                                                 TERMINATED: 02/12/2014

                                                                 Marc F. Colin
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

   Plaintiff
   Rodney Johnson                                 represented by David Benjamin Kopel
   Sheriff of Grand County, Colorado                             (See above for address)
   TERMINATED: 12/12/2013                                        LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED


    Date Filed        #    Page Docket Text
    05/17/2013         1     43 COMPLAINT for Injunctive and Declaratory Relief against John W.
                                Hickenlooper (Filing fee $ 400, Receipt Number 1082−3366625), filed by
                                Ted Mink, Rick Dunlap, Hamilton Family Enterprises Inc., DBA Family
                                Shooting Center at Cherry Creek State Park, JIM BEICKER, Jerry's Outdoor
                                Sports, Dennis Spruell, James Crone, Larry Kuntz, Grand Prix Guns, Brett

                                                                                                           14
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                           Powell, Rod Fenske, Colorado Outfitters Association, Si Woodruff, Goods
                           for the Woods, National Shooting Sports Foundation, Women for Concealed
                           Carry, Duke Schirard, Mike Ensminger, Forrest Frazee, Fred Wegener,
                           Shayne Heap, Amos Medina, Tom Nestor, David Bayne, David Encinias,
                           John Minor, David Strumillo, Magpul Industries Corporation, CHAD DAY,
                           Peter Gonzalez, Fred Hosselkus, James Casias, Outdoor Buddies, Inc.,
                           Colorado Farm Bureau, Specialty Sports &Supply, Grayson Robinson,
                           Dylan Harrell, Brian Norton, Colorado State Shooting Association, Douglas
                           Darr, Rocky Mountain Shooters Supply, Green Mountain Guns, 2nd
                           Amendment Gunsmith &Shooter Supply, LLC, James Faull, Terry Maketa,
                           John B. Cooke, Stan Hilkey, Donald Krueger, ridnour, Scott Fischer, Lou
                           Vallario, USA Liberty Arms, Burrud Arms Inc. DBA Jensen Arms, Miles
                           Clark, Fred Jobe, Garrett Wiggins, Rick Besecker, Ronald Bruce, David
                           Campbell, Chris Johnson, Fred McKee, KEN PUTNAM, Bruce Newman,
                           Justin Smith, Sue Kurtz, Jerry Martin, Mike Norris, Tim Jantz, Dominic
                           Mattivi, Jr, David Weaver, Dave Stong, Randy Peck, Charles ("Rob")
                           Urbach, Bruce Hartman.(Westfall, Richard) (Entered: 05/17/2013)
    05/17/2013     2       Case assigned to Chief Judge Marcia S. Krieger and drawn to Magistrate
                           Judge Michael J. Watanabe. Text Only Entry (dbera, ) (Entered: 05/17/2013)
    05/17/2013     3       Magistrate Judge Consent Form issued. (dbera, ) (Entered: 05/17/2013)
    05/21/2013     4       WAIVER OF SERVICE Returned Executed by Colorado Outfitters
                           Association, Women for Concealed Carry, David Bayne, Outdoor Buddies,
                           Inc., Colorado Farm Bureau, Dylan Harrell. John W. Hickenlooper waiver
                           sent on 5/17/2013, answer due 7/16/2013. (Westfall, Richard) (Entered:
                           05/21/2013)
    05/22/2013     5       NOTICE of Entry of Appearance by Matthew David Grove on behalf of
                           John W. Hickenlooper (Grove, Matthew) (Entered: 05/22/2013)
    05/22/2013     6       NOTICE of Entry of Appearance by David Christopher Blake on behalf of
                           John W. Hickenlooper (Blake, David) (Entered: 05/22/2013)
    05/22/2013     7       NOTICE of Entry of Appearance by Daniel D. Domenico on behalf of John
                           W. Hickenlooper (Domenico, Daniel) (Entered: 05/22/2013)
    05/22/2013     8       NOTICE of Entry of Appearance by Jonathan Patrick Fero on behalf of John
                           W. Hickenlooper (Fero, Jonathan) (Entered: 05/22/2013)
    05/22/2013     9       ORDER REFERRING CASE to Magistrate Judge Michael J. Watanabe: IT
                           IS ORDERED that pursuant to 28 U.S.C. § 636(b)(1)(A) and (B) and Fed.
                           R. Civ. P. 72(a) and (b), this matter is referred to the assigned United States
                           Magistrate Judge to:(1)Convene a scheduling conference under Fed. R. Civ.
                           P. 16(b), enter a Scheduling Order meeting the requirements of
                           D.C.COLO.LCivR 16.2, enter such orders as appropriate to enforce the
                           Scheduling Order, and resolve discovery matters;(2)ADR: Court sponsored
                           alternative dispute resolution is governed by D.C.COLO.LCivR 16.6. On the
                           recommendation or informal request of the magistrate judge or on the
                           request of the parties by motion, the Court may direct the parties to engage
                           in an early neutral evaluation, a settlement conference, or another alternative
                           dispute resolution proceeding;(3)Hear and determine referred matters in
                           accordance with 28 U.S.C. § 636(b)(1)(A) and (B). by Chief Judge Marcia
                           S. Krieger on 5/22/13. Text Only Entry (msksec, ) (Entered: 05/22/2013)

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    05/22/2013    10       MINUTE ORDER Status Conference set for 5/30/2013 10:00 AM in
                           Courtroom A 502 before Magistrate Judge Michael J. Watanabe, by
                           Magistrate Judge Michael J. Watanabe on 5/22/2013. (mjwcd) (Entered:
                           05/22/2013)
    05/22/2013    11       NOTICE AND DISCLOSURE on 5/22/13 (msksec, ) (Entered: 05/22/2013)
    05/23/2013    12       NOTICE of Entry of Appearance by Peter J. Krumholz on behalf of David
                           Bayne, Colorado Farm Bureau, Colorado Outfitters Association, Dylan
                           Harrell, Outdoor Buddies, Inc., Women for Concealed Carry (Krumholz,
                           Peter) (Entered: 05/23/2013)
    05/23/2013    13       NOTICE of Entry of Appearance by Marc F. Colin on behalf of 2nd
                           Amendment Gunsmith &Shooter Supply, LLC, Burrud Arms Inc., Goods for
                           the Woods, Grand Prix Guns, Green Mountain Guns, Jerry's Outdoor Sports,
                           Rocky Mountain Shooters Supply, Specialty Sports &Supply, USA Liberty
                           Arms (Colin, Marc) (Entered: 05/23/2013)
    05/23/2013    14       NOTICE of Entry of Appearance Amended by Marc F. Colin on behalf of
                           2nd Amendment Gunsmith &Shooter Supply, LLC, Burrud Arms Inc.,
                           Goods for the Woods, Grand Prix Guns, Green Mountain Guns, Jerry's
                           Outdoor Sports, Rocky Mountain Shooters Supply, Specialty Sports
                           &Supply, USA Liberty Arms (Colin, Marc) (Entered: 05/23/2013)
    05/23/2013    15       NOTICE of Entry of Appearance by Anthony John Fabian on behalf of
                           Colorado State Shooting Association (Fabian, Anthony) (Entered:
                           05/23/2013)
    05/23/2013    16       NOTICE of Entry of Appearance by Anthony John Fabian on behalf of
                           Hamilton Family Enterprises, Inc. (Fabian, Anthony) (Entered: 05/23/2013)
    05/28/2013    17       NOTICE of Entry of Appearance Second Amended by Marc F. Colin on
                           behalf of 2nd Amendment Gunsmith &Shooter Supply, LLC, Burrud Arms
                           Inc., Goods for the Woods, Grand Prix Guns, Green Mountain Guns, Jerry's
                           Outdoor Sports, Rocky Mountain Shooters Supply, Specialty Sports
                           &Supply, USA Liberty Arms (Colin, Marc) (Entered: 05/28/2013)
    05/28/2013    18       ORDER REGARDING CUSTODY OF EXHIBITS AND DEPOSITIONS
                           USED IN EVIDENTIARY HEARINGS AND TRIALS: Any exhibits and
                           depositions used during evidentiary hearings or trials, counsel for the parties
                           shall retrieve the originals of such exhibits and depositions from the Court
                           following the evidentiary hearing or trial, and shall retain same for 60 days
                           beyond the later of the time to appeal or conclusion of any appellate
                           proceedings. The Court will retain its copy of the exhibits for the same time
                           period after which the documents will be destroyed. by Chief Judge Marcia
                           S. Krieger on 5/28/13. Text Only Entry (mskcd) (Entered: 05/28/2013)
    05/28/2013    19       NOTICE of Entry of Appearance by Jonathan M. Anderson and by Douglas
                           L. Abbott on behalf of Magpul Industries, National Shooting Sports
                           Foundation (Abbott, Douglas) (Entered: 05/28/2013)
    05/30/2013    20       COURTROOM MINUTES/MINUTE ORDER for proceedings held before
                           Magistrate Judge Michael J. Watanabe: Status Conference held on
                           5/30/2013. Plaintiffs shall file their Amended Complaint on or before
                           5/31/2013. Defendant John W. Hickenlooper answer due 6/7/2013.


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                               Scheduling Conference set for 6/7/2013 01:30 PM in Courtroom A 502
                               before Magistrate Judge Michael J. Watanabe. Deadline to file proposed
                               Scheduling Order is 9:00 AM 6/7/2013. Court Reporter: FTR − Ellen E.
                               Miller. FTR: Courtroom A502. (mjwcd) (Entered: 05/30/2013)
    05/30/2013    21           MINUTE ORDER: Due to a conflict, the Scheduling Conference 6/7/2013
                               1:30 PM is vacated. Scheduling Conference reset for 6/10/2013 10:30 AM in
                               Courtroom A 502 before Magistrate Judge Michael J. Watanabe. By
                               Magistrate Judge Michael J. Watanabe on 5/30/2013. (mjwcd) (Entered:
                               05/30/2013)
    05/30/2013    45           AMENDED COURTROOM MINUTES/MINUTE ORDER for proceedings
                               held before Magistrate Judge Michael J. Watanabe: Amended re 20 Status
                               Conference. Amended to add date and location of hearing only. Court
                               Reporter: FTR − Ellen E. Miller. FTR: Courtroom A502. (mjwcd) (Entered:
                               07/02/2013)
    05/31/2013    22       98 AMENDED COMPLAINT against All Defendants, filed by All
                              Plaintiffs.(Westfall, Richard) Modified on 6/3/2013 to correct filers(mnfsl, ).
                              (Entered: 05/31/2013)
    06/06/2013    23           NOTICE of Entry of Appearance by Kathleen L. Spalding on behalf of John
                               W. Hickenlooper (Spalding, Kathleen) (Entered: 06/06/2013)
    06/07/2013    24           Proposed Scheduling Order by Plaintiff Magpul Industries. (Abbott,
                               Douglas) (Entered: 06/07/2013)
    06/07/2013    25      156 ANSWER to 22 Amended Complaint FOR DECLARATORY AND
                              INJUNCTIVE RELIEF by John W. Hickenlooper.(Grove, Matthew)
                              (Entered: 06/07/2013)
    06/10/2013    26      212 MOTION for Order to Certify Questions to Colorado Supreme Court by
                              Defendant John W. Hickenlooper. (Attachments: # 1 Proposed Order (PDF
                              Only) Proposed preliminary injunction and order certifying questions to
                              Colorado Supreme Court, # 2 Exhibit Attachment 1 (Technical
                              Guidance))(Grove, Matthew) (Entered: 06/10/2013)
    06/10/2013    27           COURTROOM MINUTES/MINUTE ORDER for proceedings held before
                               Magistrate Judge Michael J. Watanabe: Scheduling Conference held on
                               6/10/2013. Discovery due by 11/1/2013. Dispositive Motions due by
                               12/2/2013. Parties shall file Scheduling Order in its final form for the Court's
                               signature on or before 6/17/2013 nunc pro tunc 6/10/2013. Court Reporter:
                               FTR − Ellen E. Miller. FTR: Courtroom A502. (mjwcd) (Entered:
                               06/10/2013)
    06/10/2013    44           AMENDED COURTROOM MINUTES/MINUTE ORDER for proceedings
                               held before Magistrate Judge Michael J. Watanabe: Amended re 27
                               Scheduling Conference. Amended to add date and location information only.
                               Court Reporter: FTR − Ellen E. Miller. FTR: Courtroom A502. (mjwcd)
                               Modified on 7/2/2013 to show Courtroom Minutes/Minute Order as
                               document being amended (mjwcd). (Entered: 07/02/2013)
    06/11/2013    28           MINUTE ORDER Telephonic Status Conference set for 6/13/2013 01:30
                               PM before Magistrate Judge Michael J. Watanabe, by Magistrate Judge
                               Michael J. Watanabe on 6/11/2013. (mjwcd) (Entered: 06/11/2013)


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    06/12/2013    29      227 WITHDRAWN − MOTION for Preliminary Injunction by Plaintiffs David
                              Bayne, Colorado Farm Bureau, Colorado Outfitters Association, Colorado
                              Youth Outdoors, Dylan Harrell, Outdoor Buddies, Inc., Women for
                              Concealed Carry. (Attachments: # 1 Exhibit, # 2 Exhibit)(Krumholz, Peter)
                              Modified on 7/15/2013 to withdraw pursuant to Order dated 7/12/2013
                              (klyon, ). (Entered: 06/12/2013)
    06/13/2013    30           COURTROOM MINUTES/MINUTE ORDER for proceedings held before
                               Magistrate Judge Michael J. Watanabe: Telephonic Status Conference held
                               on 6/13/2013. Court Reporter: FTR − Ellen E. Miller. FTR: Courtroom
                               A502. (mjwcd) (Entered: 06/13/2013)
    06/13/2013    31      262 ORDER SETTING HEARING: The Court will conduct a non−evidentiary
                              law and motion hearing on the Plaintiffs' Motion for Temporary Restraining
                              Order and Preliminary Injunction 29 on 6/17/2013 at 04:30 PM. The parties
                              shall be prepared to address: (i) whether determination of any provisional
                              injunctive relief should be consolidated with an expedited trial on the merits
                              pursuant to Fed. R. Civ. P 65(a)(2); (ii) what factual issues relevant to the
                              applicable preliminary injunction factors are in dispute, such that an
                              evidentiary hearing is necessary; and (iii) to the extent an evidentiary
                              hearing is necessary, how much time is necessary for that hearing. By Chief
                              Judge Marcia S. Krieger on 6/13/13. Text Only Entry (msklc2, ) (Entered:
                              06/13/2013)
    06/13/2013    46           AMENDED COURTROOM MINUTES/MINUTE ORDER for proceedings
                               held before Magistrate Judge Michael J. Watanabe: Amended re 30 Status
                               Conference. Amended to add date and location information for hearing only.
                               Court Reporter: FTR − Ellen E. Miller. FTR: Courtroom A−502. (mjwcd)
                               (Entered: 07/02/2013)
    06/14/2013    32      264 RESPONSE to 26 MOTION for Order to Certify Questions to Colorado
                              Supreme Court filed by Plaintiffs David Bayne, Colorado Farm Bureau,
                              Colorado Outfitters Association, Dylan Harrell, Outdoor Buddies, Inc.,
                              Women for Concealed Carry. (Krumholz, Peter) (Entered: 06/14/2013)
    06/17/2013    33           Proposed Scheduling Order by Plaintiffs Magpul Industries, National
                               Shooting Sports Foundation. (Abbott, Douglas) (Entered: 06/17/2013)
    06/17/2013    34           MINUTE ENTRY for Law and Motion Hearing held before Chief Judge
                               Marcia S. Krieger on 6/17/2013. One day Evidentiary Hearing set for
                               7/10/2013 09:00 AM in Courtroom A 901 before Chief Judge Marcia S.
                               Krieger. Other matters addressed and deadlines imposed are set forth in the
                               Minutes. Court Reporter: Terri Lindblom. (mskcd) (Entered: 06/18/2013)
    06/18/2013    35           Proposed Scheduling Order by Plaintiffs Magpul Industries, National
                               Shooting Sports Foundation. (Abbott, Douglas) (Entered: 06/18/2013)
    06/18/2013    36           SCHEDULING ORDER: Discovery due by 11/1/2013. Dispositive Motions
                               due by 12/2/2013. By Magistrate Judge Michael J. Watanabe on 6/18/2013.
                               (klyon, ) (Entered: 06/18/2013)
    06/20/2013    37           BRIEF in Support of 29 MOTION for Preliminary Injunction filed by
                               Plaintiffs 2nd Amendment Gunsmith &Shooter Supply, LLC, David Bayne,
                               Jim Beicker, Rick Besecker, Ronald Bruce, Burrud Arms Inc., David
                               Campbell, James (Jim) Casias, Miles Clark, Colorado Farm Bureau,

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                           Colorado Outfitters Association, Colorado State Shooting Association,
                           Colorado Youth Outdoors, John B. Cooke, James Crone, Douglas Darr,
                           Chad Day, Rick Dunlap, David Encinias, Mike Ensminger, James Faull, Rod
                           Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez, Goods for the Woods,
                           Grand Prix Guns, Green Mountain Guns, Hamilton Family Enterprises, Inc.,
                           Dylan Harrell, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred
                           Hosselkus, Tim Jantz, Jerry's Outdoor Sports, Fred Jobe, Chris S. Johnson,
                           Donald Krueger, Larry Kuntz, Sue Kurtz, Magpul Industries, Terry Maketa,
                           Jerry Martin, Dominic Mattivi, Jr, Fred D. McKee, Amos Medina, Ted B.
                           Mink, John Minor, National Shooting Sports Foundation, Tom Nestor,
                           Bruce Newman, Mike Norris, Brian E. Norton, Outdoor Buddies, Inc.,
                           Randy Peck, Brett L. Powell, Ken Putnam, Tom Ridnour, Grayson
                           Robinson, Rocky Mountain Shooters Supply, Duke Schirard, Justin Smith,
                           Specialty Sports &Supply, Dennis Spruell, Dave Stong, David Strumillo,
                           USA Liberty Arms, Charles "Rob" Urbach, Lou Vallario, David A. Weaver,
                           Fred Wegener, Garrett Wiggins, Women for Concealed Carry, Si Woodruff.
                           (Colin, Marc) (Entered: 06/20/2013)
    06/20/2013    38       CERTIFICATE of Service re: 37 Brief in Support of Motion,,,,, by Plaintiffs
                           2nd Amendment Gunsmith &Shooter Supply, LLC, David Bayne, Jim
                           Beicker, Rick Besecker, Ronald Bruce, Burrud Arms Inc., David Campbell,
                           James (Jim) Casias, Miles Clark, Colorado Farm Bureau, Colorado
                           Outfitters Association, Colorado State Shooting Association, Colorado
                           Youth Outdoors, John B. Cooke, James Crone, Douglas Darr, Chad Day,
                           Rick Dunlap, David Encinias, Mike Ensminger, James Faull, Rod Fenske,
                           Scott Fischer, Forrest Frazee, Peter Gonzalez, Goods for the Woods, Grand
                           Prix Guns, Green Mountain Guns, Hamilton Family Enterprises, Inc., Dylan
                           Harrell, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred Hosselkus, Tim
                           Jantz, Jerry's Outdoor Sports, Fred Jobe, Chris S. Johnson, Donald Krueger,
                           Larry Kuntz, Sue Kurtz, Magpul Industries, Terry Maketa, Jerry Martin,
                           Dominic Mattivi, Jr, Fred D. McKee, Amos Medina, Ted B. Mink, John
                           Minor, National Shooting Sports Foundation, Tom Nestor, Bruce Newman,
                           Mike Norris, Brian E. Norton, Outdoor Buddies, Inc., Randy Peck, Brett L.
                           Powell, Ken Putnam, Tom Ridnour, Grayson Robinson, Rocky Mountain
                           Shooters Supply, Duke Schirard, Justin Smith, Specialty Sports &Supply,
                           Dennis Spruell, Dave Stong, David Strumillo, USA Liberty Arms, Charles
                           "Rob" Urbach, Lou Vallario, David A. Weaver, Fred Wegener, Garrett
                           Wiggins, Women for Concealed Carry, Si Woodruff. (Colin, Marc)
                           (Entered: 06/20/2013)
    06/21/2013    39       REPLY to Response to 26 MOTION for Order to Certify Questions to
                           Colorado Supreme Court filed by Defendant John W. Hickenlooper.
                           (Domenico, Daniel) (Entered: 06/21/2013)
    06/24/2013    40       BRIEF in Opposition to 29 MOTION for Preliminary Injunction filed by
                           Defendant John W. Hickenlooper. (Attachments: # 1 Exhibit A, # 2 Exhibit
                           B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G,
                           # 8 Exhibit H)(Fero, Jonathan) (Entered: 06/24/2013)
    06/27/2013    41       REPLY to Response to 29 MOTION for Preliminary Injunction on behalf of
                           all Plaintiffs filed by Plaintiffs David Bayne, Colorado Farm Bureau,
                           Colorado Outfitters Association, Colorado Youth Outdoors, Dylan Harrell,
                           Outdoor Buddies, Inc., Women for Concealed Carry. (Attachments: # 1

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                           Affidavit Exhibit A to Reply, # 2 Affidavit Exhibit B to Reply, # 3 Affidavit
                           Exhibit C to Reply, # 4 Affidavit Exhibit D to Reply)(Krumholz, Peter)
                           (Entered: 06/27/2013)
    07/01/2013    42       ORDER: Having reviewed the briefing found at 29 , 37 , 40 , and 41 , and
                           upon the current showing, the Court declines to impose an injunction until
                           the parties have an opportunity to present evidence at the hearing scheduled
                           for July 10, 2013. By Chief Judge Marcia S. Krieger on 07/01/2013. Text
                           Only Entry (msklc3, ) (Entered: 07/01/2013)
    07/01/2013    43       Unopposed MOTION to Amend/Correct/Modify Amended Complaint by
                           Plaintiffs Jim Beicker, Rick Besecker, Ronald Bruce, David Campbell,
                           James (Jim) Casias, Miles Clark, John B. Cooke, James Crone, Douglas
                           Darr, Chad Day, Rick Dunlap, David Encinias, Mike Ensminger, James
                           Faull, Rod Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez, Bruce W.
                           Hartman, Shayne Heap, Stan Hilkey, Fred Hosselkus, Tim Jantz, Fred Jobe,
                           Chris S. Johnson, Donald Krueger, Larry Kuntz, Sue Kurtz, Terry Maketa,
                           Jerry Martin, Dominic Mattivi, Jr, Fred D. McKee, Amos Medina, Ted B.
                           Mink, John Minor, Tom Nestor, Bruce Newman, Mike Norris, Brian E.
                           Norton, Randy Peck, Brett L. Powell, Ken Putnam, Tom Ridnour, Grayson
                           Robinson, Duke Schirard, Justin Smith, Dennis Spruell, Dave Stong, David
                           Strumillo, Charles "Rob" Urbach, Lou Vallario, David A. Weaver, Fred
                           Wegener, Garrett Wiggins, Si Woodruff. (Attachments: # 1 Proposed
                           Document Second Amended Complaint)(Kopel, David) (Entered:
                           07/01/2013)
    07/05/2013    47       Joint MOTION for Protective Order by Plaintiffs 2nd Amendment Gunsmith
                           &Shooter Supply, LLC, David Bayne, Jim Beicker, Rick Besecker, Ronald
                           Bruce, Burrud Arms Inc., David Campbell, James (Jim) Casias, Miles Clark,
                           Colorado Farm Bureau, Colorado Outfitters Association, Colorado State
                           Shooting Association, Colorado Youth Outdoors, John B. Cooke, James
                           Crone, Douglas Darr, Chad Day, Rick Dunlap, David Encinias, Mike
                           Ensminger, James Faull, Rod Fenske, Scott Fischer, Forrest Frazee, Peter
                           Gonzalez, Goods for the Woods, Grand Prix Guns, Green Mountain Guns,
                           Hamilton Family Enterprises, Inc., Dylan Harrell, Bruce W. Hartman,
                           Shayne Heap, Stan Hilkey, Fred Hosselkus, Tim Jantz, Jerry's Outdoor
                           Sports, Fred Jobe, Chris S. Johnson, Donald Krueger, Larry Kuntz, Sue
                           Kurtz, Magpul Industries, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr,
                           Fred D. McKee, Amos Medina, Ted B. Mink, John Minor, National
                           Shooting Sports Foundation, Tom Nestor, Bruce Newman, Mike Norris,
                           Brian E. Norton, Outdoor Buddies, Inc., Randy Peck, Brett L. Powell, Ken
                           Putnam, Tom Ridnour, Grayson Robinson, Rocky Mountain Shooters
                           Supply, Duke Schirard, Justin Smith, Specialty Sports &Supply, Dennis
                           Spruell, Dave Stong, David Strumillo, USA Liberty Arms, Charles "Rob"
                           Urbach, Lou Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins,
                           Women for Concealed Carry, Si Woodruff, Defendant John W.
                           Hickenlooper. (Attachments: # 1 Exhibit A)(Colin, Marc) (Entered:
                           07/05/2013)
    07/08/2013    48       MEMORANDUM regarding 47 Joint MOTION for Protective Order filed
                           by 2nd Amendment Gunsmith &Shooter Supply, LLC, David Campbell,
                           John Minor, Colorado Farm Bureau, Bruce Newman, Ronald Bruce,
                           Dominic Mattivi, Jr., David Strumillo, Burrud Arms Inc., Tim Jantz, Chad

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                           Day, David Encinias, John B. Cooke, Grand Prix Guns, Larry Kuntz, Mike
                           Norris, Colorado Youth Outdoors, Bruce W. Hartman, Randy Peck, Chris S.
                           Johnson, Outdoor Buddies, Inc., Mike Ensminger, Stan Hilkey, Colorado
                           Outfitters Association, Rocky Mountain Shooters Supply, Peter Gonzalez,
                           Donald Krueger, Scott Fischer, Grayson Robinson, Specialty Sports
                           &Supply, David Bayne, Justin Smith, Fred Hosselkus, Jim Beicker, Brett L.
                           Powell, Colorado State Shooting Association, Goods for the Woods, Dave
                           Stong, Charles "Rob" Urbach, Rod Fenske, Ted B. Mink, Garrett Wiggins,
                           Fred Jobe, Ken Putnam, Women for Concealed Carry, Tom Ridnour, Si
                           Woodruff, Jerry Martin, Hamilton Family Enterprises, Inc., John W.
                           Hickenlooper, Brian E. Norton, Rick Dunlap, James (Jim) Casias, Rick
                           Besecker, James Crone, Miles Clark, National Shooting Sports Foundation,
                           Sue Kurtz, Amos Medina, Douglas Darr, Green Mountain Guns, Duke
                           Schirard, Lou Vallario, Jerry's Outdoor Sports, Dylan Harrell, USA Liberty
                           Arms, Forrest Frazee, Magpul Industries, Fred D. McKee, Fred Wegener,
                           Dennis Spruell, James Faull, Terry Maketa, David A. Weaver, Shayne Heap,
                           Tom Nestor. Motions referred to Magistrate Judge Michael J. Watanabe by
                           Chief Judge Marcia S. Krieger on 7/8/13. Text Only Entry (msksec, )
                           (Entered: 07/08/2013)
    07/08/2013    49       MINUTE ORDER granting 47 Joint Motion for Protective Order. The
                           written Stipulated Protective Order (47−1) is approved as amended in
                           paragraphs k., l., and p. and made an Order of Court. By Magistrate Judge
                           Michael J. Watanabe on 7/8/2013.(mjwcd) (Entered: 07/08/2013)
    07/08/2013    50       STIPULATED PROTECTIVE ORDER entered by Magistrate Judge
                           Michael J. Watanabe on 7/8/2013. (mjwcd) (Entered: 07/08/2013)
    07/08/2013    51       Witness List by Plaintiffs David Bayne, Colorado Farm Bureau, Colorado
                           Outfitters Association, Dylan Harrell, Outdoor Buddies, Inc., Women for
                           Concealed Carry. (Krumholz, Peter) (Entered: 07/08/2013)
    07/08/2013    52       Exhibit List by Plaintiffs David Bayne, Colorado Farm Bureau, Colorado
                           Outfitters Association, Dylan Harrell, Outdoor Buddies, Inc., Women for
                           Concealed Carry. (Krumholz, Peter) (Entered: 07/08/2013)
    07/08/2013    53       STIPULATION of Undisputed Facts by Plaintiffs David Bayne, Colorado
                           Farm Bureau, Colorado Outfitters Association, Colorado Youth Outdoors,
                           Dylan Harrell, Outdoor Buddies, Inc., Women for Concealed Carry.
                           (Krumholz, Peter) (Entered: 07/08/2013)
    07/09/2013    54       ORDER WITH REGARD TO HEARING ON PRELIMINARY
                           INJUNCTION MOTION SCHEDULED FOR JULY 11: The hearing will
                           begin at 9:00 a.m. and conclude on or before 5:00 p.m. For purposes of the
                           presentation at this hearing, the Movant(s), collectively, will be deemed a
                           party and should coordinate their presentation. The Movant(s), on one hand,
                           and the Respondent, on the other hand, shall each have three hours for
                           presentation, including opening statements, presentation of evidence (direct,
                           cross and re−direct examination), and closing arguments. The allocation of
                           such time is entirely within the discretion of the party. If more than one
                           attorney for a Movant wishes to examine a witness, the examination will be
                           limited to questions not already asked by an attorney for another Movant.
                           The time utilized for any evidentiary objections will be attributed to the
                           party making them. The time used for any rulings will be divided equally

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                           between the parties. Time will be calculated on a chess clock by the
                           Courtroom Deputy. Parties may confer with the Courtroom Deputy as to
                           how much time they have consumed or have remaining. At the close of the
                           hearing, the Court anticipates taking the matter under advisement and
                           issuing a written ruling. by Chief Judge Marcia S. Krieger on 7/9/13. Text
                           Only Entry (msksec, ) (Entered: 07/09/2013)
    07/09/2013    55       ORDER CORRECTING 54 Order: The hearing date cited is incorrect. The
                           hearing remains set for July 10, 2013, at 9:00 a.m. by Chief Judge Marcia S.
                           Krieger on 7/9/13. Text Only Entry (msksec, ) (Entered: 07/09/2013)
    07/09/2013    56       WITHDRAWN − Stipulated MOTION for Preliminary Injunction and
                           Withdrawal of Plaintiffs' Motion for Preliminary Injunction by Plaintiffs 2nd
                           Amendment Gunsmith &Shooter Supply, LLC, David Bayne, Jim Beicker,
                           Rick Besecker, Ronald Bruce, Burrud Arms Inc., David Campbell, James
                           (Jim) Casias, Miles Clark, Colorado Farm Bureau, Colorado Outfitters
                           Association, Colorado State Shooting Association, Colorado Youth
                           Outdoors, John B. Cooke, James Crone, Douglas Darr, Chad Day, Rick
                           Dunlap, David Encinias, Mike Ensminger, James Faull, Rod Fenske, Scott
                           Fischer, Forrest Frazee, Peter Gonzalez, Goods for the Woods, Grand Prix
                           Guns, Green Mountain Guns, Hamilton Family Enterprises, Inc., Dylan
                           Harrell, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred Hosselkus, Tim
                           Jantz, Jerry's Outdoor Sports, Fred Jobe, Chris S. Johnson, Donald Krueger,
                           Larry Kuntz, Sue Kurtz, Magpul Industries, Terry Maketa, Jerry Martin,
                           Dominic Mattivi, Jr, Fred D. McKee, Amos Medina, Ted B. Mink, John
                           Minor, National Shooting Sports Foundation, Tom Nestor, Bruce Newman,
                           Mike Norris, Brian E. Norton, Outdoor Buddies, Inc., Randy Peck, Brett L.
                           Powell, Ken Putnam, Tom Ridnour, Grayson Robinson, Rocky Mountain
                           Shooters Supply, Duke Schirard, Justin Smith, Specialty Sports &Supply,
                           Dennis Spruell, Dave Stong, David Strumillo, USA Liberty Arms, Charles
                           "Rob" Urbach, Lou Vallario, David A. Weaver, Fred Wegener, Garrett
                           Wiggins, Women for Concealed Carry, Si Woodruff, Defendant John W.
                           Hickenlooper. (Attachments: # 1 Proposed Order (PDF Only), # 2 Exhibit
                           Attachment 1)(Fero, Jonathan) Modified on 7/11/2013 to withdraw pursuant
                           to Minutes dated 7/10/2013 (klyon, ). (Entered: 07/09/2013)
    07/10/2013    57       MINUTE ENTRY for hearing held before Chief Judge Marcia S. Krieger on
                           7/10/2013. 56 Stipulated Motion for Preliminary Injunction is
                           WITHDRAWN. For the reasons stated on the record, there will be no
                           hearing on the Motion for Preliminary Injunction (Doc. #29). Court
                           Reporter: Terri Lindblom. (mskcd) (Entered: 07/10/2013)
    07/10/2013    58       ORDER granting 43 Motion to Amend/Correct/Modify Amended
                           Complaint. By Chief Judge Marcia S. Krieger on 07/10/2013. Text Only
                           Entry(msklc3, ) (Entered: 07/10/2013)
    07/11/2013    59       MOTION to Withdraw Document re 29 MOTION for Preliminary
                           Injunction by Plaintiffs Magpul Industries, National Shooting Sports
                           Foundation. (Attachments: # 1 Exhibit)(Abbott, Douglas) (Entered:
                           07/11/2013)
    07/12/2013    60       ORDER granting 59 Motion to Withdraw Document. The Motion to
                           Withdraw is GRANTED, and 29 Motion for Preliminary Injunction is
                           hereby WITHDRAWN. The Clerk of Court shall amend the docket

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                           accordingly. By Chief Judge Marcia S. Krieger on 07/12/2013. Text Only
                           Entry(msklc3, ) (Entered: 07/12/2013)
    07/17/2013    61       ORDER denying 26 Motion for Order for Certification of Questions to the
                           Colorado Supreme Court. The Defendant requests that two questions be
                           certified to the Colorado Supreme Court, seeking an interpretation of
                           HB−1224: (1) does the bills definition of large−capacity magazine amount
                           to a ban on functional magazines for most handguns and many rifles, or does
                           it apply only to magazines that are principally used with extensions or
                           devices that increase the combined capacity to more than 15 rounds, and (2)
                           does the grandfather clause contained in HB 13−1224, which applies when
                           an owner maintains continuous possession of a large capacity magazine after
                           July 1, 2013, apply when the owner allows another person to temporarily
                           hold, use, or share it for lawful purposes? This Court may, in its discretion,
                           certify questions to the Colorado Supreme Court under Colorado Appellate
                           Rule 21.1. The rule permits certification if there is involved in any
                           proceeding before it questions of law of this state which may be
                           determinative of the cause then pending in the certifying court and as to
                           which it appears to the certifying court there is no controlling precedent in
                           the decisions of the Supreme Court. Colo.R.App.P. 21.1. The Court
                           recognizes that there are unsettled questions of law at issue in this case.
                           However, the Court declines to certify these questions. In light of the nature
                           of the challenges brought and the context of the case as a whole, the Court
                           finds that clarification by the Colorado Supreme Court on the specific
                           questions posed will not be outcome−determinative of the case.
                           Accordingly, 26 Motion for Certification of Questions of Law to the
                           Colorado Supreme Court is DENIED. by Chief Judge Marcia S. Krieger on
                           7/17/2013. Text Only Entry(msk, ) (Entered: 07/17/2013)
    07/18/2013    62       Second AMENDED COMPLAINT for Declaratory and Injunctive Relief
                           against John W. Hickenlooper, filed by Ted B. Mink, Rick Dunlap,
                           Hamilton Family Enterprises, Inc., Jim Beicker, Jerry's Outdoor Sports,
                           Dennis Spruell, James Crone, Larry Kuntz, Grand Prix Guns, Brett L.
                           Powell, Rod Fenske, Colorado Outfitters Association, Si Woodruff, Goods
                           for the Woods, National Shooting Sports Foundation, Women for Concealed
                           Carry, Duke Schirard, Mike Ensminger, Forrest Frazee, Fred Wegener,
                           Shayne Heap, Amos Medina, Tom Nestor, David Bayne, David Encinias,
                           John Minor, David Strumillo, Magpul Industries, Chad Day, Peter Gonzalez,
                           Fred Hosselkus, James (Jim) Casias, Outdoor Buddies, Inc., Colorado Farm
                           Bureau, Specialty Sports &Supply, Grayson Robinson, Dylan Harrell, Brian
                           E. Norton, Colorado State Shooting Association, Douglas Darr, Rocky
                           Mountain Shooters Supply, Green Mountain Guns, 2nd Amendment
                           Gunsmith &Shooter Supply, LLC, James Faull, Terry Maketa, John B.
                           Cooke, Stan Hilkey, Donald Krueger, Tom Ridnour, Scott Fischer, Colorado
                           Youth Outdoors, Lou Vallario, USA Liberty Arms, Burrud Arms Inc., Miles
                           Clark, Fred Jobe, Garrett Wiggins, Rick Besecker, Ronald Bruce, David
                           Campbell, Chris S. Johnson, Fred D. McKee, Ken Putnam, Bruce Newman,
                           Justin Smith, Sue Kurtz, Jerry Martin, Mike Norris, Tim Jantz, Dominic
                           Mattivi, Jr, David A. Weaver, Dave Stong, Randy Peck, Charles "Rob"
                           Urbach, Bruce W. Hartman.(klyon, ) (Entered: 07/18/2013)
    07/24/2013    63       NOTICE of Entry of Appearance by John Tien Yau Lee on behalf of All
                           Defendants (Lee, John) (Entered: 07/24/2013)

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    08/01/2013    64       MOTION to Dismiss Claims Two, Three, and Four, and to Dismiss Sheriffs
                           as Plaintiffs Acting in their Official Capacities by Defendant John W.
                           Hickenlooper. (Attachments: # 1 Exhibit A)(Grove, Matthew) (Entered:
                           08/01/2013)
    08/01/2013    65       ANSWER to 62 Amended Complaint,,,,, by John W. Hickenlooper.(Grove,
                           Matthew) (Entered: 08/01/2013)
    08/02/2013    66       Expert Witness Designation of Gary Kleck, Massad Ayoob, Michael Shain,
                           and Kevin Davis by Plaintiffs 2nd Amendment Gunsmith &Shooter Supply,
                           LLC, David Bayne, Jim Beicker, Rick Besecker, Ronald Bruce, Burrud
                           Arms Inc., David Campbell, James (Jim) Casias, Miles Clark, Colorado
                           Farm Bureau, Colorado Outfitters Association, Colorado State Shooting
                           Association, Colorado Youth Outdoors, John B. Cooke, James Crone,
                           Douglas Darr, Chad Day, Rick Dunlap, David Encinias, Mike Ensminger,
                           James Faull, Rod Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez,
                           Goods for the Woods, Grand Prix Guns, Green Mountain Guns, Hamilton
                           Family Enterprises, Inc., Dylan Harrell, Bruce W. Hartman, Shayne Heap,
                           Stan Hilkey, Fred Hosselkus, Tim Jantz, Jerry's Outdoor Sports, Fred Jobe,
                           Chris S. Johnson, Rodney Johnson, Donald Krueger, Larry Kuntz, Sue
                           Kurtz, Magpul Industries, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr,
                           Fred D. McKee, Amos Medina, Ted B. Mink, John Minor, National
                           Shooting Sports Foundation, Tom Nestor, Bruce Newman, Mike Norris,
                           Brian E. Norton, Outdoor Buddies, Inc., Randy Peck, Brett L. Powell, Ken
                           Putnam, Tom Ridnour, Grayson Robinson, Rocky Mountain Shooters
                           Supply, Duke Schirard, Justin Smith, Specialty Sports &Supply, Dennis
                           Spruell, Dave Stong, David Strumillo, USA Liberty Arms, Charles "Rob"
                           Urbach, Lou Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins,
                           Women for Concealed Carry, Si Woodruff. (Kopel, David) (Entered:
                           08/02/2013)
    08/09/2013    67       NOTICE of Entry of Appearance by Jonathon Michael Watson on behalf of
                           2nd Amendment Gunsmith &Shooter Supply, LLC, Burrud Arms Inc.,
                           Goods for the Woods, Grand Prix Guns, Green Mountain Guns, Jerry's
                           Outdoor Sports, Rocky Mountain Shooters Supply, Specialty Sports
                           &Supply, USA Liberty Arms (Watson, Jonathon) (Entered: 08/09/2013)
    08/22/2013    68       MOTION for Leave to Motion To File Amicus Curiae Brief In Opposition
                           To Defendant's Motion to Dismiss Sheriff's As Plaintiffs Acting in Their
                           Official Capacity by Interested Party Board of County Commissioners for
                           Mesa County Colorado. (Attachments: # 1 Proposed Document Amicus
                           Brief)(Dechant, Maurice) (Entered: 08/22/2013)
    08/22/2013    69       RESPONSE to 64 MOTION to Dismiss Claims Two, Three, and Four, and
                           to Dismiss Sheriffs as Plaintiffs Acting in their Official Capacities filed by
                           Plaintiffs 2nd Amendment Gunsmith &Shooter Supply, LLC, David Bayne,
                           Burrud Arms Inc., Colorado Farm Bureau, Colorado Outfitters Association,
                           Colorado State Shooting Association, Colorado Youth Outdoors, Goods for
                           the Woods, Grand Prix Guns, Green Mountain Guns, Hamilton Family
                           Enterprises, Inc., Dylan Harrell, Jerry's Outdoor Sports, Magpul Industries,
                           National Shooting Sports Foundation, Outdoor Buddies, Inc., Rocky
                           Mountain Shooters Supply, Specialty Sports &Supply, USA Liberty Arms,
                           Women for Concealed Carry. (Attachments: # 1 Exhibit Exhibit A to


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                           Response, # 2 Exhibit Exhibit B to Response)(Krumholz, Peter) (Entered:
                           08/22/2013)
    08/22/2013    70       BRIEF in Opposition to 64 MOTION to Dismiss Claims Two, Three, and
                           Four, and to Dismiss Sheriffs as Plaintiffs Acting in their Official Capacities
                           filed by Plaintiffs Jim Beicker, Rick Besecker, Ronald Bruce, David
                           Campbell, James (Jim) Casias, Miles Clark, John B. Cooke, James Crone,
                           Douglas Darr, Chad Day, Rick Dunlap, David Encinias, Mike Ensminger,
                           James Faull, Rod Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez,
                           Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred Hosselkus, Tim Jantz,
                           Fred Jobe, Chris S. Johnson, Rodney Johnson, Donald Krueger, Larry
                           Kuntz, Sue Kurtz, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr, Fred D.
                           McKee, Amos Medina, Ted B. Mink, John Minor, Tom Nestor, Bruce
                           Newman, Mike Norris, Brian E. Norton, Randy Peck, Brett L. Powell, Ken
                           Putnam, Tom Ridnour, Grayson Robinson, Duke Schirard, Justin Smith,
                           Dennis Spruell, Dave Stong, David Strumillo, Charles "Rob" Urbach, Lou
                           Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins, Si Woodruff.
                           (Attachments: # 1 Exhibit Sheriff Bruce interrogatory, # 2 Exhibit Sheriff
                           Woodruff interrogatory, # 3 Exhibit Sheriff Crone interrogatory, # 4 Exhibit
                           Sheriff Stong interrogatory, # 5 Exhibit Sheriff Campbell interrogatory, # 6
                           Exhibit Sheriff Jobe interrogatory, # 7 Exhibit Sheriff Nestor interrogatory,
                           # 8 Exhibit Sheriff Logan interrogatory, # 9 Exhibit Sheriff Spruell
                           interrogatory, # 10 Exhibit Sheriff Faull interrogatory, # 11 Exhibit Sheriff
                           Smith interrogatory, # 12 Exhibit Sheriff McKee interrogatory, # 13 Exhibit
                           Sheriff Weaver interrogatory, # 14 Exhibit Sheriff Casias interrogatory, # 15
                           Exhibit Sheriff Beicker interrogatory, # 16 Exhibit Legislative testimony, #
                           17 Exhibit Ayoob expert report)(Kopel, David) (Entered: 08/22/2013)
    08/27/2013    71       Unopposed MOTION for Extension of Time to Amend Scheduling Order
                           with Respect to Deadline for Rebuttal Expert Reports by Defendant John W.
                           Hickenlooper. (Fero, Jonathan) (Entered: 08/27/2013)
    08/28/2013    72       MEMORANDUM regarding 71 Unopposed MOTION for Extension of
                           Time to Amend Scheduling Order with Respect to Deadline for Rebuttal
                           Expert Reports filed by John W. Hickenlooper. Motions referred to
                           Magistrate Judge Michael J. Watanabe by Chief Judge Marcia S. Krieger on
                           8/28/13. Text Only Entry (msksec, ) (Entered: 08/28/2013)
    08/28/2013    73       NOTICE of Entry of Appearance by Molly Allen Moats on behalf of John
                           W. Hickenlooper (Moats, Molly) (Entered: 08/28/2013)
    08/28/2013    74       MINUTE ORDER granting 71 Unopposed Motion to Amend Scheduling
                           Order With Respect to Deadline for Rebuttal Expert Reports. The
                           Scheduling Order (Docket No. 36 ) is thus amended such that the deadline
                           for designation of all rebuttal experts and for providing opposing counsel
                           and any pro se party with all information specified in Fed. R. Civ. P.
                           26(a)(2) is extended from 9/3/2013, up to and including 9/13/2013. By
                           Magistrate Judge Michael J. Watanabe on 8/28/2013.(klyon, ) (Entered:
                           08/28/2013)
    09/05/2013    75       REPLY to Response to 64 MOTION to Dismiss Claims Two, Three, and
                           Four, and to Dismiss Sheriffs as Plaintiffs Acting in their Official Capacities
                           filed by Defendant John W. Hickenlooper. (Lee, John) (Entered:
                           09/05/2013)

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    09/17/2013    76       Unopposed MOTION for Hearing/Conference by Defendant John W.
                           Hickenlooper. (Fero, Jonathan) (Entered: 09/17/2013)
    09/17/2013    77       MEMORANDUM regarding 76 Unopposed MOTION for
                           Hearing/Conference filed by John W. Hickenlooper. Motions referred to
                           Magistrate Judge Michael J. Watanabe by Chief Judge Marcia S. Krieger on
                           9/17/13. Text Only Entry (msksec, ) (Entered: 09/17/2013)
    09/17/2013    78       MINUTE ORDER granting 76 Unopposed Motion for Discovery Status
                           Conference With Magistrate Judge. A Discovery StatusConference shall be
                           held on Monday, 9/23/2013, at 2:30 p.m. beforeMagistrate Judge Watanabe
                           in Courtroom A−502, Fifth Floor, Alfred A. Arraj U.S.Courthouse, 901 19th
                           Street, Denver, Colorado 80294. By Magistrate Judge Michael J. Watanabe
                           on 9/17/2013.(klyon, ) (Entered: 09/17/2013)
    09/20/2013    79       RESPONSE to 76 Unopposed MOTION for Hearing/Conference with
                           Magistrate Judge filed by Plaintiffs David Bayne, Colorado Farm Bureau,
                           Colorado Outfitters Association, Dylan Harrell, Outdoor Buddies, Inc.,
                           Women for Concealed Carry. (Attachments: # 1 Exhibit Attachment A, # 2
                           Exhibit Attachment B)(Krumholz, Peter) (Entered: 09/20/2013)
    09/23/2013    80       MINUTE ORDER Due to an unexpected conflict, Status Conference
                           9/23/2013 02:30 PM is vacated. Status Conference reset for 9/26/2013 09:00
                           AM in Courtroom A 502 before Magistrate Judge Michael J. Watanabe. By
                           Magistrate Judge Michael J. Watanabe on 9/23/2013. (mjwcd) (Entered:
                           09/23/2013)
    09/25/2013    81       TRIAL PREPARATION ORDER − CIVIL by Chief Judge Marcia S.
                           Krieger on 9/25/13. (msksec, ) (Entered: 09/25/2013)
    09/25/2013    82       MOTION for Protective Order by Defendant John W. Hickenlooper.
                           (Attachments: # 1 Exhibit)(Grove, Matthew) (Entered: 09/25/2013)
    09/25/2013    83       NOTICE of Entry of Appearance by Stephanie Lindquist Scoville on behalf
                           of John W. Hickenlooper (Scoville, Stephanie) (Entered: 09/25/2013)
    09/25/2013    84       MEMORANDUM regarding 82 MOTION for Protective Order filed by
                           John W. Hickenlooper. Motions referred to Magistrate Judge Michael J.
                           Watanabe by Chief Judge Marcia S. Krieger on 9/25/13. Text Only Entry
                           (msksec, ) (Entered: 09/25/2013)
    09/26/2013    85       COURTROOM MINUTES/MINUTE ORDER for proceedings held before
                           Magistrate Judge Michael J. Watanabe: Status Conference held on
                           9/26/2013. Scheduling Order 36 is amended. Dispositive Motions due by
                           12/12/2013. Plaintiffs shall have up to and including 10/4/2013 to respond to
                           82 Defendant's Motion for Protective order. Court Reporter: FTR − Ellen E.
                           Miller. FTR: Courtroom A502. (mjwcd) (Entered: 09/26/2013)
    10/04/2013    86       RESPONSE to 82 MOTION for Protective Order filed by Plaintiffs David
                           Bayne, Colorado Farm Bureau, Colorado Outfitters Association, Dylan
                           Harrell, Outdoor Buddies, Inc., Women for Concealed Carry. (Attachments:
                           # 1 Exhibit)(Westfall, Richard) (Entered: 10/04/2013)
    10/08/2013    87       REPLY to Response to 82 MOTION for Protective Order filed by Defendant
                           John W. Hickenlooper. (Grove, Matthew) (Entered: 10/08/2013)


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    10/10/2013    88       ORDER granting 68 Motion for Leave to File an Amicus Brief. No
                           opposition having been interposed, the Motion is GRANTED. The
                           Defendant shall have 14 days in which to supplement its Reply to address
                           this Brief. by Chief Judge Marcia S. Krieger on 10/10/2013. Text Only
                           Entry(msk, ) (Entered: 10/10/2013)
    10/24/2013    89       Unopposed MOTION for Extension of Time to respond to Mesa County
                           Commissioners' amicus brief by Defendant John W. Hickenlooper.
                           (Attachments: # 1 Proposed Order (PDF Only))(Spalding, Kathleen)
                           (Entered: 10/24/2013)
    10/25/2013    90       ORDER granting 89 Unopposed Motion for Extension of Time to Respond
                           to Mesa County Commissioners' Amicus Brief. Extension granted up to and
                           including November 1, 2013. by Chief Judge Marcia S. Krieger on 10/25/13.
                           Text Only Entry(msksec, ) (Entered: 10/25/2013)
    10/28/2013    91       ORDER granting 82 Defendant Hickenlooper's Motion for Protective Order.
                           Plaintiffs are not permitted to take the deposition of Defendant Governor
                           John W. Hickenlooper; each party shall pay their own attorney fees and
                           costs for this motion, by Magistrate Judge Michael J. Watanabe on
                           10/28/2013.(mjwcd) (Entered: 10/28/2013)
    11/01/2013    92       SURREPLY re 64 MOTION to Dismiss Claims Two, Three, and Four, and
                           to Dismiss Sheriffs as Plaintiffs Acting in their Official Capacities filed by
                           Defendant John W. Hickenlooper. (Lee, John) (Entered: 11/01/2013)
    11/07/2013    93       Unopposed MOTION for Discovery Cutoff Extension by Defendant John W.
                           Hickenlooper. (Attachments: # 1 Proposed Order (PDF Only))(Grove,
                           Matthew) (Entered: 11/07/2013)
    11/08/2013    94       MEMORANDUM regarding 93 Unopposed MOTION for Discovery Cutoff
                           Extension filed by John W. Hickenlooper. Motions referred to Magistrate
                           Judge Michael J. Watanabe by Chief Judge Marcia S. Krieger on 11/8/13.
                           Text Only Entry (msksec, ) (Entered: 11/08/2013)
    11/12/2013    95       MINUTE ORDER granting 93 defendant's Unopposed Motion for Extension
                           of Discovery Deadline. Scheduling Order 36 is amended. Discovery due by
                           11/13/2013. By Magistrate Judge Michael J. Watanabe on
                           11/12/2013.(mjwcd) (Entered: 11/12/2013)
    11/27/2013    96       Opinon and ORDER granting in part and denying in part Defendant's 64
                           Motion to Dismiss. The Defendant's Motion to Dismiss is GRANTED IN
                           PART AND DENIED IN PART. The motion is GRANTED with respect to
                           all claims asserted by the Sheriffs. The claims are DISMISSED without
                           prejudice. Any Sheriff shall have 14 days from the date of this Order in
                           which to seek to join the action in an individual capacity. The motion is
                           GRANTED with respect to the Plaintiffs' claim that the phrase "designed to
                           be readily converted," found in § 18−12−301(2)(a)(I), is unconstitutionally
                           vague, and the claim is DISMISSED. The claims proceeding in this case are
                           (1) Second Amendment challenges to §§ 18−12−301 et seq. and §
                           18−12−112; (2) a claim for unconstitutional vagueness as to the phrase
                           "continuous possession," § 18−12−302(2)(a)(II); and (3) the ADA claims.
                           By Chief Judge Marcia S. Krieger on 11/27/2013.(klyon, ) (Entered:
                           11/27/2013)


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    12/04/2013    97       MOTION for Extension of Time to File Dispositive Motions by Defendant
                           John W. Hickenlooper. (Attachments: # 1 Proposed Order (PDF
                           Only))(Spalding, Kathleen) (Entered: 12/04/2013)
    12/06/2013    98       RESPONSE to 97 MOTION for Extension of Time to File Dispositive
                           Motions filed by Plaintiffs David Bayne, Colorado Farm Bureau, Colorado
                           Outfitters Association, Colorado Youth Outdoors, Dylan Harrell, Outdoor
                           Buddies, Inc., Women for Concealed Carry. (Krumholz, Peter) (Entered:
                           12/06/2013)
    12/09/2013    99       ORDER AND NOTICE OF LAW AND MOTION HEARING: The
                           following matter is set for a non−evidentiary hearing on the law and motion
                           calendar for 12/19/2013 at 03:00 PM in Courtroom A 901 before Chief
                           Judge Marcia S. Krieger. Counsel shall bring their calendars and be prepared
                           to address the 97 MOTION for Extension of Time to File Dispositive
                           Motions filed by John W. Hickenlooper. by Chief Judge Marcia S. Krieger
                           on 12/9/13. Text Only Entry (msksec, ) (Entered: 12/09/2013)
    12/09/2013   100       ORDER AMENDING 99 Order: Pursuant to Fed. R. Civ. P. 16(a) and (c),
                           the parties shall be prepared to address (1) whether any (and if so, what)
                           matter is appropriate for consideration under Rule 56, (2) how summary
                           adjudication under Rule 56 would streamline or avoid trial, (3) what issues
                           or claims should be tried, (4) whether a separate trial under Rule 42(b) is
                           appropriate for any claim, (5) when a proposed final pretrial order should be
                           submitted and a final pretrial conference held, and (6) any other way the just,
                           speedy, and inexpensive disposition of the action may be accomplished. by
                           Chief Judge Marcia S. Krieger on 12/9/13. Text Only Entry (msksec, )
                           (Entered: 12/09/2013)
    12/09/2013   101       ORDER granting 97 Motion for Extension of Time. The motion is
                           GRANTED until a date to be determined at the law and motion hearing set
                           for 12/19/2013. By Chief Judge Marcia S. Krieger on 12/09/13. Text Only
                           Entry(msklc3, ) (Entered: 12/09/2013)
    12/09/2013   102       Unopposed MOTION to Amend/Correct/Modify 96 Order on Motion to
                           Dismiss,,, by Plaintiffs 2nd Amendment Gunsmith &Shooter Supply, LLC,
                           David Bayne, Jim Beicker, Rick Besecker, Ronald Bruce, Burrud Arms Inc.,
                           David Campbell, James (Jim) Casias, Miles Clark, Colorado Farm Bureau,
                           Colorado Outfitters Association, Colorado State Shooting Association,
                           Colorado Youth Outdoors, John B. Cooke, James Crone, Douglas Darr,
                           Chad Day, Rick Dunlap, David Encinias, Mike Ensminger, James Faull, Rod
                           Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez, Goods for the Woods,
                           Grand Prix Guns, Green Mountain Guns, Hamilton Family Enterprises, Inc.,
                           Dylan Harrell, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred
                           Hosselkus, Tim Jantz, Jerry's Outdoor Sports, Fred Jobe, Chris S. Johnson,
                           Rodney Johnson, Donald Krueger, Larry Kuntz, Sue Kurtz, Magpul
                           Industries, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr, Fred D. McKee,
                           Amos Medina, Ted B. Mink, John Minor, National Shooting Sports
                           Foundation, Tom Nestor, Bruce Newman, Mike Norris, Brian E. Norton,
                           Outdoor Buddies, Inc., Randy Peck, Brett L. Powell, Ken Putnam, Tom
                           Ridnour, Grayson Robinson, Rocky Mountain Shooters Supply, Duke
                           Schirard, Justin Smith, Specialty Sports &Supply, Dennis Spruell, Dave
                           Stong, David Strumillo, USA Liberty Arms, Charles "Rob" Urbach, Lou


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                           Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins, Women for
                           Concealed Carry, Si Woodruff. (Krumholz, Peter) (Entered: 12/09/2013)
    12/10/2013   103       NOTICE re 99 Order, Concerning Unavailability of Counsel by Plaintiffs
                           David Bayne, Colorado Farm Bureau, Colorado Outfitters Association,
                           Colorado Youth Outdoors, Dylan Harrell, Outdoor Buddies, Inc., Women
                           for Concealed Carry (Krumholz, Peter) (Entered: 12/10/2013)
    12/11/2013   104       MOTION for Joinder , MOTION for Leave to File 3d Amended Complaint
                           by Plaintiffs Jim Beicker, Rick Besecker, Ronald Bruce, David Campbell,
                           James (Jim) Casias, Miles Clark, John B. Cooke, James Crone, Douglas
                           Darr, Chad Day, Rick Dunlap, David Encinias, Mike Ensminger, James
                           Faull, Rod Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez, Bruce W.
                           Hartman, Shayne Heap, Stan Hilkey, Fred Hosselkus, Tim Jantz, Fred Jobe,
                           Chris S. Johnson, Rodney Johnson, Donald Krueger, Larry Kuntz, Sue
                           Kurtz, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr, Fred D. McKee,
                           Amos Medina, Ted B. Mink, John Minor, Tom Nestor, Bruce Newman,
                           Mike Norris, Brian E. Norton, Randy Peck, Brett L. Powell, Ken Putnam,
                           Tom Ridnour, Grayson Robinson, Duke Schirard, Justin Smith, Dennis
                           Spruell, Dave Stong, David Strumillo, Charles "Rob" Urbach, Lou Vallario,
                           David A. Weaver, Fred Wegener, Garrett Wiggins, Si Woodruff.
                           (Attachments: # 1 Exhibit 3d Am. Complaint, with strikethroughs, # 2
                           Deposition Excerpts Exhibit C. Wagner deposition, # 3 Exhibit Exhibit D.
                           AG response to FFL discovery, # 4 Exhibit Exhibit E. AG response to
                           Sheriffs discovery, # 5 Exhibit Exhibit F. CBI documents, # 6 Deposition
                           Excerpts Exhibit G. Sloan deposition, # 7 Exhibit Exhibit H. AG response to
                           2d non−profit discovery, # 8 Exhibit Exhibit I. AG response to 1st
                           non−profit discovery)(Kopel, David) (Entered: 12/11/2013)
    12/11/2013   105       Unopposed MOTION for Leave to Restrict Document as to docket entry #
                           106 (Exhibits Ato 3d Am. Complaint by Plaintiffs Jim Beicker, Rick
                           Besecker, Ronald Bruce, David Campbell, James (Jim) Casias, Miles Clark,
                           John B. Cooke, James Crone, Douglas Darr, Chad Day, Rick Dunlap, David
                           Encinias, Mike Ensminger, James Faull, Rod Fenske, Scott Fischer, Forrest
                           Frazee, Peter Gonzalez, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred
                           Hosselkus, Tim Jantz, Fred Jobe, Chris S. Johnson, Rodney Johnson, Donald
                           Krueger, Larry Kuntz, Sue Kurtz, Terry Maketa, Jerry Martin, Dominic
                           Mattivi, Jr, Fred D. McKee, Amos Medina, Ted B. Mink, John Minor, Tom
                           Nestor, Bruce Newman, Mike Norris, Brian E. Norton, Randy Peck, Brett L.
                           Powell, Ken Putnam, Tom Ridnour, Grayson Robinson, Duke Schirard,
                           Justin Smith, Dennis Spruell, Dave Stong, David Strumillo, Charles "Rob"
                           Urbach, Lou Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins, Si
                           Woodruff. (Kopel, David) Modified on 12/12/2013 to correct linkage(klyon,
                           ). (Entered: 12/11/2013)
    12/11/2013   106       RESTRICTED DOCUMENT − Level 1: by Plaintiffs Jim Beicker, Rick
                           Besecker, Ronald Bruce, David Campbell, James (Jim) Casias, Miles Clark,
                           John B. Cooke, James Crone, Douglas Darr, Chad Day, Rick Dunlap, David
                           Encinias, Mike Ensminger, James Faull, Rod Fenske, Scott Fischer, Forrest
                           Frazee, Peter Gonzalez, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred
                           Hosselkus, Tim Jantz, Fred Jobe, Chris S. Johnson, Rodney Johnson, Donald
                           Krueger, Larry Kuntz, Sue Kurtz, Terry Maketa, Jerry Martin, Dominic
                           Mattivi, Jr, Fred D. McKee, Amos Medina, Ted B. Mink, John Minor, Tom

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                           Nestor, Bruce Newman, Mike Norris, Brian E. Norton, Randy Peck, Brett L.
                           Powell, Ken Putnam, Tom Ridnour, Grayson Robinson, Duke Schirard,
                           Justin Smith, Dennis Spruell, Dave Stong, David Strumillo, Charles "Rob"
                           Urbach, Lou Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins, Si
                           Woodruff.. Motions due by 12/30/2013. (Attachments: # 1 Exhibit Exhibit
                           B. Sheriff Declarations)(Kopel, David) (Entered: 12/11/2013)
    12/11/2013   109       Exhibits in Support of 62 Amended Complaint, by Plaintiffs 2nd
                           Amendment Gunsmith &Shooter Supply, LLC, David Bayne, Burrud Arms
                           Inc., Colorado Farm Bureau, Colorado Outfitters Association, Colorado
                           State Shooting Association, Colorado Youth Outdoors, Goods for the
                           Woods, Grand Prix Guns, Green Mountain Guns, Hamilton Family
                           Enterprises, Inc., Dylan Harrell, Jerry's Outdoor Sports, Magpul Industries,
                           National Shooting Sports Foundation, Outdoor Buddies, Inc., Rocky
                           Mountain Shooters Supply, Specialty Sports &Supply, David Strumillo,
                           USA Liberty Arms, Women for Concealed Carry. (Public Entry for 106
                           Restricted Document − Level 1) (Text only entry) (klyon, ) (Entered:
                           12/12/2013)
    12/12/2013   107       ORDER denying 102 Motion to Amend/Correct/Modify. Having reviewed
                           the Second Amended Complaint, the Court finds that under the standards of
                           Ashcroft v. Iqbal, 556 U.S. 663 (2009), and Bell Atlantic Corp. v. Twombly,
                           550 U.S. 544 (2007), there is no plausible claim stated by any individual
                           currently serving as sheriff. Therefore, no further clarification or
                           modification of the Courts November 27, 2013, Order 96 on the Motion to
                           Dismiss is appropriate. The motion is DENIED. By Chief Judge Marcia S.
                           Krieger on 12/12/2013. Text Only Entry(msklc3, ) (Entered: 12/12/2013)
    12/12/2013   108       ORDER: The motions filed at 104 and 105 will be heard at the Law and
                           Motion hearing set for 12/19/2013 at 03:00 PM in Courtroom A 901 before
                           Chief Judge Marcia S. Krieger. By Chief Judge Marcia S. Krieger on
                           12/12/2013. Text Only Entry (msklc3, ) (Entered: 12/12/2013)
    12/12/2013   110       NOTICE Concerning Unavailability for December 19 Non−Evidentiary
                           Hearing by Plaintiffs 2nd Amendment Gunsmith &Shooter Supply, LLC,
                           Burrud Arms Inc., Goods for the Woods, Grand Prix Guns, Green Mountain
                           Guns, Jerry's Outdoor Sports, Rocky Mountain Shooters Supply, Specialty
                           Sports &Supply, USA Liberty Arms (Colin, Marc) (Entered: 12/12/2013)
    12/17/2013   111       NOTICE re 106 Restricted Document − Level 1,,, 105 Unopposed MOTION
                           for Leave to Restrict Document as to docket entry # 104 (Exhibits Ato 3d
                           Am. Complaint by Plaintiffs Jim Beicker, Rick Besecker, Ronald Bruce,
                           David Campbell, James (Jim) Casias, Miles Clark, John B. Cooke, James
                           Crone, Douglas Darr, Chad Day, Rick Dunlap, David Encinias, Mike
                           Ensminger, James Faull, Rod Fenske, Scott Fischer, Forrest Frazee, Peter
                           Gonzalez, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred Hosselkus,
                           Tim Jantz, Fred Jobe, Chris S. Johnson, Rodney Johnson, Donald Krueger,
                           Larry Kuntz, Sue Kurtz, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr,
                           Fred D. McKee, Amos Medina, Ted B. Mink, John Minor, Tom Nestor,
                           Bruce Newman, Mike Norris, Brian E. Norton, Randy Peck, Brett L. Powell,
                           Ken Putnam, Tom Ridnour, Grayson Robinson, Duke Schirard, Justin
                           Smith, Dennis Spruell, Dave Stong, David Strumillo, Charles "Rob" Urbach,
                           Lou Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins, Si


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                           Woodruff (Kopel, David) (Entered: 12/17/2013)
    12/18/2013   112       RESPONSE to 104 MOTION for Joinder MOTION for Leave to File 3d
                           Amended Complaint filed by Defendant John W. Hickenlooper. (Grove,
                           Matthew) (Entered: 12/18/2013)
    12/18/2013   113       REPLY to Response to 104 MOTION for Joinder MOTION for Leave to
                           File 3d Amended Complaint and Motion for Leave to File Substitute Third
                           Amended Complaint filed by Plaintiffs Jim Beicker, Rick Besecker, Ronald
                           Bruce, David Campbell, James (Jim) Casias, Miles Clark, John B. Cooke,
                           James Crone, Douglas Darr, Chad Day, Rick Dunlap, David Encinias, Mike
                           Ensminger, James Faull, Rod Fenske, Scott Fischer, Forrest Frazee, Peter
                           Gonzalez, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred Hosselkus,
                           Tim Jantz, Fred Jobe, Chris S. Johnson, Rodney Johnson, Donald Krueger,
                           Larry Kuntz, Sue Kurtz, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr,
                           Fred D. McKee, Amos Medina, Ted B. Mink, John Minor, Tom Nestor,
                           Bruce Newman, Mike Norris, Brian E. Norton, Randy Peck, Brett L. Powell,
                           Ken Putnam, Tom Ridnour, Grayson Robinson, Duke Schirard, Justin
                           Smith, Dennis Spruell, Dave Stong, David Strumillo, Charles "Rob" Urbach,
                           Lou Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins, Si
                           Woodruff. (Attachments: # 1 Exhibit Substitute 3d Amended
                           Complaint)(Kopel, David) (Entered: 12/18/2013)
    12/19/2013   114       NOTICE of Change of Address/Contact Information by Richard A. Westfall
                           (Westfall, Richard) (Entered: 12/19/2013)
    12/19/2013   115       MINUTE ENTRY for Law and Motion Hearing held before Chief Judge
                           Marcia S. Krieger on 12/19/2013. 104 Motion for Joinder is GRANTED in
                           part and DENIED in part; 105 Motion for Leave to Restrict is DENIED, but
                           the exhibits will remain under restriction. Proposed Pretrial Order due by
                           1/31/2014; Final Pretrial Conference set for 2/20/2014 03:00 PM; Bench
                           Trial (10 days) set for 3/31/2014 − o4/04/14 and 04/07/2014 − 04/11/2014 at
                           08:30 AM in Courtroom A 901 before Chief Judge Marcia S. Krieger. Other
                           matters addressed or deadlines imposed are set forth in the Minutes. Court
                           Reporter: Terri Lindblom. (mskcd) (Entered: 12/20/2013)
    12/23/2013   116       AMENDED COMPLAINT (Fourth) against All Defendants, filed by
                           Hamilton Family Enterprises, Inc., Jerry's Outdoor Sports, Larry Kuntz,
                           Colorado Outfitters Association, Goods for the Woods, National Shooting
                           Sports Foundation, Women for Concealed Carry, David Bayne, David
                           Strumillo, Peter Gonzalez, Magpul Industries, Outdoor Buddies, Inc.,
                           Colorado Farm Bureau, Dylan Harrell, Specialty Sports &Supply, Colorado
                           State Shooting Association, Douglas Darr, Rocky Mountain Shooters
                           Supply, Green Mountain Guns, 2nd Amendment Gunsmith &Shooter
                           Supply, LLC, James Faull, John B. Cooke, Stan Hilkey, Donald Krueger,
                           Colorado Youth Outdoors, Burrud Arms Inc., USA Liberty Arms, Fred Jobe,
                           Ken Putnam, Sue Kurtz, Dave Stong.(Kopel, David) (Entered: 12/23/2013)
    01/03/2014   117       Objections and ANSWER to 116 Amended Complaint,, by John W.
                           Hickenlooper.(Grove, Matthew) (Entered: 01/03/2014)
    01/15/2014   118       Joint MOTION to Strike Expert Opinions Per FRE 702 by Plaintiffs 2nd
                           Amendment Gunsmith &Shooter Supply, LLC, David Bayne, Burrud Arms
                           Inc., Colorado Farm Bureau, Colorado Outfitters Association, Colorado


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                           State Shooting Association, Colorado Youth Outdoors, John B. Cooke,
                           Douglas N. Darr, James Faull, Peter Gonzalez, Goods for the Woods, Green
                           Mountain Guns, Hamilton Family Enterprises, Inc., Dylan Harrell, Stan
                           Hilkey, Jerry's Outdoor Sports, Fred Jobe, Donald Krueger, Larry Kuntz,
                           Sue Kurtz, Magpul Industries, National Shooting Sports Foundation,
                           Outdoor Buddies, Inc., Ken Putnam, Rocky Mountain Shooters Supply,
                           Specialty Sports &Supply, Dave Stong, David Strumillo, USA Liberty
                           Arms, Women for Concealed Carry, Interested Party Board of County
                           Commissioners for Mesa County Colorado. (Watson, Jonathon) (Entered:
                           01/15/2014)
    01/31/2014   119       Proposed Pretrial Order filed jointly by all parties by Plaintiffs John B.
                           Cooke, Douglas N. Darr, James Faull, Peter Gonzalez, Stan Hilkey, Fred
                           Jobe, Donald Krueger, Larry Kuntz, Sue Kurtz, Ken Putnam, Dave Stong,
                           David Strumillo. (Attachments: # 1 Exhibit Addendum A. Witness list, # 2
                           Exhibit Addendum B. Exhibit list)(Kopel, David) (Entered: 01/31/2014)
    02/11/2014   120       Unopposed MOTION to Withdraw as Attorney by Plaintiffs 2nd
                           Amendment Gunsmith &Shooter Supply, LLC, Burrud Arms Inc., Goods for
                           the Woods, Green Mountain Guns, Jerry's Outdoor Sports, Rocky Mountain
                           Shooters Supply, Specialty Sports &Supply, USA Liberty Arms. (Watson,
                           Jonathon) (Entered: 02/11/2014)
    02/12/2014   121       MEMORANDUM regarding 120 Unopposed MOTION to Withdraw as
                           Attorney filed by 2nd Amendment Gunsmith &Shooter Supply, LLC, Green
                           Mountain Guns, Goods for the Woods, Specialty Sports &Supply, Jerry's
                           Outdoor Sports, USA Liberty Arms, Rocky Mountain Shooters Supply,
                           Burrud Arms Inc.Motions referred to Magistrate Judge Michael J. Watanabe
                           by Chief Judge Marcia S. Krieger on 2/12/14. Text Only Entry (msksec, )
                           (Entered: 02/12/2014)
    02/12/2014   122       MINUTE ORDER granting 120 Motion to Withdraw as Attorney. Attorney
                           Jonathon Michael Watson terminated, by Magistrate Judge Michael J.
                           Watanabe on 2/12/2014. Text Only Entry(mjwcd) (Entered: 02/12/2014)
    02/14/2014   123       WITHDRAWN − Unopposed MOTION for Order to Close Courtroom
                           during Portions of Testimony by Aurora Police Chief Daniel Oates by
                           Defendant John W. Hickenlooper. (Attachments: # 1 Exhibit A, # 2 Exhibit
                           B, # 3 Exhibit C)(Grove, Matthew) Modified on 4/8/2014 to withdraw
                           pursuant to Minute Entry dated 4/7/2014. (klyon, ). (Entered: 02/14/2014)
    02/14/2014   124       WITHDRAWN − Unopposed MOTION for Leave to Restrict by Plaintiffs
                           John B. Cooke, Douglas N. Darr, James Faull, Peter Gonzalez, Stan Hilkey,
                           Fred Jobe, Donald Krueger, Larry Kuntz, Sue Kurtz, Ken Putnam, Dave
                           Stong, David Strumillo. (Kopel, David) Modified on 2/21/2014 to withdraw
                           pursuant to Minute Entry dated 2/20/2014 (klyon, ). (Entered: 02/14/2014)
    02/20/2014   125       Exhibit List Amended by Defendant John W. Hickenlooper. (Grove,
                           Matthew) (Entered: 02/20/2014)
    02/20/2014   126       NOTICE of Entry of Appearance by LeeAnn Morrill on behalf of John W.
                           HickenlooperAttorney LeeAnn Morrill added to party John W.
                           Hickenlooper(pty:dft) (Morrill, LeeAnn) (Entered: 02/20/2014)
    02/20/2014   127

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                           MINUTE ENTRY for Final Pretrial Conference held before Chief Judge
                           Marcia S. Krieger on 2/20/2014. 124 Motion for Leave to Restrict is
                           WITHDRAWN. Other matters addressed, including deadlines, if any, are set
                           forth in the Minutes. Court Reporter: Terri Lindblom. (pglov) (Entered:
                           02/20/2014)
    02/26/2014   128       NOTICE of Entry of Appearance by David Robert Frankel on behalf of
                           Board of County Commissioners for Mesa County ColoradoAttorney David
                           Robert Frankel added to party Board of County Commissioners for Mesa
                           County Colorado(pty:ip) (Frankel, David) (Entered: 02/26/2014)
    02/28/2014   129       Witness List Amended Joint Witness List by Plaintiffs 2nd Amendment
                           Gunsmith &Shooter Supply, LLC, David Bayne, Jim Beicker, Rick
                           Besecker, Ronald Bruce, Burrud Arms Inc., David Campbell, James (Jim)
                           Casias, Miles Clark, Colorado Farm Bureau, Colorado Outfitters
                           Association, Colorado State Shooting Association, Colorado Youth
                           Outdoors, John B. Cooke, John B. Cooke, James Crone, Douglas N. Darr,
                           Chad Day, Rick Dunlap, David Encinias, Mike Ensminger, James Faull, Rod
                           Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez, Goods for the Woods,
                           Grand Prix Guns, Green Mountain Guns, Hamilton Family Enterprises, Inc.,
                           Dylan Harrell, Bruce W. Hartman, Shayne Heap, Stan Hilkey, Fred
                           Hosselkus, Tim Jantz, Jerry's Outdoor Sports, Fred Jobe, Chris S. Johnson,
                           Rodney Johnson, Donald Krueger, Larry Kuntz, Sue Kurtz, Magpul
                           Industries, Terry Maketa, Jerry Martin, Dominic Mattivi, Jr, Fred D. McKee,
                           Amos Medina, Ted B. Mink, John Minor, National Shooting Sports
                           Foundation, Tom Nestor, Bruce Newman, Mike Norris, Brian E. Norton,
                           Outdoor Buddies, Inc., Randy Peck, Brett L. Powell, Ken Putnam, Tom
                           Ridnour, Grayson Robinson, Rocky Mountain Shooters Supply, Duke
                           Schirard, Justin Smith, Specialty Sports &Supply, Dennis Spruell, Dave
                           Stong, David Strumillo, USA Liberty Arms, Charles "Rob" Urbach, Lou
                           Vallario, David A. Weaver, Fred Wegener, Garrett Wiggins, Women for
                           Concealed Carry, Si Woodruff. (Krumholz, Peter) (Entered: 02/28/2014)
    03/03/2014   130       First MOTION to Withdraw as Attorney by Defendant Mesa County, Board
                           of County Commissioners. (Attachments: # 1 Proposed Order (PDF
                           Only))(Frankel, David) (Entered: 03/03/2014)
    03/03/2014   131       MEMORANDUM regarding 130 First MOTION to Withdraw as Attorney
                           filed by Mesa County, Board of County Commissioners. Motions referred to
                           Magistrate Judge Michael J. Watanabe by Chief Judge Marcia S. Krieger on
                           3/3/14. Text Only Entry (msksec, ) (Entered: 03/03/2014)
    03/03/2014   132       MINUTE ORDER granting 130 Motion to Withdraw as Attorney. Attorney
                           Maurice L. Dechant terminated. By Magistrate Judge Michael J. Watanabe
                           on 3/3/2014. Text Only Entry(mjwcd) (Entered: 03/03/2014)
    03/07/2014   133       MOTION to Dismiss Count I and Certain Plaintiffs for Lack of Standing by
                           Defendant John W. Hickenlooper. (Attachments: # 1 Exhibit A, # 2 Exhibit
                           B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G,
                           # 8 Exhibit H)(Grove, Matthew) (Entered: 03/07/2014)
    03/14/2014   134       RESPONSE to 133 MOTION to Dismiss Count I and Certain Plaintiffs for
                           Lack of Standing filed by Plaintiffs David Bayne, Colorado Farm Bureau,
                           Colorado Outfitters Association, Dylan Harrell, Outdoor Buddies, Inc.,


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                           Women for Concealed Carry. (Westfall, Richard) (Entered: 03/14/2014)
    03/14/2014   135       TRIAL BRIEF by Defendant John W. Hickenlooper. (Grove, Matthew)
                           (Entered: 03/14/2014)
    03/14/2014   136       TRIAL BRIEF by Plaintiffs John B. Cooke, Douglas N. Darr, James Faull,
                           Peter Gonzalez, Stan Hilkey, Fred Jobe, Donald Krueger, Larry Kuntz, Sue
                           Kurtz, Ken Putnam, Dave Stong, David Strumillo. (Kopel, David) (Entered:
                           03/14/2014)
    03/19/2014   137       MOTION in Limine or, in the Alternative, Forthwith Motion for Bifurcation
                           and Continuance With Respect to Plaintiffs' Fifth Claim for Relief by
                           Defendant John W. Hickenlooper. (Grove, Matthew) (Entered: 03/19/2014)
    03/21/2014   138       RESPONSE to 137 MOTION in Limine or, in the Alternative, Forthwith
                           Motion for Bifurcation and Continuance With Respect to Plaintiffs' Fifth
                           Claim for Relief filed by Plaintiffs David Bayne, Colorado Farm Bureau,
                           Colorado Outfitters Association, Dylan Harrell, Outdoor Buddies, Inc.,
                           Women for Concealed Carry. (Westfall, Richard) (Entered: 03/21/2014)
    03/21/2014   139       REPLY to Response to 137 MOTION in Limine or, in the Alternative,
                           Forthwith Motion for Bifurcation and Continuance With Respect to
                           Plaintiffs' Fifth Claim for Relief filed by Defendant John W. Hickenlooper.
                           (Grove, Matthew) (Entered: 03/21/2014)
    03/21/2014   140       ORDER on 137 Motion in Limine, the Plaintiffs' Response, and the
                           Defendant's Reply. Having considered the parties' joint final pretrial order,
                           and the Plaintiffs' trial brief, specifically footnote 5 and pages 18−20, the
                           Court finds that the trial brief asserts a new contention that C.R.S.§
                           18−12−112 is unconstitutional. The new contention pertains to Colorado
                           citizens aged 18−20 years old, and the interplay of §18−12−112 with
                           applicable federal law. Such contention was not disclosed in any of the five
                           versions of the Plaintiffs' complaint, nor was it disclosed in the final pretrial
                           order found at Docket #119, which was approved by this Court. Whether
                           such contention is construed as a claim or theory, it exceeds the scope of the
                           arguments and evidence to be tried beginning March 31, 2014. In the
                           exercise of the Court's discretion, see Hullman v. Bd. of Trustees, 950 F.2d
                           665, 668 (10th Cir. 1999), the Court GRANTS the Defendant's Motion in
                           Limine and excludes all evidence pertinent thereto. By Chief Judge Marcia
                           S. Krieger on 3/21/2014. Text Only Entry(msklc3, ) (Entered: 03/21/2014)
    03/25/2014   141       Joint MOTION for Order to Use or Display Firearms Magazines at Trial by
                           Defendant John W. Hickenlooper. (Spalding, Kathleen) (Entered:
                           03/25/2014)
    03/26/2014   142       ORDER granting 141 Joint Motion Concerning the Use or Display of
                           Firearms Magazines at Trial. Failure to follow the issued protocol will result
                           in the denial of any firearm and/or magazine being permitted into the
                           courthouse for purposes of use at trial. by Chief Judge Marcia S. Krieger on
                           3/26/14.(msksec, ) (Entered: 03/26/2014)
    03/31/2014   143       MINUTE ENTRY for Bench Trial Day One held before Chief Judge Marcia
                           S. Krieger on 3/31/2014. Oral motion for sequestration of non−party lay
                           witnesses for remainder of trial is GRANTED. Opening statements. Witness
                           testimony, exhbits received/refused and other matters addressed are set forth

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                           in the Minutes. Trial continues. Court Reporter: Terri Lindblom. (pglov)
                           (Entered: 03/31/2014)
    04/01/2014   144       WITHDRAWN − MOTION in Limine to Exclude Evidence Related to
                           Three Plaintiffs at Trial by Defendant John W. Hickenlooper. (Attachments:
                           # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                           Exhibit F)(Morrill, LeeAnn) Modified on 4/8/2014 to withdraw pursuant to
                           Minute Entry dated 4/7/2014 (klyon, ). (Entered: 04/01/2014)
    04/01/2014   145       MINUTE ENTRY for Bench Trial Day Two held before Chief Judge Marcia
                           S. Krieger on 4/1/2014. Witness testimony, exhibits received/refused and
                           other matters addressed are set forth in the Minutes. Trial continues. Court
                           Reporter: Terri Lindblom. (rkeec) Modified on 4/3/2014 to reflect date of
                           4/1/2014(rkeec). (Entered: 04/03/2014)
    04/01/2014   146       MINUTE ENTRY for proceedings held before Chief Judge Marcia S.
                           Krieger: Amended re 145 Bench Trial − Held. Amended to reflect correct
                           Magistrate Judge in case caption. Court Reporter: Terri Lindblom. (rkeec)
                           (Entered: 04/03/2014)
    04/02/2014   147       MINUTE ENTRY for Bench Trial Day Three held before Chief Judge
                           Marcia S. Krieger on 4/2/2014. Witness testimony, exhibits received/refused
                           and other matters addressed are set forth in the Minutes. Court Reporter:
                           Terri Lindblom. (rkeec) (Entered: 04/03/2014)
    04/03/2014   151       MINUTE ENTRY for Bench Trial Day Four held before Chief Judge Marcia
                           S. Krieger held on 4/3/2014. Defendant's oral Rule 52 motion as to Plaintiffs'
                           claim under the Americans With Disabilities Act is DEFERRED UNTIL
                           THE CLOSE OF THE PRESENTATION OF THE EVIDENCE. Witness
                           testimony, exhibits received/refused and other matters addressed are set forth
                           in the Minutes. Trial continues. Court Reporter: Terri Lindblom. (rkeec)
                           (Entered: 04/07/2014)
    04/04/2014   152       MINUTE ENTRY for Bench Trial Day Five held before Chief Judge Marcia
                           S. Krieger held on 4/4/2014. Witness testimony, exhibits received/refused
                           and other matters addressed are set forth in the Minutes. Trial continues.
                           Court Reporter: Terri Lindblom. (rkeec) (Entered: 04/07/2014)
    04/06/2014   148       WITHDRAWN − MOTION in Limine to Exclude Certain Trial Exibits by
                           Plaintiffs David Bayne, Dylan Harrell, Outdoor Buddies, Inc., Women for
                           Concealed Carry. (Westfall, Richard) Modified on 4/10/2014 to withdraw
                           pursuant to Minute Entry dated 4/9/2014 (klyon, ). (Entered: 04/06/2014)
    04/06/2014   149       SUPPLEMENT/AMENDMENT to 148 MOTION in Limine to Exclude
                           Certain Trial Exibits by Plaintiffs David Bayne, Colorado Farm Bureau,
                           Colorado Outfitters Association, Dylan Harrell, Outdoor Buddies, Inc.,
                           Women for Concealed Carry. (Westfall, Richard) (Entered: 04/06/2014)
    04/07/2014   150       MOTION in Limine to Exclude Untimely Disclosed Expert Opinion
                           Testimony by Plaintiffs David Bayne, Colorado Farm Bureau, Colorado
                           Outfitters Association, Dylan Harrell, Outdoor Buddies, Inc., Women for
                           Concealed Carry. (Westfall, Richard) (Entered: 04/07/2014)
    04/07/2014   153       MINUTE ENTRY for Bench Trial Day Six held before Chief Judge Marcia
                           S. Krieger on 4/7/2014. Witness testimony, exhibits


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                           received/refused/withdrawn or ruling reserved and other matters addressed
                           are set forth in the Minutes. Oral motion in limine is DENIED as set forth in
                           the record. 123 Motion for Order and 144 Motion in Limine are both
                           WITHDRAWN. Trial continues. Court Reporter: Terri Lindblom. (pglov)
                           (Entered: 04/08/2014)
    04/08/2014   154       MINUTE ENTRY for Bench Trial Day 7 held before Chief Judge Marcia S.
                           Krieger on 4/8/2014. Witness testimony, exhibits
                           received/refused/withdrawn and other matters addressed are set forth in the
                           Minutes. Trial continues. Court Reporter: Teri Lindblom. (pglov) (Entered:
                           04/09/2014)
    04/09/2014   155       MINUTE ENTRY for Bench Trial Day 8 held before Chief Judge Marcia S.
                           Krieger on 4/9/2014. Witness testimony, exhibits
                           received/refused/withdrawn and other matters addressed are set forth in the
                           Minutes. 148 Motion in Limine is WITHDRAWN; 150 Motion in Limine is
                           DENIED. Trial continues. Court Reporter: Terri Lindblom. (pglov)
                           (Entered: 04/10/2014)
    04/10/2014   156       MINUTE ENTRY for Bench Trial Day 9 held before Chief Judge Marcia S.
                           Krieger completed on 4/10/2014. Evidence concluded, closing and rebuttal
                           arguments. The Court takes the matter under advisement. Bench Trial
                           completed. Court Reporter: Terri Lindblom. (pglov) (Entered: 04/11/2014)
    05/06/2014   157       Unopposed MOTION to Dismiss Party Stan Hilkey by Plaintiff Stan Hilkey.
                           (Kopel, David) (Entered: 05/06/2014)
    05/08/2014   158       ORDER granting 157 Motion to Dismiss Party. Party Stan Hilkey
                           terminated. by Chief Judge Marcia S. Krieger on 5/8/14. Text Only
                           Entry(msksec, ) (Entered: 05/08/2014)
    06/26/2014   159       Findings of Fact, Conclusions of Law, and Order by Chief Judge Marcia S.
                           Krieger on 6/26/14: 133 Motion to Dismiss is denied, 118 Joint Motion to
                           Strike Expert Opinions Per FRE 702 is granted in part and denied in part,
                           and Colorado Revised Statutes § 18−12−112 and § 18−12−302 are
                           compliant with the provisions of the Second and Fourteenth Amendments to
                           the United States Constitution. (dkals, ) (Entered: 06/26/2014)
    06/26/2014   160       JUDGMENT in favor of Defendant John W. Hickenlooper and against all
                           Plaintiffs with costs, pursuant to 159 Findings of Fact, Conclusions of Law,
                           and Order, by Chief Judge Marcia S. Krieger on 6/26/14. (dkals, ) (Entered:
                           06/26/2014)
    06/27/2014   161       Unopposed MOTION for Extension of Time to Extend Fed.R.Civ.P. 54
                           Filing Deadline by Defendant John W. Hickenlooper. (Attachments: # 1
                           Proposed Order (PDF Only))(Spalding, Kathleen) (Entered: 06/27/2014)
    06/30/2014   162       ORDER granting 161 Unopposed Motion for Extension of Time. Extension
                           granted up to and including July 24, 2014. by Chief Judge Marcia S. Krieger
                           on 6/30/14. Text Only Entry(msksec, ) (Entered: 06/30/2014)
    07/24/2014   163       Proposed Bill of Costs by Defendant John W. Hickenlooper. (Attachments:
                           # 1 Exhibit A, # 2 Appendix 1, # 3 Appendix 2, # 4 Appendix 3, # 5
                           Appendix 4)(Spalding, Kathleen) (Entered: 07/24/2014)
    07/28/2014   164

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                           NOTICE OF APPEAL as to 159 Order on Motion to Strike,, Order on
                           Motion to Dismiss, 160 Judgment by Plaintiffs David Bayne, Colorado Farm
                           Bureau, Colorado Outfitters Association, Dylan Harrell, Outdoor Buddies,
                           Inc., Women for Concealed Carry (Filing fee $ 505, Receipt Number
                           1082−3976471) (Westfall, Richard) (Entered: 07/28/2014)
    07/28/2014   165       NOTICE OF APPEAL as to 127 Order on Motion for Leave to Restrict,,
                           Pretrial Conference − Final, 96 Order on Motion to Dismiss,,, 159 Order on
                           Motion to Strike,, Order on Motion to Dismiss, 107 Order on Motion to
                           Amend/Correct/Modify,, 160 Judgment, 115 Order on Motion for Joinder,,,
                           Order on Motion for Leave,,, Order on Motion for Leave to Restrict,,,
                           Motion Hearing,,, Set/Reset Deadlines/Hearings,, by Plaintiffs Jim Beicker,
                           Rick Besecker, Ronald Bruce, David Campbell, James (Jim) Casias, Miles
                           Clark, John B. Cooke, John B. Cooke, James Crone, Douglas N. Darr, Chad
                           Day, Rick Dunlap, David Encinias, Mike Ensminger, James Faull, Rod
                           Fenske, Scott Fischer, Forrest Frazee, Peter Gonzalez, Bruce W. Hartman,
                           Shayne Heap, Fred Hosselkus, Tim Jantz, Fred Jobe, Chris S. Johnson,
                           Rodney Johnson, Donald Krueger, Larry Kuntz, Sue Kurtz, Terry Maketa,
                           Jerry Martin, Dominic Mattivi, Jr, Fred D. McKee, Amos Medina, Ted B.
                           Mink, John Minor, Tom Nestor, Bruce Newman, Mike Norris, Brian E.
                           Norton, Randy Peck, Brett L. Powell, Ken Putnam, Tom Ridnour, Grayson
                           Robinson, Duke Schirard, Justin Smith, Dennis Spruell, Dave Stong, David
                           Strumillo, Charles "Rob" Urbach, Lou Vallario, David A. Weaver, Fred
                           Wegener, Garrett Wiggins, Si Woodruff (Filing fee $ 505, Receipt Number
                           1082−3975866) (Kopel, David) (Entered: 07/28/2014)
    07/28/2014   166       Amended NOTICE OF APPEAL as to 96 Opinon and Order, 159 Order on
                           Motion to Strike,, Order on Motion to Dismiss, 160 Judgment by Plaintiffs
                           David Bayne, Colorado Farm Bureau, Colorado Outfitters Association,
                           Dylan Harrell, Outdoor Buddies, Inc., Women for Concealed Carry
                           (Westfall, Richard) Modified on 7/29/2014 to add text (dkals, ). (Entered:
                           07/28/2014)
    07/29/2014   167       LETTER Transmitting Notice of Appeal to all counsel advising of the
                           transmittal of the 164 Notice of Appeal, 166 Amended Notice of Appeal
                           filed by Dylan Harrell, Colorado Outfitters Association, David Bayne,
                           Colorado Farm Bureau, Women for Concealed Carry, Outdoor Buddies, Inc.
                           to the U.S. Court of Appeals. ( Retained Counsel, Fee paid,) (Attachments: #
                           1 Docket Sheet, # 2 Preliminary Record)(dkals, ) (Entered: 07/29/2014)
    07/29/2014   168       LETTER Transmitting Notice of Appeal to all counsel advising of the
                           transmittal of the 165 Notice of Appeal filed by David Campbell, John
                           Minor, Dave Stong, Charles "Rob" Urbach, Rod Fenske, Bruce Newman,
                           Ted B. Mink, Garrett Wiggins, Ronald Bruce, Dominic Mattivi, Jr., Fred
                           Jobe, David Strumillo, Ken Putnam, Tim Jantz, Chad Day, Tom Ridnour,
                           David Encinias, Si Woodruff, Jerry Martin, John B. Cooke, Larry Kuntz,
                           Mike Norris, Brian E. Norton, Rick Dunlap, James (Jim) Casias, Bruce W.
                           Hartman, Rick Besecker, Miles Clark, James Crone, Randy Peck, Chris S.
                           Johnson, Sue Kurtz, Amos Medina, Mike Ensminger, Duke Schirard, Lou
                           Vallario, Forrest Frazee, Fred D. McKee, Peter Gonzalez, Donald Krueger,
                           Scott Fischer, Grayson Robinson, Dennis Spruell, Fred Wegener, Justin
                           Smith, James Faull, Terry Maketa, Douglas N. Darr, Fred Hosselkus, Jim
                           Beicker, David A. Weaver, Tom Nestor, Brett L. Powell, Shayne Heap,

                                                                                                          37
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                           Rodney Johnson to the U.S. Court of Appeals. ( Retained Counsel, Fee
                           paid,) (Attachments: # 1 Docket Sheet, # 2 Preliminary Record)(dkals, )
                           (Entered: 07/29/2014)
    07/29/2014   169       USCA Case Number 14−1290 for 164 Notice of Appeal, filed by Dylan
                           Harrell, Colorado Outfitters Association, David Bayne, Colorado Farm
                           Bureau, Women for Concealed Carry, Outdoor Buddies, Inc.. (dbrow, )
                           (Entered: 07/29/2014)
    07/29/2014   170       USCA Case Number 14−1292 for 165 Notice of Appeal,,,,, filed by David
                           Campbell, John Minor, Dave Stong, Charles "Rob" Urbach, Rod Fenske,
                           Bruce Newman, Ted B. Mink, Garrett Wiggins, Ronald Bruce, Dominic
                           Mattivi, Jr., Fred Jobe, David Strumillo, Ken Putnam, Tim Jantz, Chad Day,
                           Tom Ridnour, David Encinias, Si Woodruff, Jerry Martin, John B. Cooke,
                           Larry Kuntz, Mike Norris, Brian E. Norton, Rick Dunlap, James (Jim)
                           Casias, Bruce W. Hartman, Rick Besecker, Miles Clark, James Crone,
                           Randy Peck, Chris S. Johnson, Sue Kurtz, Amos Medina, Mike Ensminger,
                           Duke Schirard, Lou Vallario, Forrest Frazee, Fred D. McKee, Peter
                           Gonzalez, Donald Krueger, Scott Fischer, Grayson Robinson, Dennis
                           Spruell, Fred Wegener, Justin Smith, James Faull, Terry Maketa, Douglas N.
                           Darr, Fred Hosselkus, Jim Beicker, David A. Weaver, Tom Nestor, Brett L.
                           Powell, Shayne Heap, Rodney Johnson. (dbrow, ) (Entered: 07/29/2014)
    08/08/2014   171       TRANSCRIPT ORDER FORM re 165 Notice of Appeal,,,,, 164 Notice of
                           Appeal, by Plaintiffs David Bayne, Colorado Farm Bureau, Colorado
                           Outfitters Association, Colorado Youth Outdoors, Dylan Harrell, Outdoor
                           Buddies, Inc., Women for Concealed Carry (Krumholz, Peter) (Entered:
                           08/08/2014)
    08/19/2014   172       REPORTER TRANSCRIPT ORDER FORM filed by Terri Lindblom re:
                           165 Notice of Appeal, 166 Amended Notice of Appeal, 164 Notice of
                           Appeal. Transcript due by 9/30/2014. (nrich) (Entered: 08/19/2014)
    09/02/2014   173       NOTICE of Compliance with D.C. COLO. LCivR 54.1 Regarding Bill of
                           Costs by Defendant John W. Hickenlooper (Spalding, Kathleen) (Entered:
                           09/02/2014)
    09/04/2014   174       RESPONSE to 173 Notice (Other) Certificate by Plaintiffs Ted B. Mink,
                           John Minor, National Shooting Sports Foundation, Tom Nestor, Bruce
                           Newman, Mike Norris, Brian E. Norton, Outdoor Buddies, Inc., Randy
                           Peck, Brett L. Powell, Ken Putnam, Tom Ridnour, Grayson Robinson,
                           Rocky Mountain Shooters Supply, Duke Schirard, Justin Smith, Specialty
                           Sports &Supply, Dennis Spruell, Dave Stong, David Strumillo, USA Liberty
                           Arms, Charles "Rob" Urbach, Lou Vallario, David A. Weaver, Fred
                           Wegener, Garrett Wiggins, Women for Concealed Carry, Si Woodruff.
                           (Attachments: # 1 Exhibit)(Colin, Marc) (Entered: 09/04/2014)
    09/04/2014   175       Costs Taxed in amount of $ 37287.51 against Plaintiffs (dkals, ) (Entered:
                           09/04/2014)
    10/06/2014   176       TRANSCRIPT of Motion for Preliminary Injunction held on 7/10/13 before
                           Chief Judge Krieger. Pages: 1−20. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic

                                                                                                        38
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                           transcript of the court proceeding. If a Notice of Intent to Redact is not
                           filed within the allotted time, this transcript will be made electronically
                           available after 90 days. Please see the Notice of Electronic Availability
                           of Transcripts document at www.cod.uscourts.gov.<br> Transcript may
                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/06/2014   177       TRANSCRIPT of Law and Motion Hearing held on 12/19/13 before Chief
                           Judge Krieger. Pages: 1−35. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
                           filed within the allotted time, this transcript will be made electronically
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                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/06/2014   178       TRANSCRIPT of Final Pretrial Conference held on 2/20/14 before Chief
                           Judge Krieger. Pages: 1−21. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
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                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/06/2014   179       TRANSCRIPT of Trial to Court − Day 1 held on 3/31/14 before Chief Judge
                           Krieger. Pages: 1−239. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
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                           of Transcripts document at www.cod.uscourts.gov.<br> Transcript may
                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/06/2014   180       TRANSCRIPT of Trial to Court − Day 2 held on 4/01/14 before Chief Judge
                           Krieger. Pages: 240−476. <br> NOTICE − REDACTION OF

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                           TRANSCRIPTS: Within seven calendar days of this filing, each party
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                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
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                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/06/2014   181       TRANSCRIPT of Trial to Court − Day 3 held on 4/2/14 before Chief Judge
                           Krieger. Pages: 477−676. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
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                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/06/2014   182       TRANSCRIPT of Trial to Court − Day 4 held on 4/3/14 before Chief Judge
                           Krieger. Pages: 677−928. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
                           filed within the allotted time, this transcript will be made electronically
                           available after 90 days. Please see the Notice of Electronic Availability
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                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/06/2014   183       TRANSCRIPT of Trial to Court − Day 5 held on 4/4/14 before Chief Judge
                           Krieger. Pages: 929−1157. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
                           filed within the allotted time, this transcript will be made electronically
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                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)

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    10/06/2014   184       TRANSCRIPT of Trial to Court − Day 6 held on 4/7/14 before Chief Judge
                           Krieger. Pages: 1158−1379. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
                           filed within the allotted time, this transcript will be made electronically
                           available after 90 days. Please see the Notice of Electronic Availability
                           of Transcripts document at www.cod.uscourts.gov.<br> Transcript may
                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/06/2014   185       TRANSCRIPT of Trial to Court − Day 7 held on 4/8/14 before Chief Judge
                           Krieger. Pages: 1380−1597. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
                           filed within the allotted time, this transcript will be made electronically
                           available after 90 days. Please see the Notice of Electronic Availability
                           of Transcripts document at www.cod.uscourts.gov.<br> Transcript may
                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/06/2014   186       TRANSCRIPT of Trial to Court − Day 8 held on 4/9/14 before Chief Judge
                           Krieger. Pages: 1598−1825. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
                           filed within the allotted time, this transcript will be made electronically
                           available after 90 days. Please see the Notice of Electronic Availability
                           of Transcripts document at www.cod.uscourts.gov.<br> Transcript may
                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/06/2014)
    10/07/2014   187       TRANSCRIPT of Trial to Court − Day 9 held on 4/10/14 before Chief Judge
                           Krieger. Pages: 1826−1987. <br> NOTICE − REDACTION OF
                           TRANSCRIPTS: Within seven calendar days of this filing, each party
                           shall inform the Court, by filing a Notice of Intent to Redact, of the
                           party's intent to redact personal identifiers from the electronic
                           transcript of the court proceeding. If a Notice of Intent to Redact is not
                           filed within the allotted time, this transcript will be made electronically
                           available after 90 days. Please see the Notice of Electronic Availability
                           of Transcripts document at www.cod.uscourts.gov.<br> Transcript may
                           only be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber prior to the 90 day deadline for electronic posting on

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                           PACER. Release of Transcript Restriction set for 1/8/2015. (tlind, )
                           (Entered: 10/07/2014)
    10/07/2014   188       LETTER TO USCA and all counsel certifying the record is complete as to
                           166 Amended Notice of Appeal, filed by Dylan Harrell, Colorado Outfitters
                           Association, David Bayne, Colorado Farm Bureau, Women for Concealed
                           Carry, Outdoor Buddies, Inc. All transcripts ordered are now on file as of
                           10/7/2014. ( Appeal No. 14−1290) Text Only Entry (dkals, ) (Entered:
                           10/07/2014)




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


 Civil Action No. _____________

 54 SHERIFFS:
      JOHN B. COOKE, Sheriff of Weld County, Colorado;
      TERRY MAKETA, Sheriff of El Paso County, Colorado;
      JUSTIN SMITH, Sheriff of Larimer County, Colorado;
      DAVID A. WEAVER, Sheriff of Douglas County, Colorado;
      BRUCE W. HARTMAN, Sheriff of Gilpin County, Colorado;
      KEN PUTNAM, Sheriff of Cheyenne County, Colorado;
      DENNIS SPRUELL, Sheriff of Montezuma County, Colorado;
      TIM JANTZ, Sheriff of Moffat County, Colorado;
      JERRY MARTIN, Sheriff of Dolores County, Colorado;
      MIKE ENSMINGER, Sheriff of Teller County, Colorado;
      SHAYNE HEAP, Sheriff of Elbert County, Colorado;
      CHAD DAY, Sheriff of Yuma County, Colorado;
      FRED D. MCKEE, Sheriff of Delta County, Colorado;
      LOU VALLARIO, Sheriff of Garfield County, Colorado;
      FRED HOSSELKUS, Sheriff of Mineral County, Colorado;
      BRETT L. POWELL, Sheriff of Logan County, Colorado;
      JAMES FAULL, Sheriff of Prowers County, Colorado;
      LARRY KUNTZ, Sheriff of Washington County, Colorado;
      BRIAN E. NORTON, Sheriff of Rio Grande County, Colorado;
      DUKE SCHIRARD, Sheriff of La Plata County, Colorado;
      JIM BEICKER, Sheriff of Fremont County, Colorado;
      RONALD BRUCE, Sheriff of Hinsdale County, Colorado;
      CHRIS S. JOHNSON, Sheriff of Otero County, Colorado;
      FRED JOBE, Sheriff of Custer County, Colorado;
      DONALD KRUEGER, Sheriff of Clear Creek County, Colorado;
      JAMES CRONE, Sheriff of Morgan County, Colorado;
      SI WOODRUFF, Sheriff of Rio Blanco County, Colorado;
      TOM RIDNOUR, Sheriff of Kit Carson County, Colorado;
      TOM NESTOR, Sheriff of Lincoln County, Colorado;
      STAN HILKEY, Sheriff of Mesa County, Colorado;
      FORREST FRAZEE, Sheriff of Kiowa County, Colorado;
      RICK DUNLAP, Sheriff of Montrose County, Colorado;
      TED B. MINK, Sheriff of Jefferson County, Colorado;
      DAVE STONG, Sheriff of Alamosa County, Colorado;
      FRED WEGENER, Sheriff of Park County, Colorado;
      BRUCE NEWMAN, Sheriff of Huerfano County, Colorado;
      RANDY PECK, Sheriff of Sedgwick County, Colorado;




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      DOMINIC MATTIVI, JR., Sheriff of Ouray County, Colorado;
      JOHN MINOR, Sheriff of Summit County, Colorado;
      SCOTT FISCHER, Sheriff of Jackson County, Colorado;
      PETER GONZALEZ, Sheriff of Archuleta County, Colorado;
      RICK BESECKER, Sheriff of Gunnison County, Colorado;
      CHARLES “ROB” URBACH , Sheriff of Phillips County, Colorado;
      ROD FENSKE, Sheriff of Lake County, Colorado;
      GRAYSON ROBINSON, Sheriff of Arapahoe County, Colorado;
      DAVID D. CAMPBELL, Sheriff of Baca County, Colorado;
      MIKE NORRIS, Sheriff of Saguache County, Colorado;
      AMOS MEDINA, Sheriff of Costilla County, Colorado;
      MILES CLARK, Sheriff of Crowley County, Colorado;
      DAVID ENCINIAS, Sheriff of Bent County, Colorado;
      SUE KURTZ, Sheriff of San Juan County, Colorado;
      JAMES (JIM) CASIAS, Sheriff of Las Animas County, Colorado;
      GARRETT WIGGINS, Sheriff of Routt County, Colorado;
      DOUGLAS N. DARR , Sheriff of Adams County, Colorado;
 COLORADO OUTFITTERS ASSOCIATION;
 COLORADO FARM BUREAU;
 NATIONAL SHOOTING SPORTS FOUNDATION;
 MAGPUL INDUSTRIES;
 USA LIBERTY ARMS;
 OUTDOOR BUDDIES, INC.;
 WOMEN FOR CONCEALED CARRY;
 COLORADO STATE SHOOTING ASSOCIATION;
 HAMILTON FAMILY ENTERPRISES, INC., d/b/a FAMILY SHOOTING CENTER
 AT CHERRY CREEK STATE PARK;
 DAVID STRUMILLO;
 DAVID BAYNE;
 DYLAN HARRELL;
 ROCKY MOUNTAIN SHOOTERS SUPPLY;
 2ND AMENDMENT GUNSMITH & SHOOTER SUPPLY, LLC;
 BURRUD ARMS INC. D/B/A JENSEN ARMS;
 GREEN MOUNTAIN GUNS;
 JERRY’S OUTDOOR SPORTS;
 GRAND PRIX GUNS;
 SPECIALTY SPORTS & SUPPLY;
 GOODS FOR THE WOODS;

       Plaintiffs,




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 vs.

 JOHN W. HICKENLOOPER, Governor of the State of Colorado,

        Defendant.


       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Peace officers and peaceable citizens join together to bring this action in

 defense of public safety, the Second and Fourteenth Amendments of the

 Constitution of the United States, and the Americans with Disabilities Act.

 Plaintiffs are 54 Colorado elected sheriffs, retired law enforcement officers, disabled

 individuals, civil rights and disability rights organizations, licensed firearms

 dealers, associations of law-abiding gun owners, hunting outfitters, and the

 firearms industry, and a manufacturer of firearm accessories.

                                  I.     OVERVIEW

        1.    On March 20, 2013, Colorado Governor John Hickenlooper signed two

 measures that severely restrict citizens’ rights to own, use, manufacture, sell, or

 transfer firearms and firearms accessories.


                                       HB 1224

        2.    House Bill 13-1224 (“HB 1224”) bans outright all ammunition

 magazines sold or acquired after July 1, 2013 that hold more than 15 rounds of

 ammunition. HB 1224 also bans most other magazines of any size because it

 prohibits smaller magazines that are “designed to be readily converted” to hold

 more than 15 rounds of ammunition.



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       3.     The magazines for most handguns and for many rifles are detachable

 box magazines. The very large majority of magazines contain a removable floor

 plate. The removable floor plate allows the user to clear ammunition jams, clean the

 inside of the magazine, and perform maintenance on the internal mechanics of the

 magazine.

       4.     The fact that a magazine floor plate can be removed inherently creates

 the possibility that the magazine can be extended through commercially available

 extension products or readily fabricated extensions. As a result, nearly every magazine

 can be readily converted to exceed the capacity limit set by HB 1224.

       5.     Some rifles have fixed box magazines, which are permanently attached

 to the rifle. Many of these also have removable floor plates.

       6.     Instead of a box magazine, some rifles have fixed tube magazines,

 which lie underneath the rifle barrel. Many tube magazines have removable end

 caps for cleaning to which extenders can be added. A ban on certain types of fixed

 magazines is necessarily a ban on the rifles to which they are fixed.

       7.     The Appendix to this Complaint contains diagrams showing the parts

 of a detachable box magazine and a fixed tube magazine.

       8.     Magazine capacity can be increased in many other ways, such as

 snipping the spring inside the magazine so that there is more space to accommodate

 additional rounds, using a coupler so that a second box magazine is attached

 (upside down) to the bottom of another, or simply using duct tape instead of a

 coupler.



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       9.     The chief sponsor of HB 1224 and Governor Hickenlooper have both

 publicly confirmed that HB 1224 bans all magazines with removable floor plates.

       10.    By outlawing most box and tube magazines, HB 1224 outlaws an

 essential component of many common firearms. Eighty-two percent of handguns

 and at least one-third of rifles currently manufactured in the United States are

 semi-automatic, which means that most of them store their ammunition in

 detachable box magazines. Rifles which use box or tube magazines are not limited

 to semi-automatics, but also include pump action, bolt action, and lever action rifles.

 (HB 1224 exempts lever action guns which use tube magazines, but not lever action

 guns which use box magazines; the bill also exempts rimfire rifles which use tube

 magazines, but does not exempt such rifles that use box magazines.)

       11.    Thus, the magazine ban amounts to a ban on having a functional,

 operating unit for most handguns and a very large fraction of rifles – a patent

 violation of the Second and Fourteenth Amendments under District of Columbia v.

 Heller, 554 U.S. 570 (2008) and McDonald v. Chicago, 130 S. Ct. 3020 (2010).

       12.    As detailed infra, HB 1224 allows the possession of grandfathered

 magazines only if two separate requirements are satisfied: First, they must be

 owned on July 1, 2013. Second, the owner must maintain “continuous possession” of

 the magazine.

       13.    The requirement for “continuous possession” makes it impossible for

 firearms to be used or shared in ordinary and innocent ways, such as a gun owner

 loaning his or her firearm with the magazine to a spouse, family member, or friend;



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 entrusting it to a gunsmith for repair; a military reservist leaving firearms and

 their associated magazines with a spouse when he or she is called into service away

 from home; or even temporarily handing a firearm with its magazine to a firearms

 safety instructor so that the owner can be shown by the instructor how to better

 grip, aim, or otherwise use the firearm.

       14.    The    requirement    of      “continuous     possession”   prohibits   the

 grandfathered owner from ever allowing anyone to hold or use his firearm if the

 firearm is in a functional state (with a magazine inserted) – an extreme

 infringement of Second Amendment rights.

       15.    In Heller, the Supreme Court adopted a rule enforcing the Second

 Amendment that prohibited the banning of arms “typically possessed by law-

 abiding citizens for lawful purposes.” The ban against all magazines holding more

 than 15 rounds violates this rule. Rifles with magazines larger than 15 rounds are

 so commonplace that many models are supplied in a standard 30-round

 configuration. Indeed, one such rifle is the AR-15 and its many variants, which has

 for years been one of the best-selling types of firearms in the United States and of

 which there are at least four million in the United States today. The number of

 other models of Modern Sporting Rifles is likewise in the millions, which are also

 often sold with magazines holding more than 15 rounds.

       16.    Similarly, many popular handguns are sold with magazines with 16 to

 20-round capacities. Many gun owners own several magazines for each firearm. The




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 number of magazines in the United States which are of the size directly outlawed by

 HB 1224 is in the tens of millions.

       17.       Disabled citizens, whose disabilities often make it difficult to change

 magazines quickly, are acutely harmed by HB 1224. This is a particularly grave

 violation of their Second Amendment rights, especially their right to self-defense in

 the home.

       18.       HB 1224 also violates Title II of the Americans with Disabilities Act

 (“ADA”). Even assuming that HB 1224 is constitutional, all persons with relevant

 disabilities are entitled to an accommodation under the ADA so that they may

 possess and acquire the magazine in the sizes they need.

       19.       The effect of HB 1224’s various provisions is the widespread ban on

 functional firearms. The prohibition of so many box and tube magazines of any size,

 and the prohibition of magazines greater than 15 rounds, directly and gravely harm

 the ability of law-abiding citizens to use firearms for lawful purposes, especially

 self-defense.

                                         HB 1229

       20.       House Bill 13-1229 (“HB 1229”) requires “universal” background

 checks before any sale or transfer of a firearm can occur, with some exceptions.

 HB 1229, even considering the exceptions, prohibits a wide range of common,

 temporary, or permanent transfers or loans of firearms between law-abiding

 citizens in violation of the Second Amendment.




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       21.    As a practical matter, it will be impossible for citizens to comply with

 HB 1229. The bill requires that when one individual sells or loans a firearm to

 another, that “transfer” must be conducted through a Federal Firearms Licensee

 (“FFL,” a licensed gun dealer). The FFL is required to process the transfer as if he

 or she is selling a firearm out of his or her own inventory. HB 1229 allows the FFL

 to charge a fee of no more than $10 for conducting the transfer.

       22.    Many FFLs in Colorado, including FFL Plaintiffs, are unwilling to

 conduct the transfer under such conditions. Accordingly, it will be extremely

 difficult, if not impossible, for many Coloradans to find a FFL to conduct the

 transfers, even if the buyer and seller are both willing and able to drive long

 distances to do so.

       23.    To conduct the transfer pursuant to HB 1229, the FFL must complete

 the same paperwork as if he or she were selling from his or her own inventory. This

 means that for each firearm transferred, a three-page federal form (ATF Form

 4473) must be filled out. Some parts of the form are filled out by the customer, and

 some by the FFL. FFLs are liable for errors on a Form 4473 and subject to license

 revocation and even federal felony charges.

       24.    FFLs must monitor the transferor and transferee for as long as it takes

 to complete the transaction. The “instant check” which is conducted by the Colorado

 Bureau of Investigation often takes hours, and sometimes days, to complete.

       25.    Currently, when FFLs are asked to conduct a background check for a

 firearm, not involving a profitable sale from the FFL’s actual inventory, the fee



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 charged may be $50. A fee cap of $10 will likely result in very few, if any, FFLs

 being willing to perform the services which are necessary for transfers under HB

 1229, making compliance with HB 1229 next to impossible in many private transfer

 situations.

       26.      Moreover, setting aside the myriad problems with compliance with HB

 1229, the scope of HB 1229’s regulation, which impacts a vast array of innocent and

 lawful temporary transfers among friends and members of various hunting and

 shooting organizations, unconstitutionally infringes the Second Amendment rights

 of tens of thousands of Coloradans.

             The Supreme Court’s Landmark Decisions: Heller and McDonald

       27.      There are certain indisputable legal principles announced by the

 United States Supreme Court against which HB 1224 and HB 1229 must be judged.

       28.      Under Heller, the Second Amendment to the United States

 Constitution guarantees the right of individual citizens to keep and bear commonly-

 used firearms for all lawful purposes.

       29.      The individual right to employ commonly-used firearms for self-

 defense is “the central component” of the Second Amendment guarantee.

       30.      An individual’s Second Amendment rights, including the right to self-

 defense, are fundamental rights.

       31.      Under McDonald, the rights protected by the Second Amendment

 apply equally to the states, including Colorado, through the Fourteenth Amendment

 to the United States Constitution.



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       32.     HB 1224 and HB 1229 violate these principles.

                          II.   JURISDICTION AND VENUE

       33.      This Court has jurisdiction over this matter pursuant to 28 U.S.C.

 § 1331 because the claims arise under the Constitution and statutes of the United

 States.

       34.      This Court has jurisdiction to grant the declaratory relief sought

 pursuant to 18 U.S.C. § 2201, and additional relief pursuant to 18 U.S.C. § 2202.

       35.      This Court also has jurisdiction under 28 U.S.C. § 1343(a)(3) and 42

 U.S.C. § 1983 because this action involves a deprivation of federal constitutional

 rights by those acting under color of state law.

       36.      Venue is proper in this district pursuant to 28 U.S.C. § 1391.

                                    III.   PARTIES

 A.    Plaintiffs

       1.     The Sheriffs of 54 Colorado Counties

       37.      Each of the following Sheriffs of 54 Colorado counties (“the Sheriffs”)

 has the primary obligation to obey the Constitution of the United States of America.

 The Sheriffs bring this case pursuant to this primary obligation, which is supreme

 over any other purported enactment.

       38.      John B. Cooke is the Sheriff of Weld County, Colorado.

       39.      Terry Maketa is the Sheriff of El Paso County, Colorado.

       40.      Justin Smith is the Sheriff of Larimer County, Colorado.

       41.      David A. Weaver is the Sheriff of Douglas County, Colorado.

       42.      Bruce W. Hartman is the Sheriff of Gilpin County, Colorado.
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       43.     Ken Putnam is the Sheriff of Cheyenne County, Colorado.

       44.     Dennis Spruell is the Sheriff of Montezuma County, Colorado.

       45.     Tim Jantz is the Sheriff of Moffat County, Colorado.

       46.     Jerry Martin is the Sheriff of Dolores County, Colorado.

       47.     Mike Ensminger is the Sheriff of Teller County, Colorado.

       48.     Shayne Heap is the Sheriff of Elbert County, Colorado.

       49.     Chad Day is the Sheriff of Yuma County, Colorado.

       50.     Fred D. McKee is the Sheriff of Delta County, Colorado.

       51.     Lou Vallario is the Sheriff of Garfield County, Colorado.

       52.     Fred Hosselkus is the Sheriff of Mineral County, Colorado.

       53.     Brett L. Powell is the Sheriff of Logan County, Colorado.

       54.     James Faull is the Sheriff of Prowers County, Colorado.

       55.     Larry Kuntz is the Sheriff of Washington County, Colorado.

       56.     Brian E. Norton is the Sheriff of Rio Grande County, Colorado.

       57.     Duke Schirard is the Sheriff of La Plata County, Colorado.

       58.     Jim Beicker is the Sheriff of Fremont County, Colorado.

       59.     Ronald Bruce is the Sheriff of Hinsdale County, Colorado.

       60.     Chris S. Johnson is the Sheriff of Otero County, Colorado.

       61.     Fred Jobe is the Sheriff of Custer County, Colorado.

       62.     Donald Krueger is the Sheriff of Clear Creek County, Colorado.

       63.     James Crone is the Sheriff of Morgan County, Colorado.

       64.     Si Woodruff is the Sheriff of Rio Blanco County, Colorado.



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       65.     Tom Ridnour is the Sheriff of Kit Carson County, Colorado.

       66.     Tom Nestor is the Sheriff of Lincoln County, Colorado.

       67.     Stan Hilkey is the Sheriff of Mesa County, Colorado.

       68.     Forrest Frazee is the Sheriff of Kiowa County, Colorado.

       69.     Rick Dunlap is the Sheriff of Montrose County, Colorado.

       70.     Ted B. Mink is the Sheriff of Jefferson County, Colorado.

       71.     Dave Stong is the Sheriff of Alamosa County, Colorado.

       72.     Fred Wegener is the Sheriff of Park County, Colorado.

       73.     Bruce Newman is the Sheriff of Huerfano County, Colorado.

       74.     Randy Peck is the Sheriff of Sedgwick County, Colorado.

       75.     Dominic Mattivi, Jr., is the Sheriff of Ouray County, Colorado.

       76.     John Minor is the Sheriff of Summit County, Colorado.

       77.     Scott Fischer is the Sheriff of Jackson County, Colorado.

       78.     Peter Gonzalez is the Sheriff of Archuleta County, Colorado.

       79.     Rick Besecker is the Sheriff of Gunnison County, Colorado.

       80.     Charles “Rob” Urbach is the Sheriff of Phillips County, Colorado.

       81.     Rod Fenske is the Sheriff of Lake County, Colorado.

       82.     Grayson Robinson is the Sheriff of Arapahoe County, Colorado.

       83.     David D. Campbell is the Sheriff of Baca County, Colorado.

       84.     Mike Norris is the Sheriff of Saguache County, Colorado.

       85.     Amos Medina is the Sheriff of Costilla County, Colorado.

       86.     Miles Clark is the Sheriff of Crowley County, Colorado.



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       87.      David Encinias is the Sheriff of Bent County, Colorado.

       88.      Sue Kurtz is the Sheriff of San Juan County, Colorado.

       89.      James (Jim) Casias is the Sheriff of Las Animas County, Colorado.

       90.      Garrett Wiggins is the Sheriff of Routt County, Colorado.

       91.      Douglas N. Darr is the Sheriff of Adams County, Colorado.

       92.      HB 1224 and 1229 violate the Constitution of the United States. The

 Sheriffs cannot enforce a statute that violates the fundamental constitutional rights

 of the citizens of Colorado.

       93.      For reasons detailed supra and infra, HB 1224 and 1229 are utterly

 unenforceable, even if the Sheriffs wished to violate the U.S. Constitution.

       94.      After HB 1229 becomes effective, every citizen of Colorado can legally

 possess a “large capacity” magazine that holds more than 15 rounds so long as they

 owned it prior to the effective date and maintain “continuous possession” of it after

 the effective date. This includes both magazines that hold more than 15 rounds, and

 smaller magazines with removable floor plates or end caps. At least hundreds of

 thousands of Colorado citizens, including the individual Plaintiffs and members of

 Plaintiff associations, will lawfully own hundreds of thousands (or more) of such

 magazines.

       95.      The Sheriffs have limited resources and limited public funds to spend

 on investigations. They cannot expend those resources to conduct investigations

 that would be necessary to monitor compliance with the new magazine restrictions.

 No documentation has ever been required for the retail or private purchase of



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 magazines, making it a practical impossibility for the Sheriffs to determine whether

 one of the many magazines already in existence was obtained after the effective

 date.

         96.    It would be similarly impossible to determine whether a magazine

 was in the “continuous possession” of its owner after July 1, 2013.

         97.    With very few exceptions, magazines manufactured in other states

 are not required to bear date stamps, making it impossible to determine their date

 of manufacture. The Sheriffs will have no means to determine whether a magazine

 possessed by an individual in Colorado was manufactured before or after July 1,

 2013, with the exception of those manufactured in Colorado after July 1, 2013 that

 are required by the bill to bear a date stamp.

         98.    The foregoing presumes that it is clear what the bill prohibits. But

 the Sheriffs’ enforcement obstacles become insurmountable if they must also resolve

 ambiguities in the bill. If the bill does not prohibit every magazine with a removable

 floor plate and end cap, but only those that were intentionally “designed” for the

 purpose of expanding capacity, the Sheriffs are given no tools to make that

 determination. They cannot know the intent of the designer.

         99.    Likewise, each Sheriff will have to determine what constitutes

 “continuous possession,” since the statute provides no guidance. They will have to

 make individual decisions whether continuous possession allows for temporary

 loans to others and, if so, for what duration.




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       100.     In addition to the core infringement on a fundamental right inherent

 in any enforcement of these provisions, the result of the many ambiguities will be

 varying individual decisions and inconsistent enforcement across jurisdictions.

 Effective law enforcement depends on close and supportive relations between the

 public and law enforcement. Unconstitutional, vague laws which are inconsistently

 enforced poison that relationship, and make it significantly more difficult for the

 Sheriffs to receive the witness cooperation, tips, and other forms of public support

 which are necessary to effective law enforcement in a free society.

       101.     Sheriffs have the common law power to request the armed assistance

 of able-bodied adults in their County. This is known as the “posse comitatus.” One

 well-known use of the posse in Colorado was in June 1977, when Pitkin County

 citizens with their own guns responded to a request to help with the search for

 escaped mass murderer Theodore Bundy.

       102.   Sheriffs also have the authority to appoint deputies who are not

 certified peace officers. The “non-certified” deputies may be appointed for a limited

 period of time, or for specific tasks. C.R.S. §§ 16-2.5-103(2); 30-10-506. Particularly

 in rural parts of Colorado, Sheriffs utilize the authority to deputize individuals to

 augment law enforcement efforts in times of disturbances and natural disasters.

       103.   When those Sheriffs deputize, they do not have a cache of firearms to

 issue. Moreover, a person who is deputized in an emergency will be safer and more

 effective using his or her personal firearm, with which he or she is already familiar.




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       104.    HB 1224 seriously impedes the ability of Sheriffs to call upon armed

 citizen assistance during emergencies and natural disasters because it prevents

 citizens from having the types of magazines which the Sheriffs and their ordinary

 deputies have determined to be most effective for the preservation of public safety.

       2.     Colorado Farm Bureau

       105.    Colorado Farm Bureau is a Colorado nonprofit corporation. It was

 founded in 1919 by a group of Colorado farmers, ranchers, veterinarians, rural

 doctors, shopkeepers and tradesmen. The Farm Bureau’s mission includes

 enhancing Colorado’s agricultural industry; promoting, protecting, and representing

 the interests of farmers, ranchers, and their communities; and protecting individual

 freedom and opportunity.

       106.    Colorado     Farm   Bureau’s       membership   now   comprises   23,000

 Coloradans, including Colorado farmers, ranchers, and other Colorado families and

 residents who have an interest in maintaining a strong agricultural industry in this

 State and in promoting and advancing the interests of Colorado farmers and

 ranchers.

       107.    Section (1)(b) of HB 1229 requires that if a transferee of a firearm is

 not a natural person, “then each natural person who is authorized by the transferee

 to possess the firearm after the transfer shall undergo a background check . . .

 before taking possession of the firearm.”

       108.    The vast majority of Colorado farms, including family farms, operate

 as incorporated businesses. Thus, when most Colorado farmers acquire firearms in


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 connection with their farming or ranching operations, they do not acquire them as

 “natural persons.”

       109.        Colorado farmers and ranchers often operate their businesses in

 rural and remote areas of the State. Firearms are a necessity for farming and

 ranching for protecting crops and livestock, as well as for self-defense.

       110.        HB 1229 places substantial burdens on the Second Amendment

 rights of Colorado farmers and ranchers because:

              a.       it will often be very difficult to identify each and every natural

 person associated with the farm or ranch who may possess the firearm;

              b.       it will be very difficult to find FFLs able and willing to perform

 the necessary checks in many, if not most, of the rural areas in which farms and

 ranches are located;

              c.       even when FFLs are available, able, and willing to perform the

 necessary checks, paying a fee for each check for each natural person who may

 possess a firearm places a significant financial burden on the farm or ranch

 acquiring the firearm.

       111.        Setting aside problems with initial acquisitions of firearms, HB 1229

 places an enormous burden on farmers and ranchers to police firearm possession as

 time passes. If farms or ranches do not routinely “audit” new farm and ranch hands,

 they face significant criminal exposure (and being prohibited from owning any

 firearm for at least two years) if a new hand obtains possession without a check




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 being performed first, as well as joint and several civil liability if an accident or

 misuse involving the firearm occurs.

         3.     Firearms Industry Trade Association.

         112.   The National Shooting Sports Foundation (“NSSF”) is a national trade

 association for the firearms, ammunition, and hunting and shooting sports industry

 based in Newtown, Connecticut.

         113.   As a non-profit, tax-exempt corporation, NSSF has a membership of

 over 9,500 federally licensed firearms manufacturers, distributors and retailers;

 companies manufacturing, distributing and selling shooting and hunting related goods and

 services; sportsmen’s organizations; public and private shooting ranges; gun clubs;

 publishers and individuals. More than 300 of these members reside and conduct business

 in Colorado.

         114.   The NSSF’s members in Colorado           provide lawful commerce in

 firearms to law-abiding Coloradans. Each of these members’ business interests and

 livelihoods will be adversely and unconstitutionally affected by HB 1224 and HB

 1229.

         4.     Retired Law Enforcement Officers

         115.    David Strumillo resides in Colorado Springs, Colorado, and is a

 citizen of the United States. Mr. Strumillo served as a police officer in the Parker,

 Colorado Police Department from 1994 through 1999, when he was medically

 retired following an injury in the line of duty.




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         116.    Mr. Strumillo is authorized to carry a concealed firearm in all states

 and U.S. territories pursuant to the Law Enforcement Officers Safety Act, 18 U.S.C.

 § 926B, 926C. In order to comply with federal law, Mr. Strumillo is required to re-

 qualify each year using the firearms he carries.

         117.    Mr. Strumillo also carries firearms for his personal safety to respond

 to threats made against himself and his family. The firearms Mr. Strumillo carries

 use magazines larger than 15 rounds. The members of the Plaintiff Associations

 also include retired law enforcement officers.

         5.     Disabled Citizens

         118.    David Bayne is a resident of Thornton, Colorado, and a citizen of the

 United States. Mr. Bayne is paralyzed from the chest down and confined to a

 wheelchair. He holds a concealed carry permit issued by the Adams County Sheriff’s

 Office, which is valid in the State of Colorado. He owns several firearms, several of

 which accept magazines capable of holding more than 15 rounds. Mr. Bayne uses

 these firearms for target shooting, shooting competitions, and the defense of his

 home.

         119.    Dylan Harrell is a resident of Frederick, Colorado, and a citizen of

 the United States. Mr. Harrell is paralyzed from the chest down and confined to a

 wheelchair. He holds a concealed carry permit issued by the Adams County Sheriff’s

 Office, which is valid in the State of Colorado. He owns several firearms which will

 accept magazines capable of holding more than 15 rounds. He uses these firearms

 for hunting, target shooting, and defense of his home.


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       120.    Messrs. Bayne and Harrell (“the Disabled Plaintiffs”) are deprived of

 their fundamental right of self-defense in multiple ways.

       121.    First, because firearms that use magazines larger than 15 rounds

 and those with removable floor plates or end caps are in common use, their Second

 Amendment right to self-defense pursuant to Heller is violated regardless of any

 disability because they may be unable to purchase replacement magazines of any

 size, and particularly of the standard 30-round size, which are essential to a

 disabled person.

       122.    Second, disabilities make it difficult to quickly change magazines

 under the stress of a home invasion. For example, Plaintiff Dylan Harrell is

 wheelchair bound and has two small children in his home. The wheelchair limits

 Mr. Harrell’s mobility and severely restricts his ability to quickly place himself in

 the best position to repel a home invasion, as well as his ability to place himself

 behind barriers or use objects in his home as a means to steady his firearm. Thus,

 he is even more dependent on immediate firearms defense than able-bodied people,

 who might be able to flee the house or buy time by running to another room. The

 limits on Mr. Harrell’s ability to quickly re-position himself also severely limit his

 ability to retreat quickly and effectively in order to allow him the time necessary to

 change magazines. Eliminating his ability to use magazines with a capacity larger

 than 15 rounds has a corresponding impact on his ability to exercise his

 constitutional right to defend himself, his home, and his children.




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       123.     Like Mr. Harrell, Plaintiff David Bayne is confined to a wheelchair

 and faces the same challenges. Mr. Bayne has limited ability to retreat or re-

 position himself effectively or safely during a home invasion in order to most

 effectively aim and discharge his firearm, or to safely change magazines.

       124.     If the ban on smaller magazines that can be readily converted is not

 a total prohibition, but applies only after a determination of the intent of the

 designer, the Disabled Plaintiffs have no ability to resolve that ambiguity and

 cannot discern what magazines are allowed and what magazines may subject them

 to criminal penalties.

       6.     Licensed Firearms Dealers

       125.     USA Liberty Arms is a Colorado corporation with its principal place

 of business in Fort Collins, Colorado.

       126.     Rocky Mountain Shooters Supply is a Colorado corporation with its

 principal place of business in Fort Collins, Colorado.

       127.     2nd   Amendment      Gunsmith     &   Shooter      Supply,   LLC    (“2nd

 Amendment”), is a Colorado corporation with its principal place of business in

 Loveland, Colorado. 2nd Amendment has expended significant resources on

 inventory in firearms and magazines that will be rendered illegal on July 1, 2013.

 2nd Amendment will suffer significant losses in its overall sales if it cannot sell

 firearms or magazines over 15 rounds or with removable floor plates or end caps if

 HB 1224 becomes effective.




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       128.     Burrud Arms Inc. d/b/a Jensen Arms is a Colorado corporation with

 its principal place of business in Loveland, Colorado. Jensen Arms is a retail

 firearms dealer in business since 1994 that serves customers throughout much of

 Colorado. To serve its customers, Jensen Arms has invested millions of dollars in

 magazines and firearms inventory that utilizes magazines that will be prohibited

 under HB 1224. Customers have already expressed confusion about what

 magazines will be legal, and Jensen Arms will suffer significant losses in sales.

       129.     Green Mountain Guns is a Colorado corporation with its principal

 place of business in Lakewood, Colorado. Green Mountain Guns has been in

 business for 35 years, and will lose approximately $2 million in sales after HB 1224

 becomes effective because the majority of firearms and magazines that it sells will

 be rendered illegal on July 1, 2013, including many smaller magazines that have

 removable floor plates or end caps.

       130.     Smith & Wesson has already informed Green Mountain Guns that it

 will no longer ship merchandise to Green Mountain Guns because of the

 uncertainty caused by HB 1224 and confusion about what firearms and firearm

 accessories will be illegal after HB 1224 goes into effect.

       131.     Jerry’s Outdoor Sports is a Colorado corporation with its principal

 place of business in Grand Junction, Colorado. Jerry’s Outdoor Sports has been in

 business for 28 years, and will lose the majority of its sales if HB 1224 becomes

 effective because the majority of firearms and magazines that it sells will be




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 rendered illegal on July 1, 2013, including many smaller magazines that have

 removable floor plates or end caps.

       132.     Grand Prix Guns is a Colorado corporation with its principal place of

 business in Littleton, Colorado. Grand Prix Guns anticipates that it may suffer as

 much as an 80% loss in revenue if HB 1224 renders the majority of the firearms and

 magazines it sells illegal.

       133.     Specialty Sports & Supply is a Colorado corporation with its principal

 place of business in Colorado Springs, Colorado. Specialty Sports & Supply

 anticipates that it will lose more than $1 million annually in firearms sales. The

 store currently has 4,000 to 5,000 magazines in stock which it will not be able to sell

 after July 1, 2013, and it will be unable to order and sell additional supplies.

       134.     Goods for the Woods is a Colorado corporation with its principal place

 of business in Durango, Colorado. Goods for the Woods has a current inventory of

 firearms and magazines that will be rendered illegal as of July 1, 2013, and it will

 also be unable to sell existing and future orders, significantly reducing revenue.

       135.     The Plaintiff firearms dealers have invested significant money in

 existing inventories of firearms with standard magazines larger than 15 rounds and

 in magazines of all sizes with removable floor plates and end caps. That investment

 will be lost without compensation if that inventory cannot be sold. In some cases,

 the continued existence of the business may be threatened.

       136.     The licensed dealers face the same conundrum as all Plaintiffs if they

 are forced to guess at the unknown intent of designers of smaller magazines, and



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 are subject to the whims of local law enforcement as they try to enforce an

 ambiguous statute.

       137.    In addition, in light of the fee caps described in Paragraph 21 above,

 each of the Licensed Firearms Dealers will be unwilling or financially unable to

 provide the services necessary for transfers under HB 1229, making compliance

 with HB 1229 impossible in many private transfer situations.

       7.     Shooting Association and Shooting Ranges and Clubs

       138.    The Colorado State Shooting Association (“CSSA”) is the oldest

 statewide shooting and firearms organization in Colorado, established in 1926.

       139.     CSSA has nearly 1,500 individual dues-paying members, and over

 20 business and club members that collectively add more than 20,000 associated

 members. These members include hunters, competitive shooters, recreational

 shooters, firearms instructors, active and retired law enforcement officers, crime

 prevention advocates, firearms and equipment dealers and wholesalers, and people

 interested in preserving Second Amendment rights. The membership includes many

 who have physical disabilities.

       140.    Many CSSA members own and use firearms with a capacity

 exceeding 15 rounds, and many of the CSSA sanctioned events require the use of

 such firearms. Many CSSA members also own magazines (and associated firearms)

 with removable floor plates or end caps.

       141.    The CSSA provides shooting opportunities for law-abiding Colorado

 residents by uniting shooters, hunters, sportsmen and collectors, as well as all other


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 types of law-abiding firearms enthusiasts, to promote the safe and responsible use

 of firearms.

       142.     CSSA promotes the development of shooting sports and related

 facilities and speaks on behalf of its membership to defend shooting sports, hunting

 rights, and firearms ownership.

       143.     CSSA also promotes and organizes firearms safety programs and

 hunter safety education, supports the training of NRA-certified firearms

 instructors, and organizes and supports state regional competitive matches.

       144.     CSSA is the official NRA-delegated sanctioning body for all state and

 regional competitive firearms matches in Colorado, and CSSA membership is

 required for Colorado shooters to participate in any such matches. CSSA is also the

 official state association for the Civilian Marksmanship Program, a congressionally-

 created program that fosters firearms marksmanship through competitive matches

 and clinics.

       145.     The members of the Colorado State Shooting Association engage in

 every form of lawful activity with firearms and magazines, including each and every

 activity mentioned in this Complaint.

       146.     Hamilton Family Enterprises, Inc. d/b/a Family Shooting Center at

 Cherry Creek State Park (“FSC”) is a Colorado corporation that is designated as the

 Cherry Creek State Park concessionaire for operating recreational shooting

 facilities located at the Cherry Creek State Park in Arapahoe County, Colorado.




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         147.   FSC is a multi-discipline shooting facility covering approximately 120

 acres of Cherry Creek State Park and includes a rifle range, a pistol range, a law-

 enforcement range, a sporting clays and five-stand range, a trap range using both

 electric and hand launching stations, a shotgun patterning board, and an archery

 range. FSC is currently adding a “move-and-shoot” pistol range which will double

 the number of pistol shooting positions available to the public.

         148.   FSC is the largest public outdoor shooting facility on the Front Range

 in Colorado. The usage of these facilities has increased each year since FSC began

 concession operations in 2004, and over 64,000 shooters used the facilities at FSC in

 2012.

         149.   In addition to the operation, supervision and maintenance of the

 shooting facilities at Cherry Creek State Park, FSC also makes available for use by

 qualified members of the public firearms that are equipped with standard

 magazines having capacities of more than 15 rounds or are equipped with smaller

 magazines that are readily convertible to more than 15 rounds.

         150.   Moreover, FSC sells firearms equipment and accessories, which

 include magazines with capacities exceeding 15 rounds or are otherwise readily-

 covertible to more than 15 rounds.

         151.   Approximately fifty percent of FSC’s gross revenue currently derives

 from the sale of firearms equipment, accessories, and ammunition.

         152.   FSC’s patrons have already expressed concerns over the impact that

 HB 1224 and HB 1229 will have on their ability to legally utilize FSC’s facilities or



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 purchase goods and equipment from FSC, and many have signified their intent that

 they will not return to FSC after July 1, 2013 for fear of running afoul of the new

 laws. Thus, both proposed laws have already adversely impacted FSC’s business

 and income and will continue to do so in the future.

         153.    Approximately six percent of all of FSC’s revenue, not including

 Colorado sales taxes, are remitted to the State and Colorado’s state park system.

 The significant and inevitable decline in revenue that will result from the

 implementation of HB 1224 and HB 1229 will significantly impact the already

 handicapped budget of Colorado’s state park system.

         8.     Firearms Accessories Manufacturer

         154.    Plaintiff Magpul Industries is a Colorado corporation founded in 1999

 with its principal place of business in Erie, Colorado. Magpul manufactures and

 sells a wide variety of firearms accessories, including firearm magazines in a

 variety of sizes.

         155.    Magpul has approximately 200 employees in Colorado, and

 approximately 90% of its magazine suppliers are located in Colorado. Magpul will

 be unable to distribute magazines with capacities more than 15 rounds to its

 network of Colorado retailers and faces uncertainly as to whether it can continue to

 distribute any magazines to Colorado retailers based on the vague provisions of HB

 1224.

         156.    Magpul manufactures magazines in 10, 20, and 30 round sizes for

 sale to the public. Magpul has existing commitments to sell magazines through its


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 distribution network to retailers in Colorado. Magpul may have to modify those

 commitments for magazines larger than 15 rounds, and lose the value of those

 sales.

          157.    For magazines smaller than 15 rounds, Magpul faces the same

 uncertainty as all of the Plaintiffs in determining which, if any, magazines with a

 removable floor plate can be sold. If all smaller magazines with removable floor

 plates are banned by HB 1224, then Magpul effectively cannot sell any magazines

 in Colorado.

          158.    If the prohibition of smaller magazines is resolved only by law

 enforcement’s interpretation of each designer’s intent, Magpul cannot predict how

 each of the Colorado law enforcement jurisdictions will resolve the ambiguity in the

 statute, and faces the uncertain prospect of criminal prosecution in jurisdictions

 that interpret the statute as a complete ban on magazines with a removable floor

 plate.

          9.     Nonprofit Representing Disabled Outdoor Enthusiasts

          159.   Outdoor Buddies, Inc. (“Outdoor Buddies”), which was founded in

 1984, is an all-volunteer non-profit organization based in Colorado. Its mission is to

 provide opportunities to enjoy the outdoors to those who have been deprived of it,

 regardless of race, creed, religion, or sex, and with no fees to the participant.

 Outdoor experiences provided through Outdoor Buddies include hunting, target

 shooting, fishing, boating, camping, and education in the use of the outdoors for

 recreational activities.


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       160.    There are approximately 760 individual members of Outdoor Buddies.

 Approximately two-thirds of the membership is composed of mobility-disabled

 members of the community who need special assistance to experience the outdoors.

 Approximately one-third of the membership is composed of able-bodied members of

 the community who serve as volunteers. The membership includes many wounded

 warriors and other disabled veterans from World War II through the most recent

 military conflicts in Iraq and Afghanistan.

       161.   The Disabled Plaintiffs, David Bayne and Dylan Harrell, are members

 of Outdoor Buddies.

       10.    Nonprofit Representing Colorado’s Outfitters

       162.   The Colorado Outfitters Association is an organization dedicated to

 improving the Colorado outfitting industry’s standards and the quality of services

 provided by professional outfitters in Colorado. The Association represents

 approximately 790 professional hunting, fishing, and camping outfitters and guides

 based in Colorado. Colorado’s outfitters are registered, bonded, and insured to

 operate in Colorado and have permits to operate on public lands. The Association

 represents Colorado’s outfitters in a wide range of policy areas affecting Colorado

 outfitters and their clients.

       163.   The chilling effect of the potential legal perils for non-resident hunters

 caused by HB 1224 and 1229 has led many non-resident hunters to shun Colorado,

 which will cost the outfitters, local businesses which cater to hunters (e.g.,

 restaurants and stores), the State, and various local taxing jurisdictions tens of


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 millions of dollars in the next few years. Moreover, HB 1229’s requirements for

 background checks for transfers could significantly impact the ability of outfitters

 and their clients to share weapons in the field given the narrowness of HB 1229’s

 exceptions and the unavailability of FFL’s to perform the necessary background

 checks.

       11.    Nonprofit Representing Women’s Right to Self-Defense

       164.   Women for Concealed Carry is a 26 U.S.C. § 501(c)(4) nonprofit

 organization registered in the State of Colorado. Women for Concealed Carry

 supports women’s rights to effective self-defense against physical harm by

 protecting women’s rights to carry concealed firearms, and the organization

 conducts outreach and education to support policies that defend that right.

 Members of the organization use and carry magazines which would be banned

 under HB 1224.

 B.    Defendant

       165.     Defendant John Hickenlooper is the Governor of the State of

 Colorado, and is required to ensure that all laws of the state are faithfully executed.

 COLO. CONST. art. IV § 2. As Colorado’s Chief Executive, Governor Hickenlooper is

 the proper defendant to actions to enjoin or invalidate a state statute.

 Developmental Pathways v. Ritter, 178 P.3d 524, 529 (Colo. 2008).




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                IV.   ADDITIONAL SUPPORT FOR ALLEGATIONS

 A.    The Restrictions on Firearms Use in the Bills Is Greater Than That Already
       Determined to Violate the Second Amendment

       166.   The effects of these bills on commonly-used firearms are far more

 overreaching than laws in other locations that have already been determined to be

 unconstitutional. In District of Columbia v. Heller, the Supreme Court addressed a

 prohibition on the possession of handguns in the District of Columbia.

       167.   Significantly for this case, the Heller Court concluded that the

 “inherent right of self-defense has been central to the Second Amendment right.”

 554 U.S. at 628.

       168.   The individual right to keep and bear arms and to use those arms for

 self-defense extends to all firearms that are “in common use at the time.” Id. at 627.

 The Court emphasized that the Second Amendment does protect firearms which are

 “typically possessed by law-abiding citizens for lawful purposes.” Firearms which do

 not meet this standard may be banned if they are “dangerous and unusual

 weapons.” The paradigmatic examples of the latter category are sawed-off shotguns

 and machine guns. Id. at 625, 627.

       169.   The Court noted that like all constitutional rights, the Second

 Amendment is not absolute in every respect. The Court described three particular

 types of gun controls as “presumptively constitutional”: First, the long-standing

 prohibitions against possession of firearms by felons and the mentally ill. Second,

 laws forbidding the carrying of firearms in “sensitive places such as schools and




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 government buildings.” Third, “laws imposing conditions and qualifications on the

 commercial sale of firearms.” Id. at 626-27 (emphasis added).

          170.   HB 1224 and 1229 do not fit within any of the “presumptively

 constitutional” gun control categories described by the Heller Court. The bills do not

 amend Colorado’s long-standing laws forbidding gun possession by various

 categories of persons who have proven themselves to be dangerous. They do not

 affect the carrying of guns in “sensitive places.” They do not set “conditions or

 qualifications” on the “commercial sale” of arms. HB 1229 applies only to non-

 commercial transfers, and to short term-transfers which do not involve any type of

 sale.

          171.   In McDonald v. Chicago, the Supreme Court addressed a ban similar

 to that in Heller that was in place in Chicago and the suburb of Oak Park. The

 McDonald Court held that the Second Amendment right enunciated in Heller

 applies with equal force to the States through the Fourteenth Amendment.

          172.   The McDonald Court reiterated that the right to self-defense is “deeply

 rooted in this nation’s history and tradition,” and that the “ratifiers of the

 Fourteenth Amendment counted the right to keep and bear arms among those

 fundamental rights necessary to our system of ordered liberty.” 130 S. Ct. at 3036,

 3042. The McDonald Court reiterated the holding in Heller that “the Second

 Amendment protects a personal right to keep and bear arms for lawful purposes,

 most notably for self-defense within the home,” and held that “the Fourteenth




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 Amendment incorporates the Second Amendment right recognized in Heller.” Id. at

 3044, 3050.

       173.    By outlawing the larger and smaller magazines which are necessary

 components of the large majority of handguns and of a very large number of rifles,

 HB 1224 is a gun ban even more sweeping than the handgun-only ban which was

 ruled unconstitutional in Heller.

       174.    The Heller Court pointed out that the D.C. handgun ban was “a

 prohibition of an entire class of ‘arms’ that is overwhelmingly chosen by American

 society for that lawful purpose” of self-defense. 554 U.S. at 628. The prohibition was

 so facially unconstitutional that the Heller Court found it unnecessary to use the

 traditional three-tiered system of scrutiny. Responding to Justice Breyer’s attempt

 to apply a balancing test to the D.C. ban, the Heller Court stated that the handgun

 ban failed “any of the standards of scrutiny the Court has applied to enumerated

 constitutional rights.” 554 U.S. at 571. Thus, the handgun ban would have failed

 both strict scrutiny and intermediate scrutiny, and the result was so obvious that

 the Heller Court did not need to discuss the prongs of the two tests.

       175.    The HB 1224 ban on most handguns and many rifles (accomplished by

 banning the large majority of magazines) is thus even more obviously

 unconstitutional.

       176.    Magazines of 16-20 rounds for handguns, and 16-30 rounds for rifles,

 easily satisfy the “common use” and “typically possessed” standards in Heller.

 Under Heller, their prohibition is thus per se unconstitutional. The Constitution is



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 clear, and the balancing has already been done by the enactment of the Second and

 Fourteenth Amendments themselves. Firearms and accessories which are typically

 owned by law-abiding citizens for lawful purposes may not be prohibited.

       177.   Even if it were proper to apply strict or intermediate scrutiny (which it

 is not), the fact that a handgun ban cannot even pass intermediate scrutiny resolves

 the instant case. Handguns are used in the majority of homicides in the United

 States, and in over two hundred thousand violent crimes annually. The number of

 crimes (including multiple victim homicides) in which handguns are used dwarfs

 the number of such crimes involving magazines that hold more than 15 rounds.

 Because a handgun ban cannot survive intermediate scrutiny, the HB 1224

 magazine ban cannot survive strict scrutiny.

       178.   The banned magazines and associated firearms are also lawful in

 Colorado for hunting. While many states specify no magazine limitations for

 hunting, Colorado is among the group that has some limitations. These are as

 follows: Rifles or handguns of any type for small game, no limit; centerfire semi-

 automatic rifles for big game, six rounds; centerfire rifles of other types (e.g., bolt

 action, pump action, lever action) for big game, no limit; handguns for big game, no

 limit; shotguns for migratory bird hunting, three rounds – otherwise, no limit.

       179.   Regardless of limits while in the field, hunters at their hunting camp

 in isolated areas, or who are driving to or from a hunting trip, may wish to have a

 fully functioning defensive firearm with a fully loaded magazine. This defensive

 arm might be their hunting gun, or it might be another firearm.



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       180.   In certain types of big game hunting (e.g., elk or deer) it would be rare

 for a hunter to get more than two shots at an animal. In other types of hunting (e.g.,

 prairie dogs or a pack of coyotes) a significant number of consecutive shots at

 different animals in a group would be common. When Colorado hunters take their

 guns and magazines to go hunting in other states (as many Plaintiffs do, especially

 the members of the Colorado Outfitters Association and the members of the

 Colorado State Shooting Association), hunters may fire a significant number of

 quick shots at game such as wild boars, which are notoriously hardy and ferocious.

 Even the big game hunter who only plans one or two shots for the trophy deer may

 want a firearm with larger capacity in case of attack by bears, mountain lions, other

 large predators, or criminals.

       181.   The   requirement    of   “continuous   possession”   for   grandfathered

 magazines prevents owners of affected firearms from engaging in safety training,

 repair, temporary loans for sporting purposes, and temporary loans for lawful self-

 defense. This self-defense prohibition flatly contradicts Heller and McDonald.

       182.   The ban on repair and the crippling of defensive instruction violates

 McDonald, which quoted with approval the Tennessee case of Andrews v. State, 50

 Tenn. 165 (1871), which in turn affirmed that the right to keep and bear arms

 includes the right to have firearms repaired and to practice their safe use. A law

 which impedes safe instruction and practice in the use of firearms (as HB 1224 and

 HB 1229 do) is subject to a heightened level of scrutiny which the Defendant cannot

 meet in this case. See Ezell v. Chicago, 651 F.3d 684, 708 (7th Cir. 2011) (enjoining



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 municipal ban on gun ranges, the use of which are ancillary to the exercise of core

 Second Amendment rights).

       183.   HB 1224 is facially unconstitutional as a ban on common arms and

 accessories and as a ban on temporary transfers for self-defense.

       184.   Putting aside the facial unconstitutionality, if heightened scrutiny

 were to be applied, HB 1224 does not serve any legitimate governmental purpose,

 let alone the “important” or “compelling” purpose which is necessary under

 heightened scrutiny. To the contrary, the chief House sponsor and the chief Senate

 sponsor of HB 1224 both stated, repeatedly, that the “only” purpose of magazines of

 more than 15 rounds was to kill a large number of people quickly. The fact that tens

 of millions of such magazines are owned by peaceable citizens – and that such

 magazines are chosen by many of the Plaintiff Sheriffs and their Deputies for

 saving lives and for the lawful defense of self and others – demonstrates beyond any

 doubt the falsity of the sponsors’ assertions.

       185.   Based on the statements of the sponsors themselves, HB 1224 is the

 product of animus – the invidious prejudice that is the quintessence of an

 illegitimate purpose. Romer v. Evans, 517 U.S. 620 (1996); Lawrence v. Texas, 539

 U.S. 558 (2003).

       186.   HB 1224’s ban on the very magazines which a vast number of Sheriffs,

 other law enforcement, and law-abiding citizens choose as the best tools for the

 lawful defense of self and others substantially harms public safety. The ban is




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 therefore the opposite of a “necessary” or “substantial” relation to enhancing public

 safety.

       187.     HB 1229 is unconstitutionally overbroad. The 1971 Colorado Supreme

 Court case City of Lakewood v. Pillow, 501 P.2d 744 (Colo. 1972), addressed a

 similarly sweeping gun control ordinance. Citing United States Supreme Court

 precedent, the Pillow Court held that a law is unconstitutional if there are

 “activities . . . entirely free of any criminal culpability yet the ordinance in question

 effectively includes them within its prohibitions.” 501 P.2d at 745 (citing

 Shuttlesworth v. Birmingham, 382 U.S. 87 (1965); Winters v. New York, 333 U.S.

 507 (1948)).

       188.     Under Pillow: “A governmental purpose to control or prevent certain

 activities, which may be constitutionally subject to state or municipal regulation

 under the police power, may not be achieved by means which sweep unnecessarily

 broadly and thereby invade the area of protected freedoms.” Id. at 745 (citing

 Zwickler v. Koota, 389 U.S. 241 (1967); Aptheker v. Secretary of State, 378 U.S. 500

 (1963); NAACP v. Alabama, 377 U.S. 288 (1964)).

       189.     Moreover: “Even though the governmental purpose may be legitimate

 and substantial, that purpose cannot be pursued by means that broadly stifle

 fundamental personal liberties when the end can be more narrowly achieved.” Id.

 (citing Aptheker, 378 U.S. 500; Shelton v. Tucker, 364 U.S. 479 (1960)).

       190.     Pillow has been followed by several other courts, including in cases

 analyzing excessively intrusive gun control statutes. E.g., Benjamin v. Bailey, 662



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 A.2d 1226, 1234 (Conn. 1995); Junction City v. Mevis, 601 P.2d 1145, 1150 (Kan.

 1979); State ex rel. City of Princeton v. Buckner, 377 S.E.2d 139, 143 (W. Va. 1988).

       191.   If strict or intermediate scrutiny are applicable, Defendant must prove

 that HB 1224 and 1229 are “necessary” or have a “substantial” relation to a

 “compelling” or “important” government purpose. HB 1229, which in practice may

 be nearly impossible to comply with, has no necessary or substantial relation to

 anything. It bans temporary transfers for replacement guns for people whose guns

 are being repaired for a week at the gunsmith, for hunters who go on a trip of more

 than 72 hours, for some persons who are being instructed in gun safety, and for

 some other persons who temporarily need guns for self-defense. This ban harms

 public safety rather than furthering it.

       192.   Sections 2-7 of HB 1229 contain various provisions for providing

 existing data to the FBI’s National Instant Criminal Background Check System,

 and revisions of related laws. Section 2-7 is severable from Section 1 of HB 1229,

 which discusses private temporary transfers and private sales. Section 1 is void in

 toto. To be even arguably constitutional, Section 1 of HB 1229 would have to contain

 temporary transfer exceptions which were deliberately excluded from the bill and

 would also have to set up a functional system of background checks for private sales

 which private individuals could reasonably use. Such language might be created by

 the legislature, but cannot be created by a court. A law covering the same subject as

 Section 1 of HB 1229 might be constitutional in some applications, but Section 1 of

 HB 1229 as written is unconstitutional.



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 B.    The Bills Are Unconstitutionally Vague

       193.   The Due Process Clause of the Fourteenth Amendment prohibits

 statutes that are so vague that ordinary persons cannot readily determine whether

 their conduct might expose them to criminal penalties.

       194.   The long-established rule is that “the terms of a penal statue creating

 a new offense must be sufficiently explicit to inform those who are subject to it what

 conduct on their part will render them liable to its penalties is a well-recognized

 requirement . . . and a statute which either forbids or requires the doing of an act in

 terms so vague that men of common intelligence must necessarily guess at its

 meaning and differ as to its application violates the first essential of due process of

 law.” Connally v. General Const. Co., 269 U.S. 385, 391 (1926). What conduct is

 lawful cannot be left to conjecture. “The crime, and the elements constituting it,

 must be so clearly expressed that the ordinary person can intelligently choose, in

 advance, what course it is lawful for him to pursue.” Id. at 393.

       195.   A statute is also unconstitutionally vague if it may result in arbitrary

 enforcement based on the personal predilections of individual law enforcement

 officers or jurisdictions. Vague statutes are subject to particularly rigorous scrutiny

 when they impact the exercise of constitutional rights.

       196.   The “continuous possession” and “designed to be readily convertible”

 provisions of HB 1224 are both vague, and both severable.

       197.   Any contention that HB 1224’s ban on all magazines “designed to be

 readily converted” somehow does not prohibit smaller magazines with a removable

 floor plate or end cap only highlights the defects in the bill. HB 1224 provides no
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 definition of “readily converted,” and the fact is that the large majority of

 magazines can be converted to hold more than 15 rounds.

       198.   Conversions     to   magazines    using    aftermarket       extenders   are

 particularly easy to accomplish. Ordinary gun owners cannot be expected to monitor

 the vast world of aftermarket products in order to know whether an extender is

 currently commercially available for their magazines.

       199.   If the “designed to be readily converted” language does not mean what

 the sponsor and the Governor said it did (a ban on all magazines with removable

 floor plates), the language is unconstitutionally vague. If the ban is somehow

 limited by the intent behind how the magazine was “designed,” then HB 1224 is

 unconstitutionally vague because citizens have no means to discern how a product

 was designed. Neither gun owners nor licensed firearms dealers nor law

 enforcement officers have a clear guide as to which small magazines are legal and

 which are not, and local law enforcement interpretations will inevitably vary.

       200.   HB   1224’s    unconstitutional   requirement    that    a    grandfathered

 magazine be in “continuous possession” of the owner mirrors similar language in

 HB 1229. Both bills had the same House of Representatives sponsor. HB 1229

 exempts from the background check requirement “(g) any temporary transfer that

 occurs while in the continuous presence of the owner of the firearm.” Obviously, this

 means that the owner of the firearm must be present at all times in the exact place

 where the transferee is holding the gun. The requirement of “continuous presence”

 would obviously not be satisfied if the owner left for half an hour or for a few days.



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 Accordingly, “continuous possession” is likewise broken if it is interrupted for half

 an hour or for a few days.

       201.   For the reasons stated in paragraphs 13-14, this is a direct violation of

 the Second Amendment. If any argument is offered that “continuous possession”

 means something else, the argument demonstrates that “continuous possession” is

 void for vagueness.

       202.   Governor Hickenlooper, when signing HB 1224 and 1229, promised

 that “guidance” would be created for their implementation. Such “guidance” is not

 legally binding on all state and local law enforcement officers and prosecutors

 throughout Colorado. Nor can there be any assurance that “guidance” which is

 written in one year will not be changed in a future year. To the extent that the

 guidance suggests that law enforcement refrain from enforcing the actual statutory

 language of HB 1224 and 1229 in certain situations, the guidance would amount to

 an admission that the actual text of those bills is an unconstitutional infringement

 of Second or Fourteenth Amendment rights.

                              FIRST CLAIM FOR RELIEF

      (HB 13-1224 – Violation of Second and Fourteenth Amendments Based on
                Prohibition of Magazines Larger Than 15 Rounds)

       203.   Paragraphs 1 through 202 are re-alleged and incorporated herein.

       204.   HB 1224 was signed by Governor Hickenlooper on March 20, 2013. It

 explicitly prohibits all magazines with a capacity of larger than 15 rounds that are

 bought, sold or transferred after July 1, 2013.




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       205.   Many common and popular firearms come standard with magazines

 with a capacity larger than 15 rounds.

       206.   Firearms with magazines larger than 15 rounds are in common use for

 exercising the fundamental right of self-defense, the “central component” of

 Plaintiffs’ Second Amendment rights.

       207.   Disabled persons, including the Disabled Plaintiffs, are at a particular

 disadvantage in exercising their right of self-defense because their physical

 infirmities or confinement to a wheelchair means they can less effectively defend

 themselves or their families with fewer available rounds of ammunition, and are

 unable to quickly and safely change magazines.

       208.   Firearms with magazines larger than 15 rounds are commonly used for

 other lawful purposes, including sport shooting and target shooting.

       209.   Plaintiffs will be unable to legally replace magazines that they owned

 prior to the effective date of HB 1224, as those magazines wear out, break, or are

 damaged.

       210.   The Plaintiffs Federal Firearm Licensees and Magpul will be unable to

 sell many popular magazines or sell firearms in their standard configuration as

 supplied by the manufacturers.

       211.   Prohibition on a class of firearms or their accessories that are in

 common use for self-defense and other lawful purposes is specifically prohibited by

 the Second Amendment pursuant to Heller, and the incorporation of the Second

 Amendment right into the Fourteenth Amendment under McDonald.



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                             SECOND CLAIM FOR RELIEF

      (HB 13-1224 – Violation of Second and Fourteenth Amendments Based on
           Prohibition of Magazines “Designed to Be Readily Converted”)

       212.   Paragraphs 1 through 211 are re-alleged and incorporated herein.

       213.   In addition to the explicit prohibition on all magazines larger than

 15 rounds, HB 1224 prohibits magazines of any size that are “designed to be readily

 converted” to hold more than 15 rounds.

       214.   Most magazines 15 rounds or smaller are manufactured with a

 removable floor plate (box magazines) or end cap (tube magazines) to facilitate

 maintenance and cleaning.

       215.   Magazines with a removable floor plate or end cap can be readily

 converted to hold more than 15 rounds. Even box magazines whose floor plate

 cannot be removed can be converted to hold more than 15 rounds, simply by duct

 taping two such magazines end to end.

       216.   HB 1224 bans magazines regardless of whether they actually have

 been converted to hold more than 15 rounds. A ten-round magazine is prohibited by

 HB 1224 even when it is used only by itself.

       217.   Tens of millions of rifles and handguns in common use for self-defense

 and other lawful purposes use magazines of various sizes that contain removable

 floor plates or end caps.

       218.   Many common rifles and handguns will be rendered effectively useless

 by the magazine prohibition. Replacing a magazine after the effective date of the


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 statue will be prohibited, even where an individual wishes to change to a smaller

 magazine. Especially for firearms that are not in current production, it may be

 impossible for citizens to obtain a replacement magazine that complies with HB

 1224.

         219.   The prohibition on most magazines puts disabled individuals,

 including the Disabled Plaintiffs, at particular risk because they will have far less

 ability to meaningfully defend themselves and their families, and far fewer firearms

 from which to choose.

         220.   A ban on the possession of a broad class of functional firearms, as

 specifically addressed by the Supreme Court in Heller, violates the Second

 Amendment as incorporated in the Fourteenth Amendment.

                             THIRD CLAIM FOR RELIEF

  (HB 12-1224 – Violation of Fourteenth Amendment Right to Due Process Based on
        Ambiguity of Language Regarding Magazines 15 Rounds or Smaller)

         221.   Paragraphs 1 through 220 are re-alleged and incorporated herein.

         222.   HB 1224 is unconstitutionally vague in violation of the Fourteenth

 Amendment right to Due Process.

         223.   Plaintiffs cannot determine whether a magazine with a removable

 floor plate or end cap to facilitate maintenance and cleaning was “designed to be

 readily convertible” to hold more than 15 rounds. Plaintiffs cannot possibly know

 the intent of the designers of all the magazines for the firearms which Plaintiffs

 own.




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       224.   Law enforcement officers, including the Plaintiff Sheriffs, likewise

 have no means to determine the intent of magazine designers. Enforcement of the

 provision will be difficult, if not impossible, and will result in differing

 interpretations of the meaning of HB 1224 in different jurisdictions.

       225.   Licensed firearms retailers are likewise unable to ascertain design

 intent, and therefore do not know which magazines can be sold without risk of

 criminal prosecution.

       226.   Because of the ambiguity in the language and the likelihood of

 inconsistent interpretation and enforcement, individuals are chilled in the exercise

 of their Second Amendment rights.

       227.   A statute that is so vague that a person cannot clearly determine what

 conduct may result in criminal prosecution, or that will result in inconsistent

 application, thereby chilling the exercise of another constitutional right, violates the

 Fourteenth Amendment guarantee of Due Process of law.

                            FOURTH CLAIM FOR RELIEF

  (HB 12-1224 – Violation of the Second and Fourteenth Amendments; Requirement
       for “Continuous Possession” of Magazines Owned on the Effective Date)

       228.   Paragraphs 1 through 227 are re-alleged and incorporated herein.

       229.   HB 1224 permits an individual to retain a magazine larger than

 15 rounds or any prohibited smaller magazine that was owned prior to the effective

 date of July 1, 2013, so long as the magazine remains in that individual’s

 “continuous possession.” The statute thus explicitly prohibits the sale or temporary

 transfer of such magazines.


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        230.   The term “continuous possession” is undefined.

        231.   Most magazines are essential to the operation of a firearm. HB 1224

  prohibits any loan, even for a short period of time, of a firearm using a

  grandfathered magazine, including temporary loans among family members (such

  as allowing one’s spouse to use a firearm for self-defense – either while the owner is

  home, or while the owner is away from home), or loaning a magazine and the

  associated firearm to disabled neighbors or friends.

        232.   “Continuous possession” would also prohibit innocuous, routine

  bailments or breaks in the chain of custody of a grandfathered magazine, including

  leaving a magazine with neighbors or friends for safe storage while the owner is out

  of town, or sharing the magazine with another person who is also engaged in a

  shooting event in which the owner was participating.

        233.   “Continuous possession” is undefined and vague, and owners of a

  magazine cannot clearly determine what is required of them to maintain

  “continuous possession” and what conduct may subject them to criminal penalties.

        234.   Law enforcement officials will and do find it impossible to enforce this

  provision because it is impossible to determine whether a magazine was in

  possession of the owner on the statute’s effective date. Law enforcement offices have

  limited resources, and no reasonable investigation can determine the chain of

  custody for every magazine.




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         235.   Because the term “continuous possession” is undefined and vague,

  enforcement will be inconsistent and subject to local interpretation and the

  predilections of individual officers or offices.

         236.   HB 1224’s “continuous possession” requirement chills individuals’

  Second Amendment rights by subjecting them to the threat of criminal prosecution

  for routine, lawful sharing of firearms with covered magazines arising from varying

  interpretations of HB 1224 and inconsistent enforcement.

                               FIFTH CLAIM FOR RELIEF

         (HB 1224 and 1229 – Violation of the Americans With Disabilities Act)

         237.   Paragraphs 1 through 236 are re-alleged and incorporated herein.

         238.   Title II of the Americans With Disabilities Act (“ADA”) prohibits public

  entities from subjecting persons with disabilities to discrimination because of their

  disabilities. 42 U.S.C. § 12132.

         239.   States, including the State of Colorado, are included within the ADA

  definition of public entity. 42 U.S.C. § 12131(1)(A).

         240.   Disabled individuals, including the Disabled Plaintiffs, are subject to

  discrimination by the prohibition on magazines in HB 1224 because they have far

  less ability to defend themselves than do able-bodied persons. Specifically, they are

  unable to change magazines as quickly, and unable to retreat to positions of safety

  where a magazine can be changed.

         241.   HB 1224 puts disabled persons in acute danger in the event of a home

  invasion or other confrontation requiring them to exercise their fundamental right

  to self-defense.
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           242.   Persons with disabilities also routinely temporarily transfer firearms

  to one another and to and from persons who aid them in participation in shooting

  sports and self-defense.

           243.   HB 1229’s restrictions of such temporary transfers restrain persons

  with disabilities from engaging in conduct that is essential to the exercise of their

  Second Amendment rights.

           244.   The right to self-defense is a fundamental right under the Second

  Amendment, and is applied to the states through the Fourteenth Amendment. The

  ADA prohibits states from engaging in such discrimination against disabled

  persons, particularly where it prevents the meaningful exercise of a fundamental

  right.

                                SIXTH CLAIM FOR RELIEF

   (HB 13-12-1229 – Violation of the Second and Fourteenth Amendments Based on
       Restrictions of Firearms Sales and Temporary Transfers - Individuals)

           245.   Paragraphs 1 through 244 are re-alleged and incorporated herein.

           246.   HB 1229 requires background checks prior to many temporary and

  non-commercial transfers of firearms between private individuals.

           247.   For example, the statute allows gifts or loans between some family

  members, but excludes many common family relationships, such as former spouses,

  other partners, stepchildren, and second cousins. Therefore, a person may not loan

  or give a firearm to a former spouse, even when the former spouse has temporary or

  permanent custody of the couple’s children and needs the firearm for protection of

  the children.


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        248.   Similarly, many temporary transfers are limited to 72 hours.

  Therefore, no person may loan a gun for legitimate purposes for longer than three

  days, such as for a disabled person to use while participating in a hunting or a

  sanctioned shooting event; or for a week-long loan to an individual to keep in her

  home when she is criminally threatened but has not yet had time to go to a gun

  store and begin the process of waiting three days (or sometimes longer) for the

  Colorado Bureau of Investigation to approve her purchase of a retail gun.

        249.   The prohibition of non-commercial, temporary transfers is an

  infringement of the Second Amendment.

        250.   Because of the reluctance of home-based Federal Firearms Licensees to

  do business with strangers, and the reluctance of storefront FFLs to perform a $50

  service for the statutory maximum fee of $10, individuals who wish to sell or

  temporarily transfer firearms will find it impossible, or nearly so, to comply with

  HB 1229’s requirement to obtain the services of a FFL.

        251.   In practice, therefore, HB 1229 amounts to a prohibition, rather than a

  regulation, of the covered sales and temporary transfers. As such, it is a violation of

  the Second Amendment right to bear arms, which includes the right to sell or

  temporarily transfer such arms.

                                 RELIEF REQUESTED

  Plaintiffs pray that this Court:

        A.     Enter a declaratory judgment that the provisions of House Bill 13-

  1224, to be codified at C.R.S. § 18-12-301, that prohibit the sale, transfer or

  possession of magazines with larger than a 15-round capacity are a violation of the
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  Second and Fourteenth Amendments of the United States Constitution, and are

  therefore void.

           B.    Enter a declaratory judgment that the provisions of House Bill 13-

  1224, to be codified at C.R.S. §§ 18-12-301 et. seq., that ban the sale, transfer or

  possession of magazines of less than a 15-round capacity violates the Second and

  Fourteenth Amendments to the United States Constitution, and are therefore void.

           C.    Enter a declaratory judgment that the provision of House Bill 13-1224,

  to be codified at C.R.S. § 18-12-302, that requires continuous possession of

  magazines acquired before the effective date of the provision violates the Second

  and Fourteenth Amendments to the United States Constitution, and is therefore

  void.

           D.    Enter a declaratory judgment that the provision of House Bill 13-1224,

  to be codified at C.R.S. § 18-12-302, prohibiting the sale, transfer, or possession of

  magazines smaller than 15 rounds that are “designed to be readily converted to

  accept more than 15 rounds” is vague, fails to give adequate notice of the conduct

  that may result in criminal penalties, may result in inconsistent enforcement, and

  prevents free exercise of Second Amendment rights in violation of Plaintiffs’ rights

  to Due Process of Law under the Fourteenth Amendment to the United States

  Constitution.

           E.    Enter a declaratory judgment that HB 1224 and HB 1229 violate Title

  II of the Americans With Disabilities Act.




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        F.    Enter a declaratory judgment that HB 1229 violates the Second and

  Fourteenth Amendments to the United States Constitution, and is therefore void.

        G.    Issue preliminary and permanent injunctions enjoining Defendant

  John Hickenlooper and any officers, agents, and employees of the State of Colorado

  from administering or enforcing any provisions of HB 1224 and 1229 found to

  violate the United States Constitution or the Americans With Disabilities Act.

        H.    Award Plaintiffs attorneys’ fees and costs and grant other such relief

  as the Court deems proper.

        Dated this 17th day of May, 2013.

                                        Respectfully submitted,


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                                         Appendix

  Diagram A. Detachable box magazine

                                         This is a detachable box magazine for the Ruger
                                         Mini-14 rifle. Parts are as follows:

                                         32 = the shell. This is the box in which the
                                         ammunition is contained.

                                         28 = floor plate. Sometimes called the “magazine
                                         bottom,” “base plate,” or “foot plate”. This
                                         Complaint uses “floor plate.”

                                         29 = floor plate retainer. The retainer (29) holds
                                         the floor plate (28) onto the shell (32). There are
                                         many other ways to attach the floor plate to the
                                         magazine shell. For example, a pin might hold the
                                         floor plate in place; or the floor plate might fit into
                                         slots on the magazine shell.

                                         30 = spring. When the magazine is fully loaded,
                                         the spring is fully compressed. When the firing
                                         chamber in the gun is empty, the spring pushes
                                         upward, so that the top round of ammunition in the
                                         magazine is pushed into the firing chamber.

                                          31 = follower. The follower sits on top of the
                                          spring, and underneath the ammunition. It
  provides a solid base for seating of the ammunition. When the magazine is loaded,
  several rounds of ammunition sit in a vertical stack on top of follower. The follower is on
  top of the spring, and the spring sits on the floor plate.




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  Diagram B. Tube magazine.




  This is a schematic for the Remington Model 14. It is a pump-action rifle, first produced
  in 1912. The magazine parts are highlighted with color.

  49 = magazine tube, which contains the ammunition.

  44 = end cap. May also be called “magazine plug” or “removable plug.” Similar in
  function to the floor plate in the detachable box magazine. Can be removed for
  disassembly and cleaning of the magazine. Can be replaced by an extender, which
  increases the ammunition capacity of the magazine.




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  45 = end cap screw (a/k/a “magazine plug screw”). Holds the end cap onto the
  magazine tube, and holds the front of the assembled magazine onto the front of the rifle
  barrel.

  48 = spring. As ammunition is loaded into the magazine, the spring compresses. The
  spring is firmly seated on the end cap. After the shooter has fired a round by pressing
  the trigger, the user pumps the fore-end (35) forward and then back. This cycles the
  “action” of the pump-action gun, so that the empty shell is ejected from the firing
  chamber; then a fresh shell is pushed by the spring from the magazine and into the
  firing chamber.

  43 = magazine follower. Same function as the follower in the box magazine. The
  ammunition is stacked in a horizontal line, with one round of ammunition touching the
  follower. The spring pushes the follower, which pushes the ammunition.

  46 = magazine ring. Holds the middle of the magazine onto the middle of the rifle barrel.

  The back of the magazine tube has threads so that the tube can be screwed into
  connection with the action bar (1), which fits inside the “receiver” (9).




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-CV-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, Colorado;
  TERRY MAKETA, Sheriff of El Paso County, Colorado;
  JUSTIN SMITH, Sheriff of Larimer County, Colorado;
  DAVID A. WEAVER, Sheriff of Douglas County, Colorado;
  BRUCE W. HARTMAN, Sheriff of Gilpin County, Colorado;
  KEN PUTNAM, Sheriff of Cheyenne County, Colorado;
  DENNIS SPRUELL, Sheriff of Montezuma County, Colorado;
  TIM JANTZ, Sheriff of Moffat County, Colorado;
  JERRY MARTIN, Sheriff of Dolores County, Colorado;
  MIKE ENSMINGER, Sheriff of Teller County, Colorado;
  SHAYNE HEAP, Sheriff of Elbert County, Colorado;
  CHAD DAY, Sheriff of Yuma County, Colorado;
  FRED D. MCKEE, Sheriff of Delta County, Colorado;
  LOU VALLARIO, Sheriff of Garfield County, Colorado;
  FRED HOSSELKUS, Sheriff of Mineral County, Colorado;
  BRETT L. POWELL, Sheriff of Logan County, Colorado;
  JAMES FAULL, Sheriff of Prowers County, Colorado;
  LARRY KUNTZ, Sheriff of Washington County, Colorado;
  BRIAN E. NORTON, Sheriff of Rio Grande County, Colorado;
  DUKE SCHIRARD, Sheriff of La Plata County, Colorado;
  JIM BEICKER, Sheriff of Fremont County, Colorado;
  RONALD BRUCE, Sheriff of Hinsdale County, Colorado;
  CHRIS S. JOHNSON, Sheriff of Otero County, Colorado;
  FRED JOBE, Sheriff of Custer County, Colorado;
  DONALD KRUEGER, Sheriff of Clear Creek County, Colorado;
  JAMES CRONE, Sheriff of Morgan County, Colorado;
  SI WOODRUFF, Sheriff of Rio Blanco County, Colorado;
  TOM RIDNOUR, Sheriff of Kit Carson County, Colorado;
  TOM NESTOR, Sheriff of Lincoln County, Colorado;
  STAN HILKEY, Sheriff of Mesa County, Colorado;
  FORREST FRAZEE, Sheriff of Kiowa County, Colorado;
  RICK DUNLAP, Sheriff of Montrose County, Colorado;
  TED B. MINK, Sheriff of Jefferson County, Colorado;
  DAVE STONG, Sheriff of Alamosa County, Colorado;
  FRED WEGENER, Sheriff of Park County, Colorado;
  BRUCE NEWMAN, Sheriff of Huerfano County, Colorado;
  RANDY PECK, Sheriff of Sedgwick County, Colorado;
  DOMINIC MATTIVI, JR., Sheriff of Ouray County, Colorado;
  JOHN MINOR, Sheriff of Summit County, Colorado;




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  SCOTT FISCHER, Sheriff of Jackson County, Colorado;
  PETER GONZALEZ, Sheriff of Archuleta County, Colorado;
  RICK BESECKER, Sheriff of Gunnison County, Colorado;
  CHARLES “ROB” URBACH , Sheriff of Phillips County, Colorado;
  ROD FENSKE, Sheriff of Lake County, Colorado;
  GRAYSON ROBINSON, Sheriff of Arapahoe County, Colorado;
  DAVID D. CAMPBELL, Sheriff of Baca County, Colorado;
  MIKE NORRIS, Sheriff of Saguache County, Colorado;
  AMOS MEDINA, Sheriff of Costilla County, Colorado;
  MILES CLARK, Sheriff of Crowley County, Colorado;
  DAVID ENCINIAS, Sheriff of Bent County, Colorado;
  SUE KURTZ, Sheriff of San Juan County, Colorado;
  JAMES (JIM) CASIAS, Sheriff of Las Animas County, Colorado;
  GARRETT WIGGINS, Sheriff of Routt County, Colorado;
  DOUGLAS N. DARR , Sheriff of Adams County, Colorado;
  RODNEY JOHNSON, Sheriff of Grand County, Colorado;
  COLORADO OUTFITTERS ASSOCIATION;
  COLORADO FARM BUREAU;
  NATIONAL SHOOTING SPORTS FOUNDATION;
  MAGPUL INDUSTRIES;
  COLORADO YOUTH OUTDOORS;
  USA LIBERTY ARMS;
  OUTDOOR BUDDIES, INC.;
  WOMEN FOR CONCEALED CARRY;
  COLORADO STATE SHOOTING ASSOCIATION;
  HAMILTON FAMILY ENTERPRISES, INC., d/b/a FAMILY SHOOTING CENTER
  AT CHERRY CREEK STATE PARK;
  DAVID STRUMILLO;
  DAVID BAYNE;
  DYLAN HARRELL;
  ROCKY MOUNTAIN SHOOTERS SUPPLY;
  2ND AMENDMENT GUNSMITH & SHOOTER SUPPLY, LLC;
  BURRUD ARMS INC. D/B/A JENSEN ARMS;
  GREEN MOUNTAIN GUNS;
  JERRY’S OUTDOOR SPORTS;
  GRAND PRIX GUNS;
  SPECIALTY SPORTS & SUPPLY;
  GOODS FOR THE WOODS;

        Plaintiffs,




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  vs.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

         Defendant.


              FIRST AMENDED COMPLAINT FOR DECLARATORY
                        AND INJUNCTIVE RELIEF

         Peace officers and peaceable citizens join together to bring this action in

  defense of public safety, the Second and Fourteenth Amendments of the

  Constitution of the United States, and the Americans with Disabilities Act.

  Plaintiffs are 55 Colorado elected sheriffs, retired law enforcement officers, disabled

  individuals, civil rights and disability rights organizations, licensed firearms

  dealers, associations of law-abiding gun owners, hunting outfitters, and the

  firearms industry, and a manufacturer of firearm accessories.

                                   I.     OVERVIEW

         1.     On March 20, 2013, Colorado Governor John Hickenlooper signed two

  measures that severely restrict citizens’ rights to own, use, manufacture, sell, or

  transfer firearms and firearms accessories.


                                        HB 1224

         2.     House Bill 13-1224 (“HB 1224”) bans outright all ammunition

  magazines sold or acquired after July 1, 2013 that hold more than 15 rounds of

  ammunition. HB 1224 also bans most other magazines of any size because it

  prohibits smaller magazines that are “designed to be readily converted” to hold

  more than 15 rounds of ammunition.

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        3.     The magazines for most handguns and for many rifles are detachable

  box magazines. The very large majority of magazines contain a removable floor

  plate. The removable floor plate allows the user to clear ammunition jams, clean the

  inside of the magazine, and perform maintenance on the internal mechanics of the

  magazine.

        4.     The fact that a magazine floor plate can be removed inherently creates

  the possibility that the magazine can be extended through commercially available

  extension products or readily fabricated extensions. As a result, nearly every magazine

  can be readily converted to exceed the capacity limit set by HB 1224.

        5.     Some rifles have fixed box magazines, which are permanently attached

  to the rifle. Many of these also have removable floor plates.

        6.     Instead of a box magazine, some rifles have fixed tube magazines,

  which lie underneath the rifle barrel. Many tube magazines have removable end

  caps for cleaning to which extenders can be added. A ban on certain types of fixed

  magazines is necessarily a ban on the rifles to which they are fixed.

        7.     The Appendix to this Complaint contains diagrams showing the parts

  of a detachable box magazine and a fixed tube magazine.

        8.     Magazine capacity can be increased in many other ways, such as

  snipping the spring inside the magazine so that there is more space to accommodate

  additional rounds, using a coupler so that a second box magazine is attached

  (upside down) to the bottom of another, or simply using duct tape instead of a

  coupler.



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        9.     The chief sponsor of HB 1224 and Governor Hickenlooper have both

  publicly confirmed that HB 1224 bans all magazines with removable floor plates.

        10.    By outlawing most box and tube magazines, HB 1224 outlaws an

  essential component of many common firearms. Eighty-two percent of handguns

  and at least one-third of rifles currently manufactured in the United States are

  semi-automatic, which means that most of them store their ammunition in

  detachable box magazines. Rifles which use box or tube magazines are not limited

  to semi-automatics, but also include pump action, bolt action, and lever action rifles.

  (HB 1224 exempts lever action guns which use tube magazines, but not lever action

  guns which use box magazines; the bill also exempts rimfire rifles which use tube

  magazines, but does not exempt such rifles that use box magazines.)

        11.    Thus, the magazine ban amounts to a ban on having a functional,

  operating unit for most handguns and a very large fraction of rifles – a patent

  violation of the Second and Fourteenth Amendments under District of Columbia v.

  Heller, 554 U.S. 570 (2008) and McDonald v. Chicago, 130 S. Ct. 3020 (2010).

        12.    As detailed infra, HB 1224 allows the possession of grandfathered

  magazines only if two separate requirements are satisfied: First, they must be

  owned on July 1, 2013. Second, the owner must maintain “continuous possession” of

  the magazine.

        13.    The requirement for “continuous possession” makes it impossible for

  firearms to be used or shared in ordinary and innocent ways, such as a gun owner

  loaning his or her firearm with the magazine to a spouse, family member, or friend;



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  entrusting it to a gunsmith for repair; a military reservist leaving firearms and

  their associated magazines with a spouse when he or she is called into service away

  from home; or even temporarily handing a firearm with its magazine to a firearms

  safety instructor so that the owner can be shown by the instructor how to better

  grip, aim, or otherwise use the firearm.

        14.    The    requirement    of      “continuous     possession”    prohibits   the

  grandfathered owner from ever allowing anyone to hold or use his firearm if the

  firearm is in a functional state (with a magazine inserted) – an extreme

  infringement of Second Amendment rights.

        15.    In Heller, the Supreme Court adopted a rule enforcing the Second

  Amendment that prohibited the banning of arms “typically possessed by law-

  abiding citizens for lawful purposes.” The ban against all magazines holding more

  than 15 rounds violates this rule. Rifles with magazines larger than 15 rounds are

  so commonplace that many models are supplied in a standard 30-round

  configuration. Indeed, one such rifle is the AR-15 and its many variants, which has

  for years been one of the best-selling types of firearms in the United States and of

  which there are at least four million in the United States today. The number of

  other models of Modern Sporting Rifles is likewise in the millions, which are also

  often sold with magazines holding more than 15 rounds.

        16.    Similarly, many popular handguns are sold with magazines with 16 to

  20-round capacities. Many gun owners own several magazines for each firearm. The




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  number of magazines in the United States which are of the size directly outlawed by

  HB 1224 is in the tens of millions.

        17.       Disabled citizens, whose disabilities often make it difficult to change

  magazines quickly, are acutely harmed by HB 1224. This is a particularly grave

  violation of their Second Amendment rights, especially their right to self-defense in

  the home.

        18.       HB 1224 also violates Title II of the Americans with Disabilities Act

  (“ADA”). Even assuming that HB 1224 is constitutional, all persons with relevant

  disabilities are entitled to an accommodation under the ADA so that they may

  possess and acquire the magazine in the sizes they need.

        19.       The effect of HB 1224’s various provisions is the widespread ban on

  functional firearms. The prohibition of so many box and tube magazines of any size,

  and the prohibition of magazines greater than 15 rounds, directly and gravely harm

  the ability of law-abiding citizens to use firearms for lawful purposes, especially

  self-defense.

                                          HB 1229

        20.       House Bill 13-1229 (“HB 1229”) requires “universal” background

  checks before any sale or transfer of a firearm can occur, with some exceptions.

  HB 1229, even considering the exceptions, prohibits a wide range of common,

  temporary, or permanent transfers or loans of firearms between law-abiding

  citizens in violation of the Second Amendment.




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        21.    As a practical matter, it will be impossible for citizens to comply with

  HB 1229. The bill requires that when one individual sells or loans a firearm to

  another, that “transfer” must be conducted through a Federal Firearms Licensee

  (“FFL,” a licensed gun dealer). The FFL is required to process the transfer as if he

  or she is selling a firearm out of his or her own inventory. HB 1229 allows the FFL

  to charge a fee of no more than $10 for conducting the transfer.

        22.    Many FFLs in Colorado, including FFL Plaintiffs, are unwilling to

  conduct the transfer under such conditions. Accordingly, it will be extremely

  difficult, if not impossible, for many Coloradans to find a FFL to conduct the

  transfers, even if the buyer and seller are both willing and able to drive long

  distances to do so.

        23.    To conduct the transfer pursuant to HB 1229, the FFL must complete

  the same paperwork as if he or she were selling from his or her own inventory. This

  means that for each firearm transferred, a three-page federal form (ATF Form

  4473) must be filled out. Some parts of the form are filled out by the customer, and

  some by the FFL. FFLs are liable for errors on a Form 4473 and subject to license

  revocation and even federal felony charges.

        24.    FFLs must monitor the transferor and transferee for as long as it takes

  to complete the transaction. The “instant check” which is conducted by the Colorado

  Bureau of Investigation often takes hours, and sometimes days, to complete.

        25.    Currently, when FFLs are asked to conduct a background check for a

  firearm, not involving a profitable sale from the FFL’s actual inventory, the fee



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  charged may be $50. A fee cap of $10 will likely result in very few, if any, FFLs

  being willing to perform the services which are necessary for transfers under HB

  1229, making compliance with HB 1229 next to impossible in many private transfer

  situations.

        26.      Moreover, setting aside the myriad problems with compliance with HB

  1229, the scope of HB 1229’s regulation, which impacts a vast array of innocent and

  lawful temporary transfers among friends and members of various hunting and

  shooting organizations, unconstitutionally infringes the Second Amendment rights

  of tens of thousands of Coloradans.

              The Supreme Court’s Landmark Decisions: Heller and McDonald

        27.      There are certain indisputable legal principles announced by the

  United States Supreme Court against which HB 1224 and HB 1229 must be judged.

        28.      Under Heller, the Second Amendment to the United States

  Constitution guarantees the right of individual citizens to keep and bear commonly-

  used firearms for all lawful purposes.

        29.      The individual right to employ commonly-used firearms for self-

  defense is “the central component” of the Second Amendment guarantee.

        30.      An individual’s Second Amendment rights, including the right to self-

  defense, are fundamental rights.

        31.      Under McDonald, the rights protected by the Second Amendment

  apply equally to the states, including Colorado, through the Fourteenth Amendment

  to the United States Constitution.



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         32.    HB 1224 and HB 1229 violate these principles.

                          II.   JURISDICTION AND VENUE

         33.     This Court has jurisdiction over this matter pursuant to 28 U.S.C.

  § 1331 because the claims arise under the Constitution and statutes of the United

  States.

         34.     This Court has jurisdiction to grant the declaratory relief sought

  pursuant to 18 U.S.C. § 2201, and additional relief pursuant to 18 U.S.C. § 2202.

         35.     This Court also has jurisdiction under 28 U.S.C. § 1343(a)(3) and 42

  U.S.C. § 1983 because this action involves a deprivation of federal constitutional

  rights by those acting under color of state law.

         36.     Venue is proper in this district pursuant to 28 U.S.C. § 1391.

                                     III.   PARTIES

  A.     Plaintiffs

         1.    The Sheriffs of 55 Colorado Counties

         37.     Each of the following Sheriffs of 55 Colorado counties (“the Sheriffs”)

  has the primary obligation to obey the Constitution of the United States of America.

  The Sheriffs bring this case pursuant to this primary obligation, which is supreme

  over any other purported enactment.

         38.     John B. Cooke is the Sheriff of Weld County, Colorado.

         39.     Terry Maketa is the Sheriff of El Paso County, Colorado.

         40.     Justin Smith is the Sheriff of Larimer County, Colorado.

         41.     David A. Weaver is the Sheriff of Douglas County, Colorado.

         42.     Bruce W. Hartman is the Sheriff of Gilpin County, Colorado.
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        43.     Ken Putnam is the Sheriff of Cheyenne County, Colorado.

        44.     Dennis Spruell is the Sheriff of Montezuma County, Colorado.

        45.     Tim Jantz is the Sheriff of Moffat County, Colorado.

        46.     Jerry Martin is the Sheriff of Dolores County, Colorado.

        47.     Mike Ensminger is the Sheriff of Teller County, Colorado.

        48.     Shayne Heap is the Sheriff of Elbert County, Colorado.

        49.     Chad Day is the Sheriff of Yuma County, Colorado.

        50.     Fred D. McKee is the Sheriff of Delta County, Colorado.

        51.     Lou Vallario is the Sheriff of Garfield County, Colorado.

        52.     Fred Hosselkus is the Sheriff of Mineral County, Colorado.

        53.     Brett L. Powell is the Sheriff of Logan County, Colorado.

        54.     James Faull is the Sheriff of Prowers County, Colorado.

        55.     Larry Kuntz is the Sheriff of Washington County, Colorado.

        56.     Brian E. Norton is the Sheriff of Rio Grande County, Colorado.

        57.     Duke Schirard is the Sheriff of La Plata County, Colorado.

        58.     Jim Beicker is the Sheriff of Fremont County, Colorado.

        59.     Ronald Bruce is the Sheriff of Hinsdale County, Colorado.

        60.     Chris S. Johnson is the Sheriff of Otero County, Colorado.

        61.     Fred Jobe is the Sheriff of Custer County, Colorado.

        62.     Donald Krueger is the Sheriff of Clear Creek County, Colorado.

        63.     James Crone is the Sheriff of Morgan County, Colorado.

        64.     Si Woodruff is the Sheriff of Rio Blanco County, Colorado.



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        65.     Tom Ridnour is the Sheriff of Kit Carson County, Colorado.

        66.     Tom Nestor is the Sheriff of Lincoln County, Colorado.

        67.     Stan Hilkey is the Sheriff of Mesa County, Colorado.

        68.     Forrest Frazee is the Sheriff of Kiowa County, Colorado.

        69.     Rick Dunlap is the Sheriff of Montrose County, Colorado.

        70.     Ted B. Mink is the Sheriff of Jefferson County, Colorado.

        71.     Dave Stong is the Sheriff of Alamosa County, Colorado.

        72.     Fred Wegener is the Sheriff of Park County, Colorado.

        73.     Bruce Newman is the Sheriff of Huerfano County, Colorado.

        74.     Randy Peck is the Sheriff of Sedgwick County, Colorado.

        75.     Dominic Mattivi, Jr., is the Sheriff of Ouray County, Colorado.

        76.     John Minor is the Sheriff of Summit County, Colorado.

        77.     Scott Fischer is the Sheriff of Jackson County, Colorado.

        78.     Peter Gonzalez is the Sheriff of Archuleta County, Colorado.

        79.     Rick Besecker is the Sheriff of Gunnison County, Colorado.

        80.     Charles “Rob” Urbach is the Sheriff of Phillips County, Colorado.

        81.     Rod Fenske is the Sheriff of Lake County, Colorado.

        82.     Grayson Robinson is the Sheriff of Arapahoe County, Colorado.

        83.     David D. Campbell is the Sheriff of Baca County, Colorado.

        84.     Mike Norris is the Sheriff of Saguache County, Colorado.

        85.     Amos Medina is the Sheriff of Costilla County, Colorado.

        86.     Miles Clark is the Sheriff of Crowley County, Colorado.



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        87.      David Encinias is the Sheriff of Bent County, Colorado.

        88.      Sue Kurtz is the Sheriff of San Juan County, Colorado.

        89.      James (Jim) Casias is the Sheriff of Las Animas County, Colorado.

        90.      Garrett Wiggins is the Sheriff of Routt County, Colorado.

        91.      Douglas N. Darr is the Sheriff of Adams County, Colorado.

        92.      Rodney Johnson is the Sheriff of Grand County, Colorado.

        93.      HB 1224 and 1229 violate the Constitution of the United States. The

  Sheriffs cannot enforce a statute that violates the fundamental constitutional rights

  of the citizens of Colorado.

        94.      For reasons detailed supra and infra, HB 1224 and 1229 are utterly

  unenforceable, even if the Sheriffs wished to violate the U.S. Constitution.

        95.      After HB 1229 becomes effective, every citizen of Colorado can legally

  possess a “large capacity” magazine that holds more than 15 rounds so long as they

  owned it prior to the effective date and maintain “continuous possession” of it after

  the effective date. This includes both magazines that hold more than 15 rounds, and

  smaller magazines with removable floor plates or end caps. At least hundreds of

  thousands of Colorado citizens, including the individual Plaintiffs and members of

  Plaintiff associations, will lawfully own hundreds of thousands (or more) of such

  magazines.

        96.      The Sheriffs have limited resources and limited public funds to spend

  on investigations. They cannot expend those resources to conduct investigations

  that would be necessary to monitor compliance with the new magazine restrictions.



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  No documentation has ever been required for the retail or private purchase of

  magazines, making it a practical impossibility for the Sheriffs to determine whether

  one of the many magazines already in existence was obtained after the effective

  date.

          97.    It would be similarly impossible to determine whether a magazine

  was in the “continuous possession” of its owner after July 1, 2013.

          98.    With very few exceptions, magazines manufactured in other states

  are not required to bear date stamps, making it impossible to determine their date

  of manufacture. The Sheriffs will have no means to determine whether a magazine

  possessed by an individual in Colorado was manufactured before or after July 1,

  2013, with the exception of those manufactured in Colorado after July 1, 2013 that

  are required by the bill to bear a date stamp.

          99.    The foregoing presumes that it is clear what the bill prohibits. But

  the Sheriffs’ enforcement obstacles become insurmountable if they must also resolve

  ambiguities in the bill. If the bill does not prohibit every magazine with a removable

  floor plate and end cap, but only those that were intentionally “designed” for the

  purpose of expanding capacity, the Sheriffs are given no tools to make that

  determination. They cannot know the intent of the designer.

          100.   Likewise, each Sheriff will have to determine what constitutes

  “continuous possession,” since the statute provides no guidance. They will have to

  make individual decisions whether continuous possession allows for temporary

  loans to others and, if so, for what duration.



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        101.     In addition to the core infringement on a fundamental right inherent

  in any enforcement of these provisions, the result of the many ambiguities will be

  varying individual decisions and inconsistent enforcement across jurisdictions.

  Effective law enforcement depends on close and supportive relations between the

  public and law enforcement. Unconstitutional, vague laws which are inconsistently

  enforced poison that relationship, and make it significantly more difficult for the

  Sheriffs to receive the witness cooperation, tips, and other forms of public support

  which are necessary to effective law enforcement in a free society.

        102.     Sheriffs have the common law power to request the armed assistance

  of able-bodied adults in their County. This is known as the “posse comitatus.” One

  well-known use of the posse in Colorado was in June 1977, when Pitkin County

  citizens with their own guns responded to a request to help with the search for

  escaped mass murderer Theodore Bundy.

        103.   Sheriffs also have the authority to appoint deputies who are not

  certified peace officers. The “non-certified” deputies may be appointed for a limited

  period of time, or for specific tasks. C.R.S. §§ 16-2.5-103(2); 30-10-506. Particularly

  in rural parts of Colorado, Sheriffs utilize the authority to deputize individuals to

  augment law enforcement efforts in times of disturbances and natural disasters.

        104.   When those Sheriffs deputize, they do not have a cache of firearms to

  issue. Moreover, a person who is deputized in an emergency will be safer and more

  effective using his or her personal firearm, with which he or she is already familiar.




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        105.    HB 1224 seriously impedes the ability of Sheriffs to call upon armed

  citizen assistance during emergencies and natural disasters because it prevents

  citizens from having the types of magazines which the Sheriffs and their ordinary

  deputies have determined to be most effective for the preservation of public safety.

        2.     Colorado Farm Bureau

        106.    Colorado Farm Bureau is a Colorado nonprofit corporation. It was

  founded in 1919 by a group of Colorado farmers, ranchers, veterinarians, rural

  doctors, shopkeepers and tradesmen. The Farm Bureau’s mission includes

  enhancing Colorado’s agricultural industry; promoting, protecting, and representing

  the interests of farmers, ranchers, and their communities; and protecting individual

  freedom and opportunity.

        107.    Colorado     Farm   Bureau’s       membership   now   comprises   23,000

  Coloradans, including Colorado farmers, ranchers, and other Colorado families and

  residents who have an interest in maintaining a strong agricultural industry in this

  State and in promoting and advancing the interests of Colorado farmers and

  ranchers.

        108.    Section (1)(b) of HB 1229 requires that if a transferee of a firearm is

  not a natural person, “then each natural person who is authorized by the transferee

  to possess the firearm after the transfer shall undergo a background check . . .

  before taking possession of the firearm.”

        109.    The vast majority of Colorado farms, including family farms, operate

  as incorporated businesses. Thus, when most Colorado farmers acquire firearms in


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  connection with their farming or ranching operations, they do not acquire them as

  “natural persons.”

        110.        Colorado farmers and ranchers often operate their businesses in

  rural and remote areas of the State. Firearms are a necessity for farming and

  ranching for protecting crops and livestock, as well as for self-defense.

        111.        HB 1229 places substantial burdens on the Second Amendment

  rights of Colorado farmers and ranchers because:

               a.       it will often be very difficult to identify each and every natural

  person associated with the farm or ranch who may possess the firearm;

               b.       it will be very difficult to find FFLs able and willing to perform

  the necessary checks in many, if not most, of the rural areas in which farms and

  ranches are located;

               c.       even when FFLs are available, able, and willing to perform the

  necessary checks, paying a fee for each check for each natural person who may

  possess a firearm places a significant financial burden on the farm or ranch

  acquiring the firearm.

        112.        Setting aside problems with initial acquisitions of firearms, HB 1229

  places an enormous burden on farmers and ranchers to police firearm possession as

  time passes. If farms or ranches do not routinely “audit” new farm and ranch hands,

  they face significant criminal exposure (and being prohibited from owning any

  firearm for at least two years) if a new hand obtains possession without a check




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  being performed first, as well as joint and several civil liability if an accident or

  misuse involving the firearm occurs.

          3.     Firearms Industry Trade Association

          113.   The National Shooting Sports Foundation (“NSSF”) is a national trade

  association for the firearms, ammunition, and hunting and shooting sports industry

  based in Newtown, Connecticut.

          114.   As a non-profit, tax-exempt corporation, NSSF has a membership of

  over 9,500 federally licensed firearms manufacturers, distributors and retailers;

  companies manufacturing, distributing and selling shooting and hunting related goods and

  services; sportsmen’s organizations; public and private shooting ranges; gun clubs;

  publishers and individuals. More than 300 of these members reside and conduct business

  in Colorado.

          115.   The NSSF’s members in Colorado           provide lawful commerce in

  firearms to law-abiding Coloradans. Each of these members’ business interests and

  livelihoods will be adversely and unconstitutionally affected by HB 1224 and HB

  1229.

          4.     Retired Law Enforcement Officers

          116.    David Strumillo resides in Colorado Springs, Colorado, and is a

  citizen of the United States. Mr. Strumillo served as a police officer in the Parker,

  Colorado Police Department from 1994 through 1999, when he was medically

  retired following an injury in the line of duty.




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          117.    Mr. Strumillo is authorized to carry a concealed firearm in all states

  and U.S. territories pursuant to the Law Enforcement Officers Safety Act, 18 U.S.C.

  § 926B, 926C. In order to comply with federal law, Mr. Strumillo is required to re-

  qualify each year using the firearms he carries.

          118.    Mr. Strumillo also carries firearms for his personal safety to respond

  to threats made against himself and his family. The firearms Mr. Strumillo carries

  use magazines larger than 15 rounds. The members of the Plaintiff Associations

  also include retired law enforcement officers.

          5.     Disabled Citizens

          119.    David Bayne is a resident of Thornton, Colorado, and a citizen of the

  United States. Mr. Bayne is paralyzed from the chest down and confined to a

  wheelchair. He holds a concealed carry permit issued by the Adams County Sheriff’s

  Office, which is valid in the State of Colorado. He owns several firearms, several of

  which accept magazines capable of holding more than 15 rounds. Mr. Bayne uses

  these firearms for target shooting, shooting competitions, and the defense of his

  home.

          120.    Dylan Harrell is a resident of Frederick, Colorado, and a citizen of

  the United States. Mr. Harrell is paralyzed from the chest down and confined to a

  wheelchair. He holds a concealed carry permit issued by the Adams County Sheriff’s

  Office, which is valid in the State of Colorado. He owns several firearms which will

  accept magazines capable of holding more than 15 rounds. He uses these firearms

  for hunting, target shooting, and defense of his home.


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        121.    Messrs. Bayne and Harrell (“the Disabled Plaintiffs”) are deprived of

  their fundamental right of self-defense in multiple ways.

        122.    First, because firearms that use magazines larger than 15 rounds

  and those with removable floor plates or end caps are in common use, their Second

  Amendment right to self-defense pursuant to Heller is violated regardless of any

  disability because they may be unable to purchase replacement magazines of any

  size, and particularly of the standard 30-round size, which are essential to a

  disabled person.

        123.    Second, disabilities make it difficult to quickly change magazines

  under the stress of a home invasion. For example, Plaintiff Dylan Harrell is

  wheelchair bound and has two small children in his home. The wheelchair limits

  Mr. Harrell’s mobility and severely restricts his ability to quickly place himself in

  the best position to repel a home invasion, as well as his ability to place himself

  behind barriers or use objects in his home as a means to steady his firearm. Thus,

  he is even more dependent on immediate firearms defense than able-bodied people,

  who might be able to flee the house or buy time by running to another room. The

  limits on Mr. Harrell’s ability to quickly re-position himself also severely limit his

  ability to retreat quickly and effectively in order to allow him the time necessary to

  change magazines. Eliminating his ability to use magazines with a capacity larger

  than 15 rounds has a corresponding impact on his ability to exercise his

  constitutional right to defend himself, his home, and his children.




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        124.     Like Mr. Harrell, Plaintiff David Bayne is confined to a wheelchair

  and faces the same challenges. Mr. Bayne has limited ability to retreat or re-

  position himself effectively or safely during a home invasion in order to most

  effectively aim and discharge his firearm, or to safely change magazines.

        125.     If the ban on smaller magazines that can be readily converted is not

  a total prohibition, but applies only after a determination of the intent of the

  designer, the Disabled Plaintiffs have no ability to resolve that ambiguity and

  cannot discern what magazines are allowed and what magazines may subject them

  to criminal penalties.

        6.     Licensed Firearms Dealers

        126.     USA Liberty Arms is a Colorado corporation with its principal place

  of business in Fort Collins, Colorado.

        127.     Rocky Mountain Shooters Supply is a Colorado corporation with its

  principal place of business in Fort Collins, Colorado.

        128.     2nd   Amendment      Gunsmith     &   Shooter   Supply,   LLC     (“2nd

  Amendment”), is a Colorado corporation with its principal place of business in

  Loveland, Colorado. 2nd Amendment has expended significant resources on

  inventory in firearms and magazines that will be rendered illegal on July 1, 2013.

  2nd Amendment will suffer significant losses in its overall sales if it cannot sell

  firearms or magazines over 15 rounds or with removable floor plates or end caps if

  HB 1224 becomes effective.




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        129.     Burrud Arms Inc. d/b/a Jensen Arms is a Colorado corporation with

  its principal place of business in Loveland, Colorado. Jensen Arms is a retail

  firearms dealer in business since 1994 that serves customers throughout much of

  Colorado. To serve its customers, Jensen Arms has invested millions of dollars in

  magazines and firearms inventory that utilizes magazines that will be prohibited

  under HB 1224. Customers have already expressed confusion about what

  magazines will be legal, and Jensen Arms will suffer significant losses in sales.

        130.     Green Mountain Guns is a Colorado corporation with its principal

  place of business in Lakewood, Colorado. Green Mountain Guns has been in

  business for 35 years, and will lose approximately $2 million in sales after HB 1224

  becomes effective because the majority of firearms and magazines that it sells will

  be rendered illegal on July 1, 2013, including many smaller magazines that have

  removable floor plates or end caps.

        131.     Smith & Wesson has already informed Green Mountain Guns that it

  will no longer ship merchandise to Green Mountain Guns because of the

  uncertainty caused by HB 1224 and confusion about what firearms and firearm

  accessories will be illegal after HB 1224 goes into effect.

        132.     Jerry’s Outdoor Sports is a Colorado corporation with its principal

  place of business in Grand Junction, Colorado. Jerry’s Outdoor Sports has been in

  business for 28 years, and will lose the majority of its sales if HB 1224 becomes

  effective because the majority of firearms and magazines that it sells will be




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  rendered illegal on July 1, 2013, including many smaller magazines that have

  removable floor plates or end caps.

        133.     Grand Prix Guns is a Colorado corporation with its principal place of

  business in Littleton, Colorado. Grand Prix Guns anticipates that it may suffer as

  much as an 80% loss in revenue if HB 1224 renders the majority of the firearms and

  magazines it sells illegal.

        134.     Specialty Sports & Supply is a Colorado corporation with its principal

  place of business in Colorado Springs, Colorado. Specialty Sports & Supply

  anticipates that it will lose more than $1 million annually in firearms sales. The

  store currently has 4,000 to 5,000 magazines in stock which it will not be able to sell

  after July 1, 2013, and it will be unable to order and sell additional supplies.

        135.     Goods for the Woods is a Colorado corporation with its principal place

  of business in Durango, Colorado. Goods for the Woods has a current inventory of

  firearms and magazines that will be rendered illegal as of July 1, 2013, and it will

  also be unable to sell existing and future orders, significantly reducing revenue.

        136.     The Plaintiff firearms dealers have invested significant money in

  existing inventories of firearms with standard magazines larger than 15 rounds and

  in magazines of all sizes with removable floor plates and end caps. That investment

  will be lost without compensation if that inventory cannot be sold. In some cases,

  the continued existence of the business may be threatened.

        137.     The licensed dealers face the same conundrum as all Plaintiffs if they

  are forced to guess at the unknown intent of designers of smaller magazines, and



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  are subject to the whims of local law enforcement as they try to enforce an

  ambiguous statute.

        138.    In addition, in light of the fee caps described in Paragraph 21 above,

  each of the Licensed Firearms Dealers will be unwilling or financially unable to

  provide the services necessary for transfers under HB 1229, making compliance

  with HB 1229 impossible in many private transfer situations.

        7.     Shooting Association and Shooting Ranges and Clubs

        139.    The Colorado State Shooting Association (“CSSA”) is the oldest

  statewide shooting and firearms organization in Colorado, established in 1926.

        140.     CSSA has nearly 1,500 individual dues-paying members, and over

  20 business and club members that collectively add more than 20,000 associated

  members. These members include hunters, competitive shooters, recreational

  shooters, firearms instructors, active and retired law enforcement officers, crime

  prevention advocates, firearms and equipment dealers and wholesalers, and people

  interested in preserving Second Amendment rights. The membership includes many

  who have physical disabilities.

        141.    Many CSSA members own and use firearms with a capacity

  exceeding 15 rounds, and many of the CSSA sanctioned events require the use of

  such firearms. Many CSSA members also own magazines (and associated firearms)

  with removable floor plates or end caps.

        142.    The CSSA provides shooting opportunities for law-abiding Colorado

  residents by uniting shooters, hunters, sportsmen and collectors, as well as all other


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  types of law-abiding firearms enthusiasts, to promote the safe and responsible use

  of firearms.

        143.     CSSA promotes the development of shooting sports and related

  facilities and speaks on behalf of its membership to defend shooting sports, hunting

  rights, and firearms ownership.

        144.     CSSA also promotes and organizes firearms safety programs and

  hunter safety education, supports the training of NRA-certified firearms

  instructors, and organizes and supports state regional competitive matches.

        145.     CSSA is the official NRA-delegated sanctioning body for all state and

  regional competitive firearms matches in Colorado, and CSSA membership is

  required for Colorado shooters to participate in any such matches. CSSA is also the

  official state association for the Civilian Marksmanship Program, a congressionally-

  created program that fosters firearms marksmanship through competitive matches

  and clinics.

        146.     The members of the Colorado State Shooting Association engage in

  every form of lawful activity with firearms and magazines, including each and every

  activity mentioned in this Complaint.

        147.     Hamilton Family Enterprises, Inc. d/b/a Family Shooting Center at

  Cherry Creek State Park (“FSC”) is a Colorado corporation that is designated as the

  Cherry Creek State Park concessionaire for operating recreational shooting

  facilities located at the Cherry Creek State Park in Arapahoe County, Colorado.




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          148.   FSC is a multi-discipline shooting facility covering approximately 120

  acres of Cherry Creek State Park and includes a rifle range, a pistol range, a law-

  enforcement range, a sporting clays and five-stand range, a trap range using both

  electric and hand launching stations, a shotgun patterning board, and an archery

  range. FSC is currently adding a “move-and-shoot” pistol range which will double

  the number of pistol shooting positions available to the public.

          149.   FSC is the largest public outdoor shooting facility on the Front Range

  in Colorado. The usage of these facilities has increased each year since FSC began

  concession operations in 2004, and over 64,000 shooters used the facilities at FSC in

  2012.

          150.   In addition to the operation, supervision and maintenance of the

  shooting facilities at Cherry Creek State Park, FSC also makes available for use by

  qualified members of the public firearms that are equipped with standard

  magazines having capacities of more than 15 rounds or are equipped with smaller

  magazines that are readily convertible to more than 15 rounds.

          151.   Moreover, FSC sells firearms equipment and accessories, which

  include magazines with capacities exceeding 15 rounds or are otherwise readily-

  convertible to more than 15 rounds.

          152.   Approximately fifty percent of FSC’s gross revenue currently derives

  from the sale of firearms equipment, accessories, and ammunition.

          153.   FSC’s patrons have already expressed concerns over the impact that

  HB 1224 and HB 1229 will have on their ability to legally utilize FSC’s facilities or



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  purchase goods and equipment from FSC, and many have signified their intent that

  they will not return to FSC after July 1, 2013 for fear of running afoul of the new

  laws. Thus, both proposed laws have already adversely impacted FSC’s business

  and income and will continue to do so in the future.

          154.    Approximately six percent of all of FSC’s revenue, not including

  Colorado sales taxes, are remitted to the State and Colorado’s state park system.

  The significant and inevitable decline in revenue that will result from the

  implementation of HB 1224 and HB 1229 will significantly impact the already

  handicapped budget of Colorado’s state park system.

          8.     Firearms Accessories Manufacturer

          155.    Plaintiff Magpul Industries is a Colorado corporation founded in 1999

  with its principal place of business in Erie, Colorado. Magpul manufactures and

  sells a wide variety of firearms accessories, including firearm magazines in a

  variety of sizes.

          156.    Magpul has approximately 200 employees in Colorado, and

  approximately 90% of its magazine suppliers are located in Colorado. Magpul will

  be unable to distribute magazines with capacities more than 15 rounds to its

  network of Colorado retailers and faces uncertainly as to whether it can continue to

  distribute any magazines to Colorado retailers based on the vague provisions of HB

  1224.

          157.    Magpul manufactures magazines in 10, 20, and 30 round sizes for

  sale to the public. Magpul has existing commitments to sell magazines through its


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  distribution network to retailers in Colorado. Magpul may have to modify those

  commitments for magazines larger than 15 rounds, and lose the value of those

  sales.

           158.    For magazines smaller than 15 rounds, Magpul faces the same

  uncertainty as all of the Plaintiffs in determining which, if any, magazines with a

  removable floor plate can be sold. If all smaller magazines with removable floor

  plates are banned by HB 1224, then Magpul effectively cannot sell any magazines

  in Colorado.

           159.    If the prohibition of smaller magazines is resolved only by law

  enforcement’s interpretation of each designer’s intent, Magpul cannot predict how

  each of the Colorado law enforcement jurisdictions will resolve the ambiguity in the

  statute, and faces the uncertain prospect of criminal prosecution in jurisdictions

  that interpret the statute as a complete ban on magazines with a removable floor

  plate.

           9.     Nonprofit Representing Disabled Outdoor Enthusiasts

           160.   Outdoor Buddies, Inc. (“Outdoor Buddies”), which was founded in

  1984, is an all-volunteer non-profit organization based in Colorado. Its mission is to

  provide opportunities to enjoy the outdoors to those who have been deprived of it,

  regardless of race, creed, religion, or sex, and with no fees to the participant.

  Outdoor experiences provided through Outdoor Buddies include hunting, target

  shooting, fishing, boating, camping, and education in the use of the outdoors for

  recreational activities.


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        161.    There are approximately 760 individual members of Outdoor Buddies.

  Approximately two-thirds of the membership is composed of mobility-disabled

  members of the community who need special assistance to experience the outdoors.

  Approximately one-third of the membership is composed of able-bodied members of

  the community who serve as volunteers. The membership includes many wounded

  warriors and other disabled veterans from World War II through the most recent

  military conflicts in Iraq and Afghanistan.

        162.   The Disabled Plaintiffs, David Bayne and Dylan Harrell, are members

  of Outdoor Buddies.

        10.    Nonprofit Representing Colorado’s Outfitters

        163.   The Colorado Outfitters Association is an organization dedicated to

  improving the Colorado outfitting industry’s standards and the quality of services

  provided by professional outfitters in Colorado. The Association represents

  approximately 790 professional hunting, fishing, and camping outfitters and guides

  based in Colorado. Colorado’s outfitters are registered, bonded, and insured to

  operate in Colorado and have permits to operate on public lands. The Association

  represents Colorado’s outfitters in a wide range of policy areas affecting Colorado

  outfitters and their clients.

        164.   The chilling effect of the potential legal perils for non-resident hunters

  caused by HB 1224 and 1229 has led many non-resident hunters to shun Colorado,

  which will cost the outfitters, local businesses which cater to hunters (e.g.,

  restaurants and stores), the State, and various local taxing jurisdictions tens of


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  millions of dollars in the next few years. Moreover, HB 1229’s requirements for

  background checks for transfers could significantly impact the ability of outfitters

  and their clients to share weapons in the field given the narrowness of HB 1229’s

  exceptions and the unavailability of FFL’s to perform the necessary background

  checks.

        11.    Nonprofit Representing Women’s Right to Self-Defense

        165.   Women for Concealed Carry is a 26 U.S.C. § 501(c)(4) nonprofit

  organization registered in the State of Colorado. Women for Concealed Carry

  supports women’s rights to effective self-defense against physical harm by

  protecting women’s rights to carry concealed firearms, and the organization

  conducts outreach and education to support policies that defend that right.

  Members of the organization use and carry magazines which would be banned

  under HB 1224.

        12.    Nonprofit Representing Colorado Families and Communities

        166.   Colorado Youth Outdoors (“CYO”) is a nonprofit organization whose

  mission is to serve Colorado communities by providing families with opportunities

  to build healthy relationships through traditional outdoor recreation. One of the

  many disciplines in CYO’s program is shooting sports.

        167.   As part of its programming, CYO provides a curriculum for firearm

  safety, as well as a program to introduce families to sport shooting, including

  wildlife management through hunting. These programs stress the lawful,

  responsible and safe use of firearms.


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        168.   Fundraising is an extremely important aspect of CYO’s ongoing

  mission to serve Colorado communities and families. Its most successful fundraiser

  each year is a weekend event involving target shooting.

        169.   Because most of the participants in CYO’s programs are new to

  shooting sports, CYO frequently loans hunting and sporting firearms to

  participants, sometimes for periods exceeding 72 hours. HB 1229 will render this

  aspect of CYO’s programming illegal. Similarly, CYO loans firearms to participants

  at its annual fundraiser, which is held at a for-profit “dude ranch” specializing in

  hosting private events. HB 1229 will have a significant impact on this important

  fundraiser and consequently on CYO’s ability to pursue its mission.

        170.   CYO makes additional firearm loans to other qualified non-profits who

  do not have the resources to own firearms but who occasionally have special

  programs or events requiring the use of firearms. These loans sometimes exceed 72

  hours. Loaning resources and collaboration between non-profits is critical in non-

  profit business operations.

        171.   Constraining laws with narrowing margins for lawful use make it

  more difficult to find qualified board members willing to navigate through vague

  and uncertain firearm legislation. HB 1229 adds another burden to those in

  leadership roles of organizations which own firearms, which will have devastating

  effects on CYO’s board membership.




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  B.     Defendant

         172.    Defendant John Hickenlooper is the Governor of the State of

  Colorado, and is required to ensure that all laws of the state are faithfully executed.

  COLO. CONST. art. IV § 2. As Colorado’s Chief Executive, Governor Hickenlooper is

  the proper defendant to actions to enjoin or invalidate a state statute.

  Developmental Pathways v. Ritter, 178 P.3d 524, 529 (Colo. 2008).

                 IV.   ADDITIONAL SUPPORT FOR ALLEGATIONS

  A.     The Restrictions on Firearms Use in the Bills Is Greater Than That Already
         Determined to Violate the Second Amendment

         173.   The effects of these bills on commonly-used firearms are far more

  overreaching than laws in other locations that have already been determined to be

  unconstitutional. In District of Columbia v. Heller, the Supreme Court addressed a

  prohibition on the possession of handguns in the District of Columbia.

         174.   Significantly for this case, the Heller Court concluded that the

  “inherent right of self-defense has been central to the Second Amendment right.”

  554 U.S. at 628.

         175.   The individual right to keep and bear arms and to use those arms for

  self-defense extends to all firearms that are “in common use at the time.” Id. at 627.

  The Court emphasized that the Second Amendment does protect firearms which are

  “typically possessed by law-abiding citizens for lawful purposes.” Firearms which do

  not meet this standard may be banned if they are “dangerous and unusual

  weapons.” The paradigmatic examples of the latter category are sawed-off shotguns

  and machine guns. Id. at 625, 627.


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          176.   The Court noted that like all constitutional rights, the Second

  Amendment is not absolute in every respect. The Court described three particular

  types of gun controls as “presumptively constitutional”: First, the long-standing

  prohibitions against possession of firearms by felons and the mentally ill. Second,

  laws forbidding the carrying of firearms in “sensitive places such as schools and

  government buildings.” Third, “laws imposing conditions and qualifications on the

  commercial sale of firearms.” Id. at 626-27 (emphasis added).

          177.   HB 1224 and 1229 do not fit within any of the “presumptively

  constitutional” gun control categories described by the Heller Court. The bills do not

  amend Colorado’s long-standing laws forbidding gun possession by various

  categories of persons who have proven themselves to be dangerous. They do not

  affect the carrying of guns in “sensitive places.” They do not set “conditions or

  qualifications” on the “commercial sale” of arms. HB 1229 applies only to non-

  commercial transfers, and to short term-transfers which do not involve any type of

  sale.

          178.   In McDonald v. Chicago, the Supreme Court addressed a ban similar

  to that in Heller that was in place in Chicago and the suburb of Oak Park. The

  McDonald Court held that the Second Amendment right enunciated in Heller

  applies with equal force to the States through the Fourteenth Amendment.

          179.   The McDonald Court reiterated that the right to self-defense is “deeply

  rooted in this nation’s history and tradition,” and that the “ratifiers of the

  Fourteenth Amendment counted the right to keep and bear arms among those



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  fundamental rights necessary to our system of ordered liberty.” 130 S. Ct. at 3036,

  3042. The McDonald Court reiterated the holding in Heller that “the Second

  Amendment protects a personal right to keep and bear arms for lawful purposes,

  most notably for self-defense within the home,” and held that “the Fourteenth

  Amendment incorporates the Second Amendment right recognized in Heller.” Id. at

  3044, 3050.

        180.    By outlawing the larger and smaller magazines which are necessary

  components of the large majority of handguns and of a very large number of rifles,

  HB 1224 is a gun ban even more sweeping than the handgun-only ban which was

  ruled unconstitutional in Heller.

        181.    The Heller Court pointed out that the D.C. handgun ban was “a

  prohibition of an entire class of ‘arms’ that is overwhelmingly chosen by American

  society for that lawful purpose” of self-defense. 554 U.S. at 628. The prohibition was

  so facially unconstitutional that the Heller Court found it unnecessary to use the

  traditional three-tiered system of scrutiny. Responding to Justice Breyer’s attempt

  to apply a balancing test to the D.C. ban, the Heller Court stated that the handgun

  ban failed “any of the standards of scrutiny the Court has applied to enumerated

  constitutional rights.” 554 U.S. at 571. Thus, the handgun ban would have failed

  both strict scrutiny and intermediate scrutiny, and the result was so obvious that

  the Heller Court did not need to discuss the prongs of the two tests.




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        182.   The HB 1224 ban on most handguns and many rifles (accomplished by

  banning the large majority of magazines) is thus even more obviously

  unconstitutional.

        183.   Magazines of 16-20 rounds for handguns, and 16-30 rounds for rifles,

  easily satisfy the “common use” and “typically possessed” standards in Heller.

  Under Heller, their prohibition is thus per se unconstitutional. The Constitution is

  clear, and the balancing has already been done by the enactment of the Second and

  Fourteenth Amendments themselves. Firearms and accessories which are typically

  owned by law-abiding citizens for lawful purposes may not be prohibited.

        184.   Even if it were proper to apply strict or intermediate scrutiny (which it

  is not), the fact that a handgun ban cannot even pass intermediate scrutiny resolves

  the instant case. Handguns are used in the majority of homicides in the United

  States, and in over two hundred thousand violent crimes annually. The number of

  crimes (including multiple victim homicides) in which handguns are used dwarfs

  the number of such crimes involving magazines that hold more than 15 rounds.

  Because a handgun ban cannot survive intermediate scrutiny, the HB 1224

  magazine ban cannot survive strict scrutiny.

        185.   The banned magazines and associated firearms are also lawful in

  Colorado for hunting. While many states specify no magazine limitations for

  hunting, Colorado is among the group that has some limitations. These are as

  follows: Rifles or handguns of any type for small game, no limit; centerfire semi-

  automatic rifles for big game, six rounds; centerfire rifles of other types (e.g., bolt



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  action, pump action, lever action) for big game, no limit; handguns for big game, no

  limit; shotguns for migratory bird hunting, three rounds – otherwise, no limit.

        186.   Regardless of limits while in the field, hunters at their hunting camp

  in isolated areas, or who are driving to or from a hunting trip, may wish to have a

  fully functioning defensive firearm with a fully loaded magazine. This defensive

  arm might be their hunting gun, or it might be another firearm.

        187.   In certain types of big game hunting (e.g., elk or deer) it would be rare

  for a hunter to get more than two shots at an animal. In other types of hunting (e.g.,

  prairie dogs or a pack of coyotes) a significant number of consecutive shots at

  different animals in a group would be common. When Colorado hunters take their

  guns and magazines to go hunting in other states (as many Plaintiffs do, especially

  the members of the Colorado Outfitters Association and the members of the

  Colorado State Shooting Association), hunters may fire a significant number of

  quick shots at game such as wild boars, which are notoriously hardy and ferocious.

  Even the big game hunter who only plans one or two shots for the trophy deer may

  want a firearm with larger capacity in case of attack by bears, mountain lions, other

  large predators, or criminals.

        188.   The   requirement    of   “continuous   possession”   for   grandfathered

  magazines prevents owners of affected firearms from engaging in safety training,

  repair, temporary loans for sporting purposes, and temporary loans for lawful self-

  defense. This self-defense prohibition flatly contradicts Heller and McDonald.




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        189.   The ban on repair and the crippling of defensive instruction violates

  McDonald, which quoted with approval the Tennessee case of Andrews v. State, 50

  Tenn. 165 (1871), which in turn affirmed that the right to keep and bear arms

  includes the right to have firearms repaired and to practice their safe use. A law

  which impedes safe instruction and practice in the use of firearms (as HB 1224 and

  HB 1229 do) is subject to a heightened level of scrutiny which the Defendant cannot

  meet in this case. See Ezell v. Chicago, 651 F.3d 684, 708 (7th Cir. 2011) (enjoining

  municipal ban on gun ranges, the use of which are ancillary to the exercise of core

  Second Amendment rights).

        190.   HB 1224 is facially unconstitutional as a ban on common arms and

  accessories and as a ban on temporary transfers for self-defense.

        191.   Putting aside the facial unconstitutionality, if heightened scrutiny

  were to be applied, HB 1224 does not serve any legitimate governmental purpose,

  let alone the “important” or “compelling” purpose which is necessary under

  heightened scrutiny. To the contrary, the chief House sponsor and the chief Senate

  sponsor of HB 1224 both stated, repeatedly, that the “only” purpose of magazines of

  more than 15 rounds was to kill a large number of people quickly. The fact that tens

  of millions of such magazines are owned by peaceable citizens – and that such

  magazines are chosen by many of the Plaintiff Sheriffs and their Deputies for

  saving lives and for the lawful defense of self and others – demonstrates beyond any

  doubt the falsity of the sponsors’ assertions.




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        192.     Based on the statements of the sponsors themselves, HB 1224 is the

  product of animus – the invidious prejudice that is the quintessence of an

  illegitimate purpose. Romer v. Evans, 517 U.S. 620 (1996); Lawrence v. Texas, 539

  U.S. 558 (2003).

        193.     HB 1224’s ban on the very magazines which a vast number of Sheriffs,

  other law enforcement, and law-abiding citizens choose as the best tools for the

  lawful defense of self and others substantially harms public safety. The ban is

  therefore the opposite of a “necessary” or “substantial” relation to enhancing public

  safety.

        194.     HB 1229 is unconstitutionally overbroad. The 1971 Colorado Supreme

  Court case City of Lakewood v. Pillow, 501 P.2d 744 (Colo. 1972), addressed a

  similarly sweeping gun control ordinance. Citing United States Supreme Court

  precedent, the Pillow Court held that a law is unconstitutional if there are

  “activities . . . entirely free of any criminal culpability yet the ordinance in question

  effectively includes them within its prohibitions.” 501 P.2d at 745 (citing

  Shuttlesworth v. Birmingham, 382 U.S. 87 (1965); Winters v. New York, 333 U.S.

  507 (1948)).

        195.     Under Pillow: “A governmental purpose to control or prevent certain

  activities, which may be constitutionally subject to state or municipal regulation

  under the police power, may not be achieved by means which sweep unnecessarily

  broadly and thereby invade the area of protected freedoms.” Id. at 745 (citing




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  Zwickler v. Koota, 389 U.S. 241 (1967); Aptheker v. Secretary of State, 378 U.S. 500

  (1963); NAACP v. Alabama, 377 U.S. 288 (1964)).

        196.   Moreover: “Even though the governmental purpose may be legitimate

  and substantial, that purpose cannot be pursued by means that broadly stifle

  fundamental personal liberties when the end can be more narrowly achieved.” Id.

  (citing Aptheker, 378 U.S. 500; Shelton v. Tucker, 364 U.S. 479 (1960)).

        197.   Pillow has been followed by several other courts, including in cases

  analyzing excessively intrusive gun control statutes. E.g., Benjamin v. Bailey, 662

  A.2d 1226, 1234 (Conn. 1995); Junction City v. Mevis, 601 P.2d 1145, 1150 (Kan.

  1979); State ex rel. City of Princeton v. Buckner, 377 S.E.2d 139, 143 (W. Va. 1988).

        198.   If strict or intermediate scrutiny are applicable, Defendant must prove

  that HB 1224 and 1229 are “necessary” or have a “substantial” relation to a

  “compelling” or “important” government purpose. HB 1229, which in practice may

  be nearly impossible to comply with, has no necessary or substantial relation to

  anything. It bans temporary transfers for replacement guns for people whose guns

  are being repaired for a week at the gunsmith, for hunters who go on a trip of more

  than 72 hours, for some persons who are being instructed in gun safety, and for

  some other persons who temporarily need guns for self-defense. This ban harms

  public safety rather than furthering it.

        199.   Sections 2-7 of HB 1229 contain various provisions for providing

  existing data to the FBI’s National Instant Criminal Background Check System,

  and revisions of related laws. Section 2-7 is severable from Section 1 of HB 1229,



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  which discusses private temporary transfers and private sales. Section 1 is void in

  toto. To be even arguably constitutional, Section 1 of HB 1229 would have to contain

  temporary transfer exceptions which were deliberately excluded from the bill and

  would also have to set up a functional system of background checks for private sales

  which private individuals could reasonably use. Such language might be created by

  the legislature, but cannot be created by a court. A law covering the same subject as

  Section 1 of HB 1229 might be constitutional in some applications, but Section 1 of

  HB 1229 as written is unconstitutional.

  B.     The Bills Are Unconstitutionally Vague

         200.   The Due Process Clause of the Fourteenth Amendment prohibits

  statutes that are so vague that ordinary persons cannot readily determine whether

  their conduct might expose them to criminal penalties.

         201.   The long-established rule is that “the terms of a penal statue creating

  a new offense must be sufficiently explicit to inform those who are subject to it what

  conduct on their part will render them liable to its penalties is a well-recognized

  requirement . . . and a statute which either forbids or requires the doing of an act in

  terms so vague that men of common intelligence must necessarily guess at its

  meaning and differ as to its application violates the first essential of due process of

  law.” Connally v. General Const. Co., 269 U.S. 385, 391 (1926). What conduct is

  lawful cannot be left to conjecture. “The crime, and the elements constituting it,

  must be so clearly expressed that the ordinary person can intelligently choose, in

  advance, what course it is lawful for him to pursue.” Id. at 393.



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        202.   A statute is also unconstitutionally vague if it may result in arbitrary

  enforcement based on the personal predilections of individual law enforcement

  officers or jurisdictions. Vague statutes are subject to particularly rigorous scrutiny

  when they impact the exercise of constitutional rights.

        203.   The “continuous possession” and “designed to be readily convertible”

  provisions of HB 1224 are both vague, and both severable.

        204.   Any contention that HB 1224’s ban on all magazines “designed to be

  readily converted” somehow does not prohibit smaller magazines with a removable

  floor plate or end cap only highlights the defects in the bill. HB 1224 provides no

  definition of “readily converted,” and the fact is that the large majority of

  magazines can be converted to hold more than 15 rounds.

        205.   Conversions    to   magazines     using     aftermarket   extenders    are

  particularly easy to accomplish. Ordinary gun owners cannot be expected to monitor

  the vast world of aftermarket products in order to know whether an extender is

  currently commercially available for their magazines.

        206.   If the “designed to be readily converted” language does not mean what

  the sponsor and the Governor said it did (a ban on all magazines with removable

  floor plates), the language is unconstitutionally vague. If the ban is somehow

  limited by the intent behind how the magazine was “designed,” then HB 1224 is

  unconstitutionally vague because citizens have no means to discern how a product

  was designed. Neither gun owners nor licensed firearms dealers nor law




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  enforcement officers have a clear guide as to which small magazines are legal and

  which are not, and local law enforcement interpretations will inevitably vary.

         207.   HB 1224 is also vague in its ban on anything “capable of accepting . . .

  more than fifteen rounds of ammunition. Rifle cartridges of a particular diameter

  have varying lengths. For example, the .22 LR (long rifle) cartridge has a total

  length of .975 inches. The .22LR is the most popular cartridge in the United States.

  The .22 Short cartridge is .686 inches long. Many rifles with tube magazines can

  fire either the .22LR or the .22 Short. Thus, a tube magazine which could

  accommodate 12 cartridges of .22LR could also accommodate 17 cartridges of .22

  Short. A rifle owner who only owns .22LR, and who is not even aware that .22 Short

  exists, may think that his 12-round rifle magazine is not outlawed by HB 1224; but

  in fact, such a rifle could be illegal under HB 1224. The ordinary gun owner

  plaintiffs, as well as plaintiffs involved in the firearms business, cannot tell whether

  such rifles are legal to sell or transfer after July 1, 2003.

         208.   HB    1224’s   unconstitutional    requirement    that   a   grandfathered

  magazine be in “continuous possession” of the owner mirrors similar language in

  HB 1229. Both bills had the same House of Representatives sponsor. HB 1229

  exempts from the background check requirement “(g) any temporary transfer that

  occurs while in the continuous presence of the owner of the firearm.” Obviously, this

  means that the owner of the firearm must be present at all times in the exact place

  where the transferee is holding the gun. The requirement of “continuous presence”

  would obviously not be satisfied if the owner left for half an hour or for a few days.



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  Accordingly, “continuous possession” is likewise broken if it is interrupted for half

  an hour or for a few days.

        209.   For the reasons stated in paragraphs 13-14, this is a direct violation of

  the Second Amendment. If any argument is offered that “continuous possession”

  means something else, the argument demonstrates that “continuous possession” is

  void for vagueness.

        210.   Governor Hickenlooper, when signing HB 1224 and 1229, promised

  that “guidance” would be created for their implementation. Such “guidance” is not

  legally binding on all state and local law enforcement officers and prosecutors

  throughout Colorado. Nor can there be any assurance that “guidance” which is

  written in one year will not be changed in a future year. To the extent that the

  guidance suggests that law enforcement refrain from enforcing the actual statutory

  language of HB 1224 and 1229 in certain situations, the guidance would amount to

  an admission that the actual text of those bills is an unconstitutional infringement

  of Second or Fourteenth Amendment rights.

                               FIRST CLAIM FOR RELIEF

       (HB 13-1224 – Violation of Second and Fourteenth Amendments Based on
                 Prohibition of Magazines Larger Than 15 Rounds)

        211.   Paragraphs 1 through 202 are re-alleged and incorporated herein.

        212.   HB 1224 was signed by Governor Hickenlooper on March 20, 2013. It

  explicitly prohibits all magazines with a capacity of larger than 15 rounds that are

  bought, sold or transferred after July 1, 2013.




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        213.   Many common and popular firearms come standard with magazines

  with a capacity larger than 15 rounds.

        214.   Firearms with magazines larger than 15 rounds are in common use for

  exercising the fundamental right of self-defense, the “central component” of

  Plaintiffs’ Second Amendment rights.

        215.   Disabled persons, including the Disabled Plaintiffs, are at a particular

  disadvantage in exercising their right of self-defense because their physical

  infirmities or confinement to a wheelchair means they can less effectively defend

  themselves or their families with fewer available rounds of ammunition, and are

  unable to quickly and safely change magazines.

        216.   Firearms with magazines larger than 15 rounds are commonly used for

  other lawful purposes, including sport shooting and target shooting.

        217.   Plaintiffs will be unable to legally replace magazines that they owned

  prior to the effective date of HB 1224, as those magazines wear out, break, or are

  damaged.

        218.   The Plaintiffs Federal Firearm Licensees and Magpul will be unable to

  sell many popular magazines or sell firearms in their standard configuration as

  supplied by the manufacturers.

        219.   Prohibition on a class of firearms or their accessories that are in

  common use for self-defense and other lawful purposes is specifically prohibited by

  the Second Amendment pursuant to Heller, and the incorporation of the Second

  Amendment right into the Fourteenth Amendment under McDonald.



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                               SECOND CLAIM FOR RELIEF

       (HB 13-1224 – Violation of Second and Fourteenth Amendments Based on
            Prohibition of Magazines “Designed to Be Readily Converted”)

        220.   Paragraphs 1 through 211 are re-alleged and incorporated herein.

        221.   In addition to the explicit prohibition on all magazines larger than

  15 rounds, HB 1224 prohibits magazines of any size that are “designed to be readily

  converted” to hold more than 15 rounds.

        222.   Most magazines 15 rounds or smaller are manufactured with a

  removable floor plate (box magazines) or end cap (tube magazines) to facilitate

  maintenance and cleaning.

        223.   Magazines with a removable floor plate or end cap can be readily

  converted to hold more than 15 rounds. Even box magazines whose floor plate

  cannot be removed can be converted to hold more than 15 rounds, simply by duct

  taping two such magazines end to end.

        224.   HB 1224 bans magazines regardless of whether they actually have

  been converted to hold more than 15 rounds. A ten-round magazine is prohibited by

  HB 1224 even when it is used only by itself.

        225.   Tens of millions of rifles and handguns in common use for self-defense

  and other lawful purposes use magazines of various sizes that contain removable

  floor plates or end caps.

        226.   Many common rifles and handguns will be rendered effectively useless

  by the magazine prohibition. Replacing a magazine after the effective date of the


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  statue will be prohibited, even where an individual wishes to change to a smaller

  magazine. Especially for firearms that are not in current production, it may be

  impossible for citizens to obtain a replacement magazine that complies with HB

  1224.

          227.   The prohibition on most magazines puts disabled individuals,

  including the Disabled Plaintiffs, at particular risk because they will have far less

  ability to meaningfully defend themselves and their families, and far fewer firearms

  from which to choose.

          228.   A ban on the possession of a broad class of functional firearms, as

  specifically addressed by the Supreme Court in Heller, violates the Second

  Amendment as incorporated in the Fourteenth Amendment.


                              THIRD CLAIM FOR RELIEF

   (HB 12-1224 – Violation of Fourteenth Amendment Right to Due Process Based on
         Ambiguity of Language Regarding Magazines 15 Rounds or Smaller)

          229.   Paragraphs 1 through 220 are re-alleged and incorporated herein.

          230.   HB 1224 is unconstitutionally vague in violation of the Fourteenth

  Amendment right to Due Process.

          231.   Plaintiffs cannot determine whether a magazine with a removable

  floor plate or end cap to facilitate maintenance and cleaning was “designed to be

  readily convertible” to hold more than 15 rounds. Plaintiffs cannot possibly know

  the intent of the designers of all the magazines for the firearms which Plaintiffs

  own.



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        232.   Law enforcement officers, including the Plaintiff Sheriffs, likewise

  have no means to determine the intent of magazine designers. Enforcement of the

  provision will be difficult, if not impossible, and will result in differing

  interpretations of the meaning of HB 1224 in different jurisdictions.

        233.   Licensed firearms retailers are likewise unable to ascertain design

  intent, and therefore do not know which magazines can be sold without risk of

  criminal prosecution.

        234.   Because of the ambiguity in the language and the likelihood of

  inconsistent interpretation and enforcement, individuals are chilled in the exercise

  of their Second Amendment rights.

        235.   A statute that is so vague that a person cannot clearly determine what

  conduct may result in criminal prosecution, or that will result in inconsistent

  application, thereby chilling the exercise of another constitutional right, violates the

  Fourteenth Amendment guarantee of Due Process of law.

                             FOURTH CLAIM FOR RELIEF

   (HB 12-1224 – Violation of the Second and Fourteenth Amendments; Requirement
        for “Continuous Possession” of Magazines Owned on the Effective Date)

        236.   Paragraphs 1 through 227 are re-alleged and incorporated herein.

        237.   HB 1224 permits an individual to retain a magazine larger than

  15 rounds or any prohibited smaller magazine that was owned prior to the effective

  date of July 1, 2013, so long as the magazine remains in that individual’s

  “continuous possession.” The statute thus explicitly prohibits the sale or temporary

  transfer of such magazines.


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        238.   The term “continuous possession” is undefined.

        239.   Most magazines are essential to the operation of a firearm. HB 1224

  prohibits any loan, even for a short period of time, of a firearm using a

  grandfathered magazine, including temporary loans among family members (such

  as allowing one’s spouse to use a firearm for self-defense – either while the owner is

  home, or while the owner is away from home), or loaning a magazine and the

  associated firearm to disabled neighbors or friends.

        240.   “Continuous possession” would also prohibit innocuous, routine

  bailments or breaks in the chain of custody of a grandfathered magazine, including

  leaving a magazine with neighbors or friends for safe storage while the owner is out

  of town, or sharing the magazine with another person who is also engaged in a

  shooting event in which the owner was participating.

        241.   “Continuous possession” is undefined and vague, and owners of a

  magazine cannot clearly determine what is required of them to maintain

  “continuous possession” and what conduct may subject them to criminal penalties.

        242.   Law enforcement officials will and do find it impossible to enforce this

  provision because it is impossible to determine whether a magazine was in

  possession of the owner on the statute’s effective date. Law enforcement offices have

  limited resources, and no reasonable investigation can determine the chain of

  custody for every magazine.




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         243.   Because the term “continuous possession” is undefined and vague,

  enforcement will be inconsistent and subject to local interpretation and the

  predilections of individual officers or offices.

         244.   HB 1224’s “continuous possession” requirement chills individuals’

  Second Amendment rights by subjecting them to the threat of criminal prosecution

  for routine, lawful sharing of firearms with covered magazines arising from varying

  interpretations of HB 1224 and inconsistent enforcement.

                               FIFTH CLAIM FOR RELIEF

         (HB 1224 and 1229 – Violation of the Americans With Disabilities Act)

         245.   Paragraphs 1 through 236 are re-alleged and incorporated herein.

         246.   Title II of the Americans With Disabilities Act (“ADA”) prohibits public

  entities from subjecting persons with disabilities to discrimination because of their

  disabilities. 42 U.S.C. § 12132.

         247.   States, including the State of Colorado, are included within the ADA

  definition of public entity. 42 U.S.C. § 12131(1)(A).

         248.   Disabled individuals, including the Disabled Plaintiffs, are subject to

  discrimination by the prohibition on magazines in HB 1224 because they have far

  less ability to defend themselves than do able-bodied persons. Specifically, they are

  unable to change magazines as quickly, and unable to retreat to positions of safety

  where a magazine can be changed.

         249.   HB 1224 puts disabled persons in acute danger in the event of a home

  invasion or other confrontation requiring them to exercise their fundamental right

  to self-defense.
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           250.   Persons with disabilities also routinely temporarily transfer firearms

  to one another and to and from persons who aid them in participation in shooting

  sports and self-defense.

           251.   HB 1229’s restrictions of such temporary transfers restrain persons

  with disabilities from engaging in conduct that is essential to the exercise of their

  Second Amendment rights.

           252.   The right to self-defense is a fundamental right under the Second

  Amendment, and is applied to the states through the Fourteenth Amendment. The

  ADA prohibits states from engaging in such discrimination against disabled

  persons, particularly where it prevents the meaningful exercise of a fundamental

  right.

                                SIXTH CLAIM FOR RELIEF

   (HB 13-12-1229 – Violation of the Second and Fourteenth Amendments Based on
       Restrictions of Firearms Sales and Temporary Transfers - Individuals)

           253.   Paragraphs 1 through 244 are re-alleged and incorporated herein.

           254.   HB 1229 requires background checks prior to many temporary and

  non-commercial transfers of firearms between private individuals.

           255.   For example, the statute allows gifts or loans between some family

  members, but excludes many common family relationships, such as former spouses,

  other partners, stepchildren, and second cousins. Therefore, a person may not loan

  or give a firearm to a former spouse, even when the former spouse has temporary or

  permanent custody of the couple’s children and needs the firearm for protection of

  the children.


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        256.   Similarly, many temporary transfers are limited to 72 hours.

  Therefore, no person may loan a gun for legitimate purposes for longer than three

  days, such as for a disabled person to use while participating in a hunting or a

  sanctioned shooting event; or for a week-long loan to an individual to keep in her

  home when she is criminally threatened but has not yet had time to go to a gun

  store and begin the process of waiting three days (or sometimes longer) for the

  Colorado Bureau of Investigation to approve her purchase of a retail gun.

        257.   The prohibition of non-commercial, temporary transfers is an

  infringement of the Second Amendment.

        258.   Because of the reluctance of home-based Federal Firearms Licensees to

  do business with strangers, and the reluctance of storefront FFLs to perform a $50

  service for the statutory maximum fee of $10, individuals who wish to sell or

  temporarily transfer firearms will find it impossible, or nearly so, to comply with

  HB 1229’s requirement to obtain the services of a FFL.

        259.   In practice, therefore, HB 1229 amounts to a prohibition, rather than a

  regulation, of the covered sales and temporary transfers. As such, it is a violation of

  the Second Amendment right to bear arms, which includes the right to sell or

  temporarily transfer such arms.

                                 RELIEF REQUESTED

  Plaintiffs pray that this Court:

        A.     Enter a declaratory judgment that the provisions of House Bill 13-

  1224, to be codified at C.R.S. § 18-12-301, that prohibit the sale, transfer or

  possession of magazines with larger than a 15-round capacity are a violation of the
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  Second and Fourteenth Amendments of the United States Constitution, and are

  therefore void.

          B.   Enter a declaratory judgment that the provisions of House Bill 13-

  1224, to be codified at C.R.S. §§ 18-12-301 et. seq., that ban the sale, transfer or

  possession of magazines of less than a 15-round capacity violates the Second and

  Fourteenth Amendments to the United States Constitution, and are therefore void.

          C.   Enter a declaratory judgment that the provision of House Bill 13-1224,

  to be codified at C.R.S. § 18-12-302, that requires continuous possession of

  magazines acquired before the effective date of the provision violates the Second

  and Fourteenth Amendments to the United States Constitution, and is therefore

  void.

          D.   Enter a declaratory judgment that the provision of House Bill 13-1224,

  to be codified at C.R.S. § 18-12-302, prohibiting the sale, transfer, or possession of

  magazines smaller than 15 rounds that are “designed to be readily converted to

  accept more than 15 rounds” is vague, fails to give adequate notice of the conduct

  that may result in criminal penalties, may result in inconsistent enforcement, and

  prevents free exercise of Second Amendment rights in violation of Plaintiffs’ rights

  to Due Process of Law under the Fourteenth Amendment to the United States

  Constitution.

          E.   Enter a declaratory judgment that HB 1224 and HB 1229 violate Title

  II of the Americans With Disabilities Act.




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        F.    Enter a declaratory judgment that HB 1229 violates the Second and

  Fourteenth Amendments to the United States Constitution, and is therefore void.

        G.    Issue preliminary and permanent injunctions enjoining Defendant

  John Hickenlooper and any officers, agents, and employees of the State of Colorado

  from administering or enforcing any provisions of HB 1224 and 1229 found to

  violate the United States Constitution or the Americans With Disabilities Act.

        H.    Award Plaintiffs attorneys’ fees and costs and grant other such relief

  as the Court deems proper.

        Dated this 31st day of May, 2013.




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                                         Appendix

  Diagram A. Detachable box magazine

                                         This is a detachable box magazine for the Ruger
                                         Mini-14 rifle. Parts are as follows:

                                         32 = the shell. This is the box in which the
                                         ammunition is contained.

                                         28 = floor plate. Sometimes called the “magazine
                                         bottom,” “base plate,” or “foot plate”. This
                                         Complaint uses “floor plate.”

                                         29 = floor plate retainer. The retainer (29) holds
                                         the floor plate (28) onto the shell (32). There are
                                         many other ways to attach the floor plate to the
                                         magazine shell. For example, a pin might hold the
                                         floor plate in place; or the floor plate might fit into
                                         slots on the magazine shell.

                                         30 = spring. When the magazine is fully loaded,
                                         the spring is fully compressed. When the firing
                                         chamber in the gun is empty, the spring pushes
                                         upward, so that the top round of ammunition in the
                                         magazine is pushed into the firing chamber.

                                          31 = follower. The follower sits on top of the
                                          spring, and underneath the ammunition. It
  provides a solid base for seating of the ammunition. When the magazine is loaded,
  several rounds of ammunition sit in a vertical stack on top of follower. The follower is on
  top of the spring, and the spring sits on the floor plate.




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  Diagram B. Tube magazine.




  This is a schematic for the Remington Model 14. It is a pump-action rifle, first produced
  in 1912. The magazine parts are highlighted with color.

  49 = magazine tube, which contains the ammunition.

  44 = end cap. May also be called “magazine plug” or “removable plug.” Similar in
  function to the floor plate in the detachable box magazine. Can be removed for
  disassembly and cleaning of the magazine. Can be replaced by an extender, which
  increases the ammunition capacity of the magazine.




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  45 = end cap screw (a/k/a “magazine plug screw”). Holds the end cap onto the
  magazine tube, and holds the front of the assembled magazine onto the front of the rifle
  barrel.

  48 = spring. As ammunition is loaded into the magazine, the spring compresses. The
  spring is firmly seated on the end cap. After the shooter has fired a round by pressing
  the trigger, the user pumps the fore-end (35) forward and then back. This cycles the
  “action” of the pump-action gun, so that the empty shell is ejected from the firing
  chamber; then a fresh shell is pushed by the spring from the magazine and into the
  firing chamber.

  43 = magazine follower. Same function as the follower in the box magazine. The
  ammunition is stacked in a horizontal line, with one round of ammunition touching the
  follower. The spring pushes the follower, which pushes the ammunition.

  46 = magazine ring. Holds the middle of the magazine onto the middle of the rifle barrel.

  The back of the magazine tube has threads so that the tube can be screwed into
  connection with the action bar (1), which fits inside the “receiver” (9).




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-01300-MSK-MJW

        JOHN B. COOKE, Sheriff of Weld County, Colorado
        TERRY MAKETA, Sheriff of El Paso County, Colorado
        JUSTIN SMITH, Sheriff of Larimer County, Colorado
        DAVID A. WEAVER, Sheriff of Douglas County, Colorado
        BRUCE W. HARTMAN, Sheriff of Gilpin County, Colorado
        KEN PUTNAM, Sheriff of Cheyenne County, Colorado
        DENNIS SPRUELL, Sheriff of Montezuma County, Colorado
        TIM JANTZ, Sheriff of Moffat County, Colorado
        JERRY MARTIN, Sheriff of Dolores County, Colorado
        MIKE ENSMINGER, Sheriff of Teller County, Colorado
        SHAYNE HEAP, Sheriff of Elbert County, Colorado
        CHAD DAY, Sheriff of Yuma County, Colorado
        FRED D. McKEE, Sheriff of Delta County, Colorado
        LOU VALLARIO, Sheriff of Garfield County, Colorado
        FRED HOSSELKUS, Sheriff of Mineral County, Colorado
        BRETT L. POWELL, Sheriff of Logan County, Colorado
        JAMES FAULL, Sheriff of Prowers County, Colorado
        LARRY KUNTZ, Sheriff of Washington County, Colorado
        BRIAN E. NORTON, Sheriff of Rio Grande County, Colorado
        DUKE SCHIRARD, Sheriff of La Plata County, Colorado
        JIM BEICKER, Sheriff of Fremont County, Colorado
        RONALD BRUCE, Sheriff of Hinsdale County, Colorado
        CHRIS S. JOHNSON, Sheriff of Otero County, Colorado
        FRED JOBE, Sheriff of Custer County, Colorado
        DONALD KRUEGER, Sheriff of Clear Creek County, Colorado
        JAMES CRONE, Sheriff of Morgan County, Colorado
        SI WOODRUFF, Sheriff of Rio Blanco County, Colorado
        TOM RIDENOUR, Sheriff of Kit Carson County, Colorado
        TOM NESTOR, Sheriff of Lincoln County, Colorado
        STAN HILKEY, Sheriff of Mesa County, Colorado
        FORREST FRAZEE, Sheriff of Kiowa County, Colorado
        RICK DUNLAP, Sheriff of Montrose County, Colorado
        TED B. MINK, Sheriff of Jefferson County, Colorado
        DAVE STRONG, Sheriff of Alamosa County, Colorado
        FRED WEGENER, Sheriff of Park County, Colorado
        BRUCE NEWMAN, Sheriff of Huerfano County, Colorado
        RANDY PECK, Sheriff of Sedgwick County, Colorado
        DOMINIC MATTIVI JR., Sheriff of Ouray County, Colorado
        JOHN MINOR, Sheriff of Summit County, Colorado


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       SCOTT FISCHER, Sheriff of Jackson County, Colorado
       PETER GONZALEZ, Sheriff of Archuleta County, Colorado
       RICK BESECKER, Sheriff of Gunnison County, Colorado
       CHARLES “ROB” URBACH, Sheriff of Phillips County, Colorado
       ROD FENSKE, Sheriff of Lake County, Colorado
       GRAYSON ROBINSON, Sheriff of Arapahoe County, Colorado
       DAVID D. CAMPBELL, Sheriff of Baca County, Colorado
       MIKE NORRIS, Sheriff of Saguache County, Colorado
       AMOS MEDINA, Sheriff of Costilla County, Colorado
       MILES CLARK, Sheriff of Crowley County, Colorado
       DAVID ENCINIAS, Sheriff of Bent County, Colorado
       SUE KURTZ, Sheriff of San Juan County, Colorado
       JAMES (JIM) CASIAS, Sheriff of Las Animas County, Colorado
       GARRETT WIGGINS, Sheriff of Routt County, Colorado
       DOUGLAS N. DARR, Sheriff of Adams County, Colorado
       RODNEY JOHNSON, Sheriff of Grand County, Colorado
  COLORADO OUTFITTERS ASSOCIATION;
  COLORADO FARM BUREAU;
  NATIONAL SHOOTING SPORTS FOUNDATION;
  MAGPUL INDUSTRIES;
  COLORADO YOUTH OUTDOORS;
  USA LIBERTY ARMS;
  OUTDOOR BUDDIES, INC.;
  WOMEN FOR CONCEALED CARRY;
  COLORADO STATE SHOOTING ASSOCIATION;
  HAMILTON FAMILY ENTERPRISES, INC. d/b/a FAMILY SHOOTING
  CENTER AT CHERRY CREEK STATE PARK;
  DAVID STRUMILLO;
  DAVID BAYNE;
  DYLAN HARRELL;
  ROCKY MOUNTAIN SHOOTERS SUPPLY;
  2ND AMENDMENT GUNSMITH & SHOOTER SUPPLY, LLC;
  BURRUD ARMS INC. d/b/a JENSEN ARMS;
  GREEN MOUNTAIN GUNS;
  JERRY’S OUTDOOR SPORTS;
  GRAND PRIX GUNS;
  SPECIALTY SPORTS & SUPPLY;
  GOODS FOR THE WOODS;

        Plaintiffs,


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  v.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

         Defendant.

       ANSWER TO FIRST AMENDED COMPLAINT FOR DECLARATORY
                      AND INJUNCTIVE RELIEF

         JOHN W. HICKENLOOPER, Governor of the State of Colorado (“the

  Governor”), hereby submits the following Answer to the “FIRST AMENDED

  COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF”

  (“Complaint”):

                                    I. OVERVIEW

        1. The Governor denies the allegation in paragraph number one (1).

        2. With respect to the allegations of paragraph number two (2) of the

           Complaint, the Governor affirmatively states that allegations in the

           first sentence call for legal conclusions to which no response is required;

           but insofar as a response is required, the Governor denies the

           allegations. The Governor denies allegations in the second sentence of

           paragraph two.

       3. With respect to the allegations of paragraph number three (3) of the

          Complaint, the Governor is without knowledge or information sufficient

          to form a belief as to the truth of the allegations and therefore the

          Governor denies them.

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      4. With respect to the allegations of paragraph number four (4) of the

         Complaint, the Governor affirmatively states that the allegations call for

         legal conclusions to which no response is required; but insofar as a

         response is required, the Governor is without knowledge or information

         sufficient to form a belief as to the truth of the allegations and therefore

         the Governor denies them.

      5. With respect to the allegations of paragraph number five (5) of the

         Complaint, the Governor is without knowledge or information sufficient

         to form a belief as to the truth of the allegations and therefore the

         Governor denies them.

      6. With respect to the allegations of paragraph number six (6) of the

         Complaint, the Governor affirmatively states that allegations call for

         legal conclusions to which no response is required; but insofar as a

         response is required, the Governor is without knowledge or information

         sufficient to form a belief as to the truth of the allegations and therefore

         the Governor denies them.

      7. The Governor admits that an appendix attached to the complaint

         contains diagrams of firearms magazines.

      8. With respect to the allegations of paragraph number eight (8) of the

         Complaint, the Governor is without knowledge or information sufficient



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         to form a belief as to the truth of the allegations and therefore the

         Governor denies them.

      9. With respect to the allegations paragraph number nine (9) of the

          Complaint the Governor is without knowledge or information sufficient

          as to form a belief as to the truth of the allegations concerning “the chief

          sponsor of HB 1224.” The Governor denies the remaining allegations in

          paragraph nine.

      10. With respect to the allegations of paragraph number ten (10) of the

         Complaint, the Governor affirmatively states that allegations call for

         legal conclusions to which no response is required; but insofar as a

         response is required, the Governor is without knowledge or information

         sufficient to form a belief as to the truth of the allegations and therefore

         the Governor denies them.

      11. With respect to the allegations of paragraph eleven (11), the Governor

         affirmatively states that allegations call for legal conclusions to which no

         response is required; but insofar as a response is required, the Governor

         denies the allegations.

      12. With respect to the allegations of paragraph number twelve (12) of the

          Complaint, the Governor affirmatively states that House Bill 13-1224 is

          a writing that speaks for itself.



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      13. With respect to the allegations of paragraph number thirteen (13) of the

          Complaint, the Governor affirmatively states that allegations call for

          legal conclusions to which no response is required; but insofar as a

          response is required, the Governor denies the allegations.

      14. With respect to the allegations of paragraph number fourteen (14) of the

          Complaint, the Governor affirmatively states that allegations call for

          legal conclusions to which no response is required; but insofar as a

          response is required, the Governor denies the allegations.

      15. With respect to the allegations of paragraph number fifteen (15) of the

          Complaint, the Governor affirmatively states that allegations call for

          legal conclusions to which no response is required; but insofar as a

          response is required, the Governor is without knowledge or information

          sufficient to form a belief as to the truth of the allegations, and therefore

          the Governor denies them.

      16. With respect to the allegations of paragraph number sixteen (16) of the

          Complaint, the Governor is without knowledge or information sufficient

          to form a belief as to the truth of the allegations, and therefore the

          Governor denies them.

      17. With respect to the allegations of paragraph number seventeen (17) of

          the Complaint, the Governor is without knowledge or information

          sufficient to form a belief as to the truth of the allegations in the first

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          sentence of the paragraph, and therefore the Governor denies them.

          The allegations in the second sentence of paragraph seventeen call for

          legal conclusions to which no response is required; but insofar as a

          response is required, the Governor denies the allegations.

      18. With respect to the allegations of paragraph number eighteen (18) of the

         Complaint, the Governor affirmatively states that allegations call for

         legal conclusions to which no response is required; but insofar as a

         response is required, the Governor denies the allegations.

      19. The Governor denies the allegations in paragraph nineteen (19). To the

          extent the allegations of paragraph number nineteen (19) of the

          Complaint call for legal conclusions, no response is required; but insofar

          as a response is required, the Governor denies the allegations.

      20. With respect to the allegations of paragraph number twenty (20) of the

          Complaint, the Governor affirmatively states that allegations call for

          legal conclusions to which no response is required; but insofar as a

          response is required, the Governor denies the allegations.

      21. With respect to the allegations of paragraph number twenty-one (21) of

          the Complaint, the Governor affirmatively states that allegations call

          for legal conclusions to which no response is required; but insofar as a

          response is required, the Governor is without knowledge or information

          sufficient to form a belief as to the truth of the allegations and therefore

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          the Governor denies them. The Governor affirmatively states that

          House Bill 13-1224 is a writing that speaks for itself.

      22. With respect to the allegations of paragraph number twenty-two (22) of

          the Complaint, the Governor is without knowledge or information

          sufficient to form a belief as to the truth of the allegations and therefore

          the Governor denies them.

      23. With respect to the allegations of paragraph number twenty-three (23)

          of the Complaint, the Governor affirmatively states that allegations call

          for legal conclusions to which no response is required; but insofar as a

          response is required, the Governor denies the allegations.

      24. With respect to the allegations of paragraph number twenty-four (24) of

          the Complaint, the Governor is without knowledge or information

          sufficient to form a belief as to the truth of the allegations and therefore

          the Governor denies them.

      25. With respect to the allegations of paragraph number twenty-five (25) of

          the Complaint, the Governor is without knowledge or information

          sufficient to form a belief as to the truth of the allegations and therefore

          the Governor denies them.

      26. With respect to the allegations of paragraph number twenty-six (26) of

          the Complaint, the Governor affirmatively states that the allegations



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          call for legal conclusions to which no response is required; but insofar as

          a response is required, the Governor denies the allegations.

      27. With respect to the allegations of paragraph number twenty-seven (27)

          of the Complaint, the Governor affirmatively states that allegations call

          for legal conclusions to which no response is required; but insofar as a

          response is required, the Governor denies the allegations.

      28. With respect to the allegations of paragraph number twenty-eight (28)

          of the Complaint, the Governor affirmatively states that allegations call

          for legal conclusions to which no response is required; but insofar as a

          response is required, the Governor denies the allegations.

      29. With respect to the allegations of paragraph number twenty-nine (29) of

          the Complaint, the Governor affirmatively states that the allegations

          call for legal conclusions to which no response is required; but insofar as

          a response is required, the Governor denies the allegations.

      30. With respect to the allegations of paragraph number thirty (30) of the

          Complaint, the Governor affirmatively states that the allegations call

          for legal conclusions to which no response is required; but insofar as a

          response is required, the Governor denies the allegations.

      31. With respect to the allegations of paragraph number thirty-one (31) of

          the Complaint, the Governor affirmatively states that the allegations



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          call for legal conclusions to which no response is required; but insofar as

          a response is required, the Governor denies the allegations.

      32. With respect to the allegations of paragraph number thirty-two (32) of

          the Complaint, the Governor affirmatively states that the allegations

          call for legal conclusions to which no response is required; but insofar as

          a response is required, the Governor denies the allegations.

                       II.     JURISDICTION AND VENUE

      33. With respect to the allegations of paragraph number thirty-three (33) of

          the Complaint, the Governor denies the allegations.

      34. With respect to the allegations of paragraph number thirty-four (34) of

          the Complaint, the Governor denies the allegations.

      35. The Governor denies the allegations in paragraph number thirty-five

          (35).

      36. With respect to the allegations of paragraph number thirty-six (36) of

          the Complaint, the Governor admits the allegations.

                                    III.   PARTIES

      37. With respect to the allegations of paragraph number thirty-seven (37) of

          the Complaint, the Governor affirmatively states that the allegations

          call for legal conclusions to which no response is required; but insofar as

          a response is required, the Governor denies the allegations.



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      38. The Governor admits the allegations described in paragraph thirty-eight

          (38) of the Complaint.

      39. The Governor admits the allegation described in paragraph thirty-nine

          (39) of the Complaint.

      40. The Governor admits the allegation described in paragraph forty (40) of

          the Complaint.

      41. The Governor admits the allegation described in paragraph forty-one

          (41) of the Complaint.

      42. The Governor admits the allegation described in paragraph forty-two

          (42) of the Complaint.

      43. The Governor admits the allegation described in paragraph forty-three

          (43) of the Complaint.

      44. The Governor admits the allegation described in paragraph forty-four

          (44) of the Complaint.

      45. The Governor admits the allegation described in paragraph forty-five

          (45) of the Complaint.

      46. The Governor admits the allegation described in paragraph forty-six

          (46) of the Complaint.

      47. The Governor admits the allegation described in paragraph forty-seven

          (47) of the Complaint.



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      48. The Governor admits the allegation described in paragraph forty-eight

          (48) of the Complaint.

      49. The Governor admits the allegation described in paragraph forty-nine

          (49) of the Complaint.

      50. The Governor admits the allegation described in paragraph fifty (50) of

          the Complaint.

      51. The Governor admits the allegation described in paragraph fifty-one

          (51) of the Complaint.

      52. The Governor admits the allegation described in paragraph fifty-two

          (52) of the Complaint.

      53. The Governor admits the allegation described in paragraph fifty-three

          (53) of the Complaint.

      54. The Governor admits the allegation described in paragraph fifty-four

          (54) of the Complaint.

      55. The Governor admits the allegation described in paragraph fifty-five

          (55) of the Complaint.

      56. The Governor admits the allegation described in paragraph fifty-six (56)

          of the Complaint.

      57. The Governor admits the allegation described in paragraph fifty-seven

          (57) of the Complaint.



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      58. The Governor admits the allegation described in paragraph fifty-eight

          (58) of the Complaint.

      59. The Governor admits the allegation described in paragraph fifty-nine

          (59) of the Complaint.

      60. The Governor admits the allegation described in paragraph sixty (60) of

          the Complaint.

      61. The Governor admits the allegation described in paragraph sixty-one

          (61) of the Complaint.

      62. The Governor admits the allegation described in paragraph sixty-two

          (62) of the Complaint.

      63. The Governor admits the allegation described in paragraph sixty-three

          (63) of the Complaint.

      64. The Governor admits the allegation described in paragraph sixty-four

          (64) of the Complaint.

      65. The Governor admits the allegation described in paragraph sixty-five

          (65) of the Complaint.

      66. The Governor admits the allegation described in paragraph sixty-six

          (66) of the Complaint.

      67. The Governor admits the allegation described in paragraph sixty-seven

          (67) of the Complaint.



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      68. The Governor admits the allegation described in paragraph sixty-eight

          (68) of the Complaint.

      69. The Governor admits the allegation described in paragraph sixty-nine

          (69) of the Complaint.

      70. The Governor admits the allegation described in paragraph seventy (70)

          of the Complaint.

      71. The Governor admits the allegation described in paragraph seventy-one

          (71) of the Complaint.

      72. The Governor admits the allegation described in paragraph seventy-two

          (72) of the Complaint.

      73. The Governor admits the allegation described in paragraph seventy-

          three (73) of the Complaint.

      74. The Governor admits the allegation described in paragraph seventy-four

          (74) of the Complaint.

      75. The Governor admits the allegation described in paragraph seventy-five

          (75) of the Complaint.

      76. The Governor admits the allegation described in paragraph seventy-six

          (76) of the Complaint.

      77. The Governor admits the allegation described in paragraph seventy-

          seven (77) of the Complaint.



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      78. The Governor admits the allegation described in paragraph seventy-

          eight (78) of the Complaint.

      79. The Governor admits the allegation described in paragraph seventy-

          nine (79) of the Complaint.

      80. The Governor admits the allegation described in paragraph eighty (80)

          of the Complaint.

      81. The Governor admits the allegation described in paragraph eighty-one

          (81) of the Complaint.

      82. The Governor admits the allegation described in paragraph eighty-two

          (82) of the Complaint.

      83. The Governor admits the allegation described in paragraph eighty-three

          (83) of the Complaint.

      84. The Governor admits the allegation described in paragraph eighty-four

          (84) of the Complaint.

      85. The Governor admits the allegation described in paragraph eighty-five

          (85) of the Complaint.

      86. The Governor admits the allegation described in paragraph eighty-six

          (86) of the Complaint.

      87. The Governor admits the allegation described in paragraph eighty-seven

          (87) of the Complaint.



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      88. The Governor admits the allegation described in paragraph eighty-eight

          (88) of the Complaint.

      89. The Governor admits the allegation described in paragraph eighty-nine

          (89) of the Complaint.

      90. The Governor admits the allegation described in paragraph ninety (90)

          of the Complaint.

      91. The Governor admits the allegation described in paragraph ninety-one

          (91) of the Complaint.

      92. The Governor admits the allegation described in paragraph ninety-two

          (92) of the Complaint.

      93. With respect to the allegations of paragraph number ninety-three (93) of

          the Complaint, the Governor affirmatively states that the allegations

          call for legal conclusions to which no response is required; but insofar as

          a response is required, the Governor denies the allegations.

      94. With respect to the allegations of paragraph number ninety-four (94) of

          the Complaint, the Governor affirmatively states that the allegations

          call for legal conclusions to which no response is required; but insofar as

          a response is required, the Governor denies the allegations.

      95. With respect to the allegations of the first two sentence of paragraph

          number ninety-five (95) of the Complaint, the Governor affirmatively

          states that the allegations call for legal conclusions to which no response

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          is required; but insofar as a response is required, the Governor denies

          the allegations. With respect to the allegations of the last sentence of

          paragraph number ninety-five (95) of the Complaint, the Governor is

          without knowledge or information sufficient to form a belief as to the

          truth of the allegations and therefore the Governor denies them.

      96. With respect to the allegations of paragraph number ninety-six (96) of

          the Complaint, the Governor is without knowledge or information

          sufficient to form a belief as to the truth of the allegations and therefore

          the Governor denies them.

      97. With respect to the allegations of paragraph number ninety-seven (97)

          of the Complaint, the Governor is without knowledge or information

          sufficient to form a belief as to the truth of the allegations and therefore

          the Governor denies them.

      98. With respect to the allegations of paragraph number ninety-eight (98) of

          the Complaint, the Governor is without knowledge or information

          sufficient to form a belief as to the truth of the allegations and therefore

          the Governor denies them.

      99. With respect to the allegations of paragraph number ninety-nine (99) of

          the Complaint, the Governor affirmatively states that the allegations

          call for legal conclusions to which no response is required, and contains

          factual allegations that the Governor lacks sufficient knowledge to

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          answer and therefore denies; insofar as a response is required, the

          Governor denies the allegations.

      100.    With respect to the allegations of paragraph number one hundred

          (100) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies the

          allegations.

      101.    With respect to the allegations of paragraph number one hundred-

          one (101) of the Complaint, the Governor affirmatively states that

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      102.    With respect to the allegations of paragraph number one hundred-

          two (102) of the Complaint, the Governor affirmatively states that

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      103.    With respect to the allegations of paragraph number one hundred-

          three (103) of the Complaint, the Governor affirmatively states that

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          C.R.S. 16-2.5-101, et seq. and C.R.S. 30-10-501, et seq. are writings that

          speak for themselves. With respect to all other allegations of paragraph

          number one hundred-three (103) of the Complaint, the Governor is

          without knowledge or information sufficient to form a belief as to the

          truth of the allegations and therefore the Governor denies them.

      104.    With respect to the allegations of paragraph number one hundred-

          four (104) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      105.    With respect to the allegations of paragraph number one hundred-

          five (105) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      106.    With respect to the allegations of paragraph number one hundred-

          six (106) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      107.    With respect to the allegations of paragraph number one hundred-

          seven (107) of the Complaint, the Governor is without knowledge or

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          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      108.    With respect to the allegations of paragraph number one hundred-

          eight (108) of the Complaint, the Governor affirmatively states that

          House Bill 13-1229 is a writing that speaks for itself.

      109.    With respect to the allegations of paragraph number one hundred-

          nine (109) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      110.    With respect to the allegations of paragraph number one hundred-

          ten (110) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      111.    With respect to the allegations of all parts of paragraph number

          one hundred-eleven (111) of the Complaint, the Governor affirmatively

          states that allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      112.    With respect to the allegations of paragraph number one hundred-

          twelve (112) of the Complaint, the Governor affirmatively states that

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          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      113.    With respect to the allegations of paragraph number one hundred-

          thirteen (113) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      114.    With respect to the allegations of paragraph number one hundred-

          fourteen (114) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      115.    With respect to the allegations of paragraph number one hundred-

          fifteen (115) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      116.    With respect to the allegations of paragraph number one hundred-

          sixteen (116) of the Complaint, the Governor is without knowledge or



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          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      117.    With respect to the allegations of paragraph number one hundred-

          seventeen (117) of the Complaint, the Governor affirmatively states that

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      118.    With respect to the allegations of paragraph number one hundred-

          eighteen (118) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      119.    With respect to the allegations of paragraph number one hundred-

          nineteen (119) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      120.    With respect to the allegations of paragraph number one hundred-

          twenty (120) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.



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      121.    With respect to the allegations of paragraph number one hundred-

          twenty-one (121) of the Complaint, the Governor denies the allegations.

      122.    With respect to the allegations of paragraph number one hundred-

          twenty-two (122) of the Complaint, the Governor denies the allegations.

      123.    With respect to the allegations of paragraph number one hundred-

          twenty-three (123) of the Complaint, the Governor affirmatively states

          that allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      124.    With respect to the allegations of paragraph number one hundred-

          twenty-four (124) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      125.    With respect to the allegations of paragraph number one hundred-

          twenty-five (125) of the Complaint, the Governor affirmatively states

          that allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.



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      126.    With respect to the allegations of paragraph number one hundred-

          twenty-six (126) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      127.    With respect to the allegations of paragraph number one hundred-

          twenty-seven (127) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      128.    With respect to the allegations of paragraph number one hundred-

          twenty-eight (128) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      129.    With respect to the allegations of paragraph number one hundred-

          twenty-nine (129) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      130.    With respect to the allegations of paragraph number one hundred-

          thirty 130) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.



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      131.    With respect to the allegations of paragraph number one hundred-

          thirty-one (131) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      132.    With respect to the allegations of paragraph number one hundred-

          thirty-two (132) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      133.    With respect to the allegations of paragraph number one hundred-

          thirty-three (133) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      134.    With respect to the allegations of paragraph number one hundred-

          thirty-four (134) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      135.    With respect to the allegations of paragraph number one hundred-

          thirty-five (135) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.



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      136.    With respect to the allegations of paragraph number one hundred-

          thirty-six (136) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      137.    With respect to the allegations of paragraph number one hundred-

          thirty-seven (137) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      138.    With respect to the allegations of paragraph number one hundred-

          thirty-eight (138) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      139.    With respect to the allegations of paragraph number one hundred-

          thirty-nine (139) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.



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      140.    With respect to the allegations of paragraph number one hundred-

          forty (140) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      141.    With respect to the allegations of paragraph number one hundred-

          forty-one (141) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      142.    With respect to the allegations of paragraph number one hundred-

          forty-two (142) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      143.    With respect to the allegations of paragraph number one hundred-

          forty-three (143) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      144.    With respect to the allegations of paragraph number one hundred-

          forty-four (144) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.



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      145.    With respect to the allegations of paragraph number one hundred-

          forty-five (145) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      146.    With respect to the allegations of paragraph number one hundred-

          forty-six (146) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      147.    With respect to the allegations of paragraph number one hundred-

          forty-seven (147) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      148.    With respect to the allegations of paragraph number one hundred-

          forty-eight (148) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      149.    With respect to the allegations of paragraph number one hundred-

          forty-nine (149) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.



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      150.    With respect to the allegations of paragraph number one hundred-

          fifty (150) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      151.    With respect to the allegations of paragraph number one hundred-

          fifty-one (151) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      152.    With respect to the allegations of paragraph number one hundred-

          fifty-two (152) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      153.    With respect to the allegations of paragraph number one hundred-

          fifty-three (153) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      154.    With respect to the allegations of paragraph number one hundred-

          fifty-four (154) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.



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      155.    With respect to the allegations of paragraph number one hundred-

          fifty-five (155) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      156.    With respect to the allegations of paragraph number one hundred-

          fifty-six (156) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      157.    With respect to the allegations of paragraph number one hundred-

          fifty-seven (157) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      158.    With respect to the allegations of paragraph number one hundred-

          fifty-eight (158) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      159.    With respect to the allegations of paragraph number one hundred-

          fifty-nine (159) of the Complaint, the Governor affirmatively states that

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor is without knowledge



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          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      160.    With respect to the allegations of paragraph number one hundred-

          sixty (160) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      161.    With respect to the allegations of paragraph number one hundred-

          sixty-one (161) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      162.    With respect to the allegations of paragraph number one hundred-

          sixty-two (162) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      163.    With respect to the allegations of paragraph number one hundred-

          sixty-three (163) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      164.    With respect to the allegations of paragraph number one hundred-

          sixty-four (164) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

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          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      165.    With respect to the allegations of paragraph number one hundred-

          sixty-five (165) of the Complaint, the Governor affirmatively states that

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      166.    With respect to the allegations of paragraph number one hundred-

          sixty-six (166) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      167.    With respect to the allegations of paragraph number one hundred-

          sixty-seven (167) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      168.    With respect to the allegations of paragraph number one hundred-

          sixty-eight (168) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

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      169.    With respect to the allegations of paragraph number one hundred-

          sixty-nine (169) of the Complaint, the Governor affirmatively states that

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      170.    With respect to the allegations of paragraph number one hundred-

          seventy (170) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      171.    With respect to the allegations of paragraph number one hundred-

          seventy-one (171) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      172.    With respect to the allegations in paragraph one-hundred seventy-

          two (172) the Governor admits that he is the Governor of the State of

          Colorado. To the extent a response is required, Colo. Const. art. IV, § 2,

          speaks for itself. To the extent a response is required to the last

          sentence of paragraph 172, the Governor denies the allegations.

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      173.    With respect to the allegations of paragraph number one hundred-

          seventy-three (173) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      174.    With respect to the allegations of paragraph number one hundred-

          seventy-four (174) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      175.    With respect to the allegations of paragraph number one hundred-

          seventy-five (175) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      176.    With respect to the allegations of paragraph number one hundred-

          seventy-six (176) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.



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      177.    With respect to the allegations of paragraph number one hundred-

          seventy-seven (177) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      178.    With respect to the allegations of paragraph number one hundred-

          seventy-eight (178) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      179.    With respect to the allegations of paragraph number one hundred-

          seventy-nine (179) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      180.    With respect to the allegations of paragraph number one hundred-

          eighty (180) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies the

          allegations.



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      181.    With respect to the allegations of paragraph number one hundred-

          eighty-one (181) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      182.    With respect to the allegations of paragraph number one hundred-

          eighty-two (182) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      183.    With respect to the allegations of paragraph number one hundred-

          eighty-three (183) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      184.    With respect to the allegations of paragraph number one hundred-

          eighty-four (184) of the Complaint, the Governor lacks knowledge

          sufficient to admit or deny that that handguns are used in the majority

          of homicides in the United States, but with respect to the remainder of

          the allegations of paragraph number one hundred-eighty-four (184) of

          the Complaint, the Governor affirmatively states that the allegations

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          call for legal conclusions to which no response is required; but insofar as

          a response is required, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      185.    With respect to the allegations of paragraph number one hundred-

          eighty-five (185) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      186.    With respect to the allegations of paragraph number one hundred-

          eighty-six (186) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      187.    The Governor lacks knowledge sufficient to admit or deny the

          allegations of paragraph one hundred-eighty-seven (187), and therefore

          denies them.

      188.    With respect to the allegations of paragraph number one hundred-

          eighty-eight (188) of the Complaint, the Governor affirmatively states

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          that allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      189.    With respect to the allegations of paragraph number one hundred-

          eighty-nine (189) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      190.    The Governor denies the allegations in paragraph number one

          hundred-ninety (190) of the Complaint.

      191.    With respect to the allegations of paragraph number one hundred-

          ninety-one (191) of the Complaint, the Governor affirmatively states

          that allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      192.    The Governor denies the allegations in paragraph number one

          hundred-ninety-two (192) of the Complaint.

      193.    The Governor denies the allegations in paragraph one hundred-

          ninety-three (193) of the Complaint.

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      194.    The Governor denies the allegations in the first sentence of

          paragraph one hundred ninety-four (194) of the Complaint. With

          respect to the remaining allegations of paragraph number one hundred-

          ninety-four (194) of the Complaint, the Governor affirmatively states

          that allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      195.    With respect to the allegations of paragraph number one hundred-

          ninety-five (195) of the Complaint, the Governor affirmatively states

          that allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      196.    With respect to the allegations of paragraph number one hundred-

          ninety-six (196) of the Complaint, the Governor affirmatively states that

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies the

          allegations.

      197.    With respect to the allegations of paragraph number one hundred-

          ninety-seven (197) of the Complaint, the Governor affirmatively states

          that allegations call for legal conclusions to which no response is



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          required; but insofar as a response is required, the Governor denies the

          allegations.

      198.    With respect to the allegations of paragraph number one hundred-

          ninety-eight (198) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      199.    With respect to the allegations of paragraph number one hundred-

          ninety-nine (199) of the Complaint, the Governor affirmatively states

          that House Bill 13-1229 is a writing that speaks for itself. With respect

          to the remainder of the allegations of paragraph number one hundred-

          ninety-nine (199) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      200.    With respect to the allegations of paragraph number two hundred

          (200) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies the

          allegations.



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      201.    With respect to the allegations of paragraph number two hundred-

          one (201) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies the

          allegations.

      202.    With respect to the allegations of paragraph number two hundred-

          two (202) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies the

          allegations.

      203.    With respect to the allegations of paragraph number two hundred-

          three (203) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies the

          allegations.

      204.    With respect to the allegations of paragraph number two hundred-

          four (204) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies the

          allegations.



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      205.    With respect to the allegations of paragraph number two hundred-

          five (205) of the Complaint, the Governor lacks knowledge sufficient to

          admit or deny the allegations, and therefore denies them.

      206.    With respect to the allegations of paragraph number two-hundred-

          six (206) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies them.

      207.    With respect to the allegations of paragraph number two hundred-

          seven (207) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      208.    With respect to the allegations of paragraph number two hundred-

          eight (208) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor denies the

          allegations.

      209.    The Governor denies the allegations in paragraph number two

          hundred-nine (209) of the Complaint.



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      210.    With respect to the allegations of paragraph number two hundred-

          ten (210) of the Complaint, the Governor admits that he issued a signing

          statement requiring interpretive guidance regarding House Bill 13-1224

          and House Bill 13-1229 be issued, that the Department of Law issued

          such guidance on May 16, 2013, and that the guidance has been made

          publicly available. With respect to the remaining allegations of

          paragraph number two hundred-ten (210) of the Complaint, the

          Governor affirmatively states that the allegations call for legal

          conclusions to which no response is required; but insofar as a response

          is required, the Governor denies the allegations.


                           FIRST CLAIM FOR RELIEF


      211.    With respect to the allegations of paragraph number two hundred-

          eleven (211), the Governor responds as if the answers set forth in

          paragraphs numbers one (1) through two hundred-ten (210) of this

          answer were set forth in full in this paragraph.

      212.    With respect to paragraph number two hundred-twelve (212) of the

          Complaint, the Governor admits that he signed HB 1224 on or about

          March 20, 2013. With respect to the remaining allegations, the

          Governor affirmatively states that the statute speaks for itself.




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      213.    The Governor lacks information sufficient to admit or deny the

          allegations in paragraph 213, and therefore denies them.

      214.    With respect to the allegations of paragraph number two hundred-

          fourteen (214) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      215.    With respect to the allegations of paragraph number two hundred-

          fifteen (215) of the Complaint, the Governor lacks information sufficient

          to admit or deny the allegations, and therefore denies them.

      216.    With respect to the allegations of paragraph number two hundred-

          sixteen (216) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      217.    With respect to the allegations of paragraph number two hundred-

          seventeen (217) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.



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      218.     With respect to the allegations of paragraph number two hundred-

          eighteen (218) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      219.     With respect to the allegations of paragraph number two hundred-

          nineteen (219) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

                             SECOND CLAIM FOR RELEIF

      220.     With respect to the allegations of paragraph number two hundred-

          twenty (220) of the Complaint, the Governor responds as if the answers

          set forth in paragraphs numbers one (1) through two hundred-nineteen

          of this answer were set forth in full in this paragraph.

      221.     With respect to the allegations of paragraph number two hundred-

          twenty (221) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the statute speaks for

          itself.

      222.     With respect to the allegations of paragraph number two hundred-

          twenty-two (222) of the Complaint, the Governor is without knowledge

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          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      223.    With respect to the allegations of paragraph number two hundred-

          twenty-three (223) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      224.    The Governor denies the allegations in paragraph number two

          hundred-twenty-four (224) of the Complaint.

      225.    With respect to the allegations of paragraph number two hundred-

          twenty-five (225) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      226.    With respect to the allegations of paragraph number two hundred-

          twenty-six (226) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor is without

          knowledge or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.



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      227.    With respect to the allegations of paragraph number two hundred-

          twenty-seven (227) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      228.    The Governor denies the allegations in paragraph number two

          hundred-twenty-eight (228) of the Complaint.

                              THRID CLAIM FOR RELIEF

      229.    With respect to the allegations of paragraph number two hundred

          twenty-nine (229) of the Complaint, the Governor responds as if the

          answers set forth in paragraphs numbers one (1) through two hundred

          twenty-eight (228) of this answer were set forth in full in this

          paragraph.

      230.    The Governor denies the allegations in paragraph number two

          hundred-thirty (230) of the Complaint.

      231.    With respect to the allegations of paragraph number two hundred-

          thirty-one (231) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      232.    With respect to the allegations of paragraph number two hundred-

          thirty-two (232) of the Complaint, the Governor is without knowledge or



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          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      233.    With respect to the allegations of paragraph number two hundred-

          thirty-three (233) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      234.    With respect to the allegations of paragraph number two hundred-

          thirty-four (234) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      235.    With respect to the allegations of paragraph number two hundred-

          thirty-five (235) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

                              FOURTH CLAIM FOR RELIEF

      236.    With respect to the allegations of paragraph number two hundred

          thirty-six (236) of the Complaint, the Governor responds as if the

          answers set forth in paragraphs numbers one (1) through two hundred

          thirty-five (235) of this answer were set forth in full in this paragraph.

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      237.    With respect to the allegations of paragraph two hundred thirty-

          seven (237), the Governor affirmatively states that House Bill 13-1224 is

          a writing that speaks for itself. With respect to the remaining

          allegations of paragraph 237, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;

          but insofar as a response is required, the Governor affirmatively states

          that the statute speaks for itself.

      238.    With respect to the allegations of paragraph two hundred thirty-

          eight (238), the Governor affirmatively states that House Bill 13-1224 is

          a writing that speaks for itself.

      239.    With respect to the allegations of in the first sentence of paragraph

          number two hundred-thirty-nine (239) of the Complaint, the Governor is

          without knowledge or information sufficient to form a belief as to the

          truth of the allegations and therefore the Governor denies them. The

          remaining allegations in paragraph 239 call of legal conclusions to

          which no response is required; but insofar as a response is required, the

          Governor affirmatively states that the statute speaks for itself.

      240.    With respect to the allegations of paragraph number two hundred-

          forty (240) of the Complaint, the Governor affirmatively states that the

          allegations call for legal conclusions to which no response is required;



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          but insofar as a response is required, the Governor lacks knowledge

          sufficient to admit or deny the allegations, and therefore denies them.

      241.    The Governor denies the allegations in paragraph number two

          hundred-forty-one (241) of the Complaint.

      242.    With respect to the allegations of paragraph number two hundred-

          forty-two (242) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      243.    With respect to the allegations of paragraph number two hundred-

          forty-three (243) of the Complaint, the Governor is without knowledge

          or information sufficient to form a belief as to the truth of the

          allegations and therefore the Governor denies them.

      244.    With respect to the allegations of paragraph number two hundred-

          forty-four (244) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

                               FIFTH CLAIM FOR RELIEF

      245.    With respect to the allegations of paragraph number two hundred

          forty-five (245) of the Complaint, the Governor responds as if the



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          answers set forth in paragraphs numbers one (1) through two hundred

          forty-four (244) of this answer were set forth in full in this paragraph.

      246.    With respect to the allegations of paragraph two hundred forty-six

          (246), the Governor affirmatively states that Title II of the Americans

          with Disabilities Act (ADA) is a writing that speaks for itself.

      247.    With respect to the allegations of paragraph two hundred forty-

          seven (247), the Governor affirmatively states that definitions contained

          within the ADA are writings that speak for themselves.

      248.    With respect to the allegations of paragraph number two hundred-

          forty-eight (248) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor lacks

          knowledge sufficient to admit or deny the allegations, and therefore

          denies them.

      249.    With respect to the allegations of paragraph number two hundred-

          forty-nine (249) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      250.    With respect to the allegations of paragraph number two hundred-

          fifty (250) of the Complaint, the Governor is without knowledge or



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          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      251.     The Governor denies the allegations in paragraph number two

          hundred-fifty-one (251) of the Complaint.

      252.     With respect to the allegations of paragraph number two hundred-

          fifty-two (252) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

                               SIXTH CLAIM FOR RELIEF

      253.     With respect to the allegations of paragraph number two hundred

          fifty-three (253) of the Complaint, the Governor responds as if the

          answers set forth in paragraphs numbers one (1) through two hundred

          fifty-two (252) of this answer were set forth in full in this paragraph.

      254.     With respect to the allegations of paragraph two hundred fifty-four

          (254), the Governor affirmatively states that HB 1229 is a writing that

          speaks for itself.

      255.     With respect to the allegations of paragraph number two hundred-

          fifty-five (255) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is



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          required; but insofar as a response is required, the Governor denies the

          allegations.

      256.    With respect to the allegations of paragraph number two hundred-

          fifty-six (256) of the Complaint, the Governor affirmatively states that

          the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      257.    With respect to the allegations of paragraph number two hundred-

          fifty-seven (257) of the Complaint, the Governor affirmatively states

          that the allegations call for legal conclusions to which no response is

          required; but insofar as a response is required, the Governor denies the

          allegations.

      258.    With respect to the allegations of paragraph number two hundred-

          fifty-eight (258) of the Complaint, the Governor is without knowledge or

          information sufficient to form a belief as to the truth of the allegations

          and therefore the Governor denies them.

      259.    The Governor denies the allegations in paragraph number two

          hundred-fifty-nine (259) of the Complaint.

      260.    The Governor denies all allegations contained in the Complaint not

          specifically admitted in this answer.



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                                     RELIEF REQUESTED

       261.     The Governor denies that Plaintiffs are entitled to the relief they

            request, including their requests for declaratory relief, injunctive relief,

            and attorney fees and costs.

                                 AFFIRMATIVE DEFENSES


        1.      Plaintiffs have failed to state claims for relief.

        2.      Plaintiffs’ claims may be barred because Plaintiffs lack a private

  right of action.

        3.      Plaintiffs’ claims may be barred by Eleventh Amendment immunity.

        4.      Plaintiffs’ claims may be barred because some or all Plaintiffs lack

  the standing to assert them.

        5.      Plaintiffs have been afforded all the rights, privileges, and

  immunities granted by the United States Constitution, the Colorado

  Constitution, and state and federal law.

        6.      The Governor is not a proper party to some or all of Plaintiffs’

  claims.

        7.      This court lacks subject matter jurisdiction over Plaintiffs’ claims.

        8.      Plaintiffs have not been excluded from participation in the benefits

  and programs of a public entity.




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        9.     The Governor reserves the right to assert additional affirmative

  defenses or rescind affirmative defenses after further investigation and

  discovery.

        Wherefore, the Governor requests this Court to enter judgment in their

  favor and additionally request attorney fees and any other relief this Court

  deems just and proper.

                                      JOHN W. SUTHERS
                                      Attorney General


                                      s/ Kathleen Spalding
                                      Daniel D. Domenico*
                                      Solicitor General
                                      David C. Blake*
                                      Deputy Attorney General
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                                      Senior Assistant Attorney General
                                      Jonathan P. Fero*
                                      Assistant Solicitor General
                                      Matthew D. Grove*
                                      Assistant Attorney General
                                      *Counsel of Record




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                          CERTIFICATE OF SERVICE

         I hereby certify that on June 7         , 2013 I served a true and
  complete copy of the foregoing ANSWER TO FIRST AMENDED COMPLAINT
  FOR DECLARATORY AND INJUNCTIVE RELIEF upon all counsel of record
  listed below via the CM/ECF system for the United States District Court for the
  District of Colorado:

  David B. Kopel                          david@i2i.org

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                                             s/ Debbie Bendell




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

     Civil Action No. 13-cv-01300-MSK-MJW

     JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.,

     Plaintiffs,

     v.

     JOHN W. HICKENLOOPER
     in his official capacity as Governor of the State of Colorado,

     Defendant.

      GOVERNOR’S MOTION FOR CERTIFICATION OF QUESTIONS
           OF LAW TO THE COLORADO SUPREME COURT

             Defendant, Governor John W. Hickenlooper, by and through

     undersigned counsel, hereby moves for the certification of the following

     questions of law pertaining to Counts II, III, and IV of the First Amended

     Complaint. As outlined below, Plaintiffs’ complaint presents novel and

     uncertain constitutional questions; clear guidance from the Colorado

     Supreme Court as to the scope and meaning of these challenged provisions

     as a matter of state law will potentially be determinative of several of the

     questions presented in Plaintiffs’ federal lawsuit. In addition, the

     Governor will not object to the entry of a preliminary injunction in the

     form of the proposed order attached hereto as Exhibit A, during the

     pendency of any certification proceeding.

             As grounds for this motion, the Governor states as follows:

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                                      Duty to confer

           1.    Pursuant to D.C.Colo.L.CivR. 7.1A, undersigned counsel

     conferred with counsel for the Plaintiffs concerning this motion during a

     phone conference on June 6, 2013. Plaintiffs object to this motion and the

     relief requested herein.

       Standards for certification of questions to the Colorado Supreme Court

           2.    Colorado Appellate Rule 21.1 permits the Colorado Supreme

     Court to answer a question of law certified to it by a United States District

     Court if the question “may be determinative of the cause then pending in

     the certifying court and as to which it appears to the certifying court there

     is no controlling precedent in the decisions of the [Colorado] Supreme

     Court.” Colo. App. R. 21.1(a).

           3.    Federal courts do not certify questions to “sister state courts

     every time an arguably unsettled question of state law comes across

     [their] desks.” Pino v. United States, 507 F.3d 1233, 1236 (10th Cir. 2007).

     However, courts will certify questions “in circumstances where the

     question… (1) may be determinative of the case at hand and (2) is

     sufficiently novel that we feel uncomfortable attempting to decide it

     without further guidance.” Id.

           4.    Certification of questions of law to a state supreme court is

     particularly appropriate when a lawsuit filed in federal court alleges that

     a challenged state law is unconstitutionally vague. While a federal court
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     may of course rely on the doctrine of avoidance in order to avoid reaching

     unnecessary constitutional conclusions, see, e.g., Ashwander v. Tennessee

     Valley Authority, 297 U.S. 288, 346-48 (1936) (Brandeis, J., concurring), it

     is well-settled that federal courts should abstain from – or at least defer –

     deciding challenges to state law that involve unsettled questions in a

     “sensitive area of social policy” involving “substantial constitutional

     issue[s].” R.R. Comm’n of Tex. v. Pullman Co., 312 U.S. 496, 498 (1941).

     This is particularly true in situations where the constitutional issue could

     be “avoided if a definitive ruling on the state issue would terminate the

     controversy.” Id., see also Growe v. Emison, 507 U.S 25, 32 n.1 (1993).

           5.      The advent of state-court certification procedures, which the

     United States Supreme Court has urged the lower federal courts to utilize,

     has reduced reliance on Pullman abstention over the past several decades.

     See Arizonans for Official English v. Arizona, 520 U.S. 43, 75-76 (1997)

     (noting that “[c]ertification today covers territory once dominated by a

     deferral device called ‘Pullman’ abstention”).

           6.     In cases involving an allegation that a challenged statute is

     void-for-vagueness, the Supreme Court has encouraged the utilization of

     state-court certification procedures not only as a matter of comity, but also

     because of the greater interpretive flexibility inherent in a state supreme

     court’s consideration of its own state law. See, e.g., Arizonans for Official

     English, 520 U.S. at 75-77; Babbit v. Farm Workers, 442 U.S. 289 (1979).
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           7.      Of course, the Supreme Court has held that certification or

     abstention is inappropriate in cases involving a challenged provision that

     is not “fairly subject to an interpretation which will render unnecessary or

     substantially modify the federal constitutional question.” Bd. of Airport

     Comm’rs v. Jews for Jesus, Inc., 482 U.S. 569, 575-76 (1989). But H.B. 13-

     1224 suffers from neither of these problems. Indeed, even assuming with

     conceding that the challenged statute does suffer from vagueness

     problems, the Colorado Supreme Court is well-equipped to address those

     questions. Indeed, it has done so before in a similar context, albeit

     through a case that reached it through a direct appeal. See Robertson v.

     City and County of Denver, 874 P.2d 325, 334-35 (Colo. 1994) (addressing

     void-for-vagueness challenge to Denver ordinance banning “assault

     weapons,” and severing constitutionally vague portion to preserve

     ordinance’s constitutionality).

           8.      The Tenth Circuit has recognized that certification is

     warranted where the question presented is “close, important, novel, and

     determinative.” Larrieu v. Best Buy Stores, L.P. 491 Fed.Appx. 864, 866

     (10th Cir. 2012) (unpublished disposition). Plaintiffs’ Counts II, III, and

     IV, satisfy all of these criteria.

                a. First, H.B. 13-1224 is subject to a range of interpretations.

                   Some of these might raise vagueness concerns, and others

                   may not. But what is clear is that the vagueness question is
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                    close enough that a definitive interpretation of the law from

                    the Colorado Supreme Court may well obviate the Plaintiffs’

                    vagueness challenges altogether. Such an outcome is not only

                    plausible, it is the likely outcome of a certification procedure.

                 b. Second, questions of social policy and public safety, not to

                    mention the constitutionality of a duly enacted state law, are

                    obviously important.

                 c. Third, virtually any questions raised under the Second

                    Amendment are novel at this state. Litigation in the wake of

                    District of Columbia v. Heller, 554 U.S. 570 (2008), remains a

                    “vast terra incognita” that federal and state courts are only

                    beginning to explore. United States v. Masciandaro, 638 F.3d

                    458, 475 (4th Cir. 2011).

           9.       Due in part to the uncertain nature of Second Amendment

     litigation so soon after Heller, certification is the best course for this Court

     to follow in order to ensure that its eventual constitutional decision is

     either narrowed substantially via a definitive ruling from the Colorado

     Supreme Court, or, at a minimum, based on an accurate and enforceable

     interpretation of Colorado state law.

           10.      To ensure that the Plaintiffs’ concerns about vagueness are

     obviated during the pendency of any certification proceedings, the

     Governor is amenable to the entry of a preliminary injunction, in the form
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     of Exhibit A, that would remain in place until judgment on the merits is

     entered.

                               Questions to be certified

           Accordingly, the Governor respectfully requests that this Court

     certify the following questions to the Colorado Supreme Court pursuant to

     Colorado Appellate Rule 21.1:

        a. Effective July 1, 2013, HB 12-1224 generally bars new acquisitions

           and transfers of “large-capacity magazines” in Colorado. Does the

           bill’s definition of “large-capacity magazine” amount to a ban on

           functional magazines for most handguns and many rifles, or does it

           apply only to magazines that are principally used with extensions or

           devices that increase the combined capacity to more than 15

           rounds?

        b. Does the grandfather clause contained in HB 13-1224, which applies

           when an owner “maintains continuous possession” of a large

           capacity magazine after July 1, 2013, apply when the owner allows

           another person to temporarily hold, use, or share it for lawful

           purposes?


           A draft order outlining the terms of the proposed preliminary

     injunction and order of certification is submitted herewith.

           Respectfully submitted this 10th day of June, 2013.


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                                       JOHN W. SUTHERS
                                       Attorney General


                                       s/ Daniel D. Domenico
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                                       Solicitor General
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                           CERTIFICATE OF SERVICE

           I hereby certify that on June 10             , 2013 I served a true
     and complete copy of the foregoing MOTION FOR CERTIFICATION OF
     QUESTIONS OF LAW TO THE COLORADO SUPREME COURT
     upon all counsel of record listed below via the CM/ECF system for the
     United States District Court for the District of Colorado:

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                                                   s/ Debbie Bendell




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-01300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

          Plaintiffs,
  v.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

          Defendant.

  PRELIMINARY INJUNCTION AND ORDER CERTIFYING QUESTIONS TO THE
   COLORADO SUPREME COURT UNDER COLORADO APPELLATE RULE 21.1

         On consideration of the Defendant’s motion for certification of questions of
  law to the Colorado Supreme Court, and being fully advised in the premises, the
  Court hereby grants the motion, orders the questions herein certified, and issues a
  preliminary injunction against enforcement of H.B. 13-1224 beyond the scope
  outlined below. The Court finds and orders as follows:

       1. This case involves challenges to two recently enacted Colorado laws, HB 13-
          1224 and HB 13-1229. This order and preliminary injunction pertains only to
          HB 13-1224.

       2. Subject to some exceptions, HB 13-1224 prohibits the sale, transfer, or
          possession of “large-capacity magazines” in the state of Colorado on or after
          July 1, 2013.

       3. In pertinent part, the statute defines a “large-capacity magazine” as “[a] fixed
          or detachable magazine, box, drum, feedstrip, or similar device capable of
          accepting, or that is designed to be readily converted to accept, more than
          fifteen rounds of ammunition.

       4. The statute also contains a grandfather clause that permits possession of a
          large-capacity magazine on or after July 1, 2013 provided that the possessor:
          a) owned the magazine on the statute’s effective date; and b) “maintains
          continuous possession” of it thereafter.




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     5. Counts II, III, and IV of the of the Plaintiffs’ First Amended Complaint allege
        that the statute’s definition of “large-capacity magazine” and its requirement
        of “continuous possession” are unconstitutionally vague.


     6. Counts II, III, and IV of the First Amended Complaint raise sensitive issues
        of social policy involving substantial constitutional issues.

     7. It appears that the statutory references to “large-capacity magazine” and
        “continuous possession” are “fairly subject to an interpretation that will
        render unnecessary or substantially modify the federal constitutional
        question[s]” presented in Counts II, III, and IV of the First Amended
        Complaint. Bd. of Airport Comm’rs v. Jews for Jesus, Inc., 482 U.S. 569, 575-
        76 (1989).

     8. Only the Colorado Supreme Court may definitively interpret the challenged
        provisions as a matter of Colorado state law, and it appears that such an
        interpretation may well obviate or substantially modify the Plaintiffs’
        concerns about vagueness.

             Certification pursuant to Colorado Appellate Rule 21.1

     9. Accordingly, the Court hereby certifies the following questions to the
        Colorado Supreme Court:

           a. Effective July 1, 2013, HB 12-1224 generally bars new acquisitions and
              transfers of “large-capacity magazines” in Colorado. Does the bill’s
              definition of “large-capacity magazine” amount to a ban on functional
              magazines for most handguns and many rifles, or does it apply only to
              magazines that are principally used with extensions or devices that
              increase the combined capacity to more than 15 rounds?

           b. Does the grandfather clause contained in HB 13-1224, which applies
              when an owner “maintains continuous possession” of a large capacity
              magazine after July 1, 2013, apply when the owner allows another
              person to temporarily hold, use, or share it for lawful purposes?




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                                Preliminary injunction

     10. Upon signing HB 13-1224 into law, the Governor requested the Colorado
         Attorney General and the Colorado Department of Public Safety to provide to
         all law enforcement agencies in the State of Colorado official written
         guidance on how HB 13-1224 is to be interpreted and applied in Colorado.
         That official guidance is attached to this Order as Attachment 1 (“Technical
         Guidance”).

     11. The Governor is the chief executive of the State of Colorado, and the Attorney
         General is the chief legal officer and law enforcement official of the state. See
         Colo. Const., art. IV § 2 (“The supreme executive power of the state shall be
         vested in the governor, who shall take care that the laws be faithfully
         executed.”); Colo. Rev. Stat. § 24-31-101(1)(a) (“The attorney general of the
         state shall be the legal counsel and advisor of each department, division,
         board, bureau, and agency of the state government other than the legislative
         branch. . . . He . . . shall appear for the state and prosecute and defend all
         actions and proceedings, civil and criminal, in which the state is a party or is
         interested when required to do so by the governor . . . .”).

     12. The Technical Guidance is an “official written interpretation” of HB13-1224.
         It has been adopted by the Governor and the Colorado Department of Public
         Safety. Official written interpretations of criminal laws are binding and
         create an affirmative defense for individuals charged under those laws. See
         Colo. Rev. Stat. § 18-1-504(2)(c) (providing an affirmative defense to criminal
         prosecutions contrary to “official written interpretation of the statute or law
         relating to the offense, made or issued by a public servant, agency, or body
         legally charged or empowered with the responsibility of administering,
         enforcing, or interpreting” it).

     13. Pursuant to Fed. R. Civ. P. 65(d), the Court hereby issues a preliminary
         injunction binding the Governor, and any of his officers, agents, servants,
         employees, and attorneys, to the conclusions of the Technical Guidance as the
         official interpretation of the chief executive and chief legal officers of the
         State of Colorado.

     14. Specifically, for example, consistent with the Technical Guidance, for the
         duration of this preliminary injunction, a magazine that accepts fifteen or
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        fewer rounds may not be considered a “large capacity magazine” simply
        because it includes a removable baseplate which may be replaced with one
        that allows the magazine to accept additional rounds.

     15. In addition, for the duration of this injunction the grandfather clause in HB
         13-1224 may not be construed as barring the temporary transfer of a large-
         capacity magazine by an individual who remains in the continual physical
         presence of the temporary transferee, unless that temporary transfer is
         otherwise prohibited by law.

     16. This preliminary injunction shall remain in force until this Court reaches a
         decision on the merits in this case, whether or not the Colorado Supreme
         Court accepts the questions certified pursuant to Colorado Appellate Rule
         21.1.


  DATED this          day of June, 2013.



                                                      ___________________________
                                                      United States District Judge




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John W. Suthers                   STATE OF COLORADO                  Ralph L. Carr
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Solicitor General
                                                                        May 16,2013
       Colorado Department of Public Safety
       Executive Director James H. Davis
       700 Kipling Street, 3rd Floor
       Denver CO 80215

       RE:    Technical Guidance on the Interpretation and Application of House Bill13-
              1224, Large-Capacity Magazine Ban

       Dear Executive Director Davis:

       House Bill 13-1224, which was passed during this year's legislative session and
       becomes effective July 1, 2013, prohibits the sale, transfer, and possession of"large-
       capacity ammunition magazines." On March 20, 2013, in a statement issued at the
       time he signed HE 13-1224 into law, Governor Hickenlooper instructed "the
       Colorado Department of Public Safety to consult with the Office of the Attorney
       General and others, as necessary ... and then to draft and issue, to law
       enforcement agencies in the State of Colorado, technical guidance on how the law
       should be interpreted and enforced."

       This letter sets forth the technical guidance requested by the Governor.

       Introduction

       This technical guidance, issued at the request of the Governor, is meant to assist
       Colorado law enforcement agencies in understanding and applying portions of
       House Bill13-1224, which regulates the sale, transfer, and possession of"large
       capacity magazines." Although this guidance is not binding on the courts, it is based
       upon existing legal principles and represents a fair and accurate reading of the
       legislation.

       Definition of "Large Capacity Magazine"

       Under House Bill1224, the term "large capacity magazine" is defined, in part, as
       follows: "a fixed or detachable magazine, box, drum, feed strip, or similar device
       capable of accepting, or that is designed to be readily converted to accept, more than
       fifteen rounds of ammunition."




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   The phrase "designed to be readily converted to accept more than fifteen rounds of
   ammunition'' has prompted questions regarding the scope of the definition,
   particularly because some ammunition magazines include features, such as
   removable baseplates, that can be removed and replaced, or otherwise altered, so
   that the magazine accepts more than fifteen rounds.

   The term "designed," when used as a modifier, denotes a feature that meets a
   specific function. This suggests that design features that fulfill more than one
   function, and whose function is not specifically to increase the capacity of a
   magazine, do not fall under the definition. The features of a magazine must be
   judged objectively to determine whether they were "designed to be readily converted
   to accept more than fifteen rounds."

   Under this reading ofthe definition, a magazine that accepts fifteen or fewer rounds
   is not a "large capacity magazine" simply because it includes a removable baseplate
   which may be replaced with one that allows the magazine to accept additional
   rounds. On many magazines, that design feature is included specifically to permit
   cleaning and maintenance. Of course, a magazine whose baseplate is replaced with
   one that does, in fact, allow the magazine to accept more than fifteen rounds would
   be a "large capacity magazine" under House Bill 1224.

   "Possession" of Large-Capacity Magazines and Application of the
   Grandfather Clause of House Bill 1224

   House Bill 1224 also places limitations on when and how a large-capacity magazine
   may be sold, transferred, or possessed. In particular, the bill's grandfather clause
   permits possession of a large-capacity magazine on or after July 1, 2013 by an
   individual who "owns" such a magazine on that date and "maintains continuous
   possession" of it thereafter. However, the bill prohibits the owner of a large-capacity
   magazine from selling or transferring it after July 1, 2013, and also prohibits an
   individual who as of July 1 did not own and since then has not continuously
   possessed a particular large-capacity magazine to possess it after July 1, 2013.

   Responsible maintenance, handling, and gun safety practices, as well as
   constitutional principles, dictate that these provisions cannot be reasonably
   construed as barring the temporary transfer of a large-capacity magazine by an
   individual who remains in the continual physical presence of the temporary
   transferee, unless that temporary transfer is otherwise prohibited by law. For
   example, an owner should not be considered to have "transferred" a large-capacity
   magazine or lost "continuous possession" of it simply by handing it to a gunsmith,
   hunting partner, or an acquaintance at a shooting range with the expectation that it
   will be promptly returned. Likewise, a gunsmith, hunting partner, or acquaintance
   at a shooting range who acquires temporary physical custody of a large-capacity
   magazine from its owner should not be considered in "possession" of the magazine




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   so long as he or she remains in the owner's physical presence. However, it would be
   unreasonable to construe the bill or this guidance to exempt a temporary transfer of
   a large-capacity magazine in connection with criminal activity.

   For similar reasons, the bill's requirement that an owner must maintain
   "continuous possession" in order to ensure the application of the grandfather clause
   cannot reasonably be read to require continuous physical possession. Proper storage
   of a large-capacity magazine, such as in a gun safe in the owner's home or in a
   secure carrying case in the trunk of an automobile, is entirely consistent with the
   bill's intent of limiting the acquisition and permanent transfer of large-capacity
   magazines after the effective date of July 1, 2013.




   cc:     Governor John Hickenlooper
           Jack Finlaw, Chief Legal Counsel to Governor Hickenlooper




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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-CV-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, et al.,

           Plaintiffs
  v.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

           Defendant.

                        MOTION FOR TEMPORARY RESTRAINING ORDER
                            AND FOR PRELIMINARY INJUNCTION

       Pursuant to FED. R. CIV. P. 65, Plaintiffs respectfully request that the Court issue a temporary

  restraining order and preliminary injunction to enjoin enforcement of two clauses and one word

  in House Bill 13-1224 (“HB 1224”), which is scheduled to take effect on July 1, 2013, until there

  is a resolution on the merits of Plaintiffs’ claims.

                           I.      D.C.COLO.LCIVR 7.1(A) CERTIFICATION.

       Plaintiffs’ counsel has conferred with counsel for the Governor regarding the subject matter

  of this motion, and the Governor opposes the relief sought.

                         II.     INTRODUCTION AND SUMMARY OF ARGUMENT.

       HB 1224 is widely known as a ban on so-called “large capacity” ammunition magazines. Its

  central feature is a general prohibition on the ownership and sale of ammunition magazines that

  hold more than 15 rounds of ammunition after it becomes effective on July 1, 2013. Although

  Plaintiffs challenge that core provision in this lawsuit, it is not the subject of this motion. Rather,

  this motion seeks only to preserve the status quo with respect to two ancillary provisions of HB


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  1224 on the grounds that they are unconstitutionally vague and, to the extent they are not vague,

  are facial violations of the Second Amendment. Simply put, these portions of HB 1224 sweep so

  broadly that people are left to guess what they mean, including those who are in the business of

  selling these magazines and those who are charged with enforcing them. Rather than risk

  criminal sanctions for an incorrect guess, Plaintiffs and others will choose to forgo otherwise

  constitutionally protected conduct. The Court should delay the effectiveness of these limited

  provisions until it can consider all the facts and assess their constitutionality.

      First, HB 1224’s definition of “Large-capacity magazines” includes not only those that

  actually hold more than fifteen rounds, but also those that are “designed to be readily converted”

  to hold more than fifteen rounds. This motion is directed only at the “designed to be readily

  converted” language because it is unconstitutionally vague. Magazines are made in sizes less

  than fifteen rounds. However, the majority of such box and tube magazines contain removable

  base plates and end caps, and thus can be “readily converted” to magazines exceeding 15 rounds

  via both commercially-available and readily-fabricated methods. The bill as written has the

  effect of banning most magazines of any size. Moreover, a person who wants to sell or purchase

  a magazine that holds fewer rounds may not be able to determine if the magazine can be

  converted, much less whether it was “designed” for that purpose. A criminal statute which

  creates such inherent uncertainty is vague, unenforceable, and a violation of the Fourteenth

  Amendment of the United States Constitution.

      Second, HB 1224 contains provisions that “grandfather” magazines of more than 15 rounds

  that are owned as of July 1, 2013, but only if the owner maintains “continuous possession” of the

  magazines thereafter. The “continuous possession” requirement is unconstitutionally vague


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  because it could reasonably be interpreted as prohibiting permanent or long-term transfers of

  magazines of more than 15 rounds, or it could criminalize even the most innocent and

  constitutionally protected types of temporary transfers of magazines and firearms, such as

  lending the firearm and magazine to a family member for self-defense or leaving the firearm and

  magazine with a licensed firearms dealer for repairs.

     The Colorado Attorney General issued a “Technical Guidance” letter setting forth the State’s

  current, non-binding position on how it believes both provisions should be interpreted. Setting

  aside that the letter is non-binding, it does nothing to resolve the problems with either provision.

  The Attorney General’s position is that “continuous possession” is maintained so long as the

  magazine remains in the “continual physical presence” of the owner and is transferred to another

  with the “expectation that it will be promptly returned.” This nearly useless “clarification”

  nonetheless violates the Second Amendment because it bans any routine, lawful sharing of

  firearms with affected magazines between family members, safety instructors, and firearms

  dealers, which chills fundamental Second Amendment rights. Indeed, despite the Attorney

  General’s opinion, the plain language of HB 1224 itself does not permit any transfers of

  otherwise-grandfathered magazines.

     Accordingly, Plaintiffs ask this Court to enjoin enforcement of both the “designed to be

  readily converted” and “continuous possession” requirements within HB 1224. Neither the

  Defendant nor the public interest will be harmed by the requested relief because Plaintiffs merely

  seek to preserve the status quo while the Court determines the constitutionality of these

  provisions.




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                                           III.    ARGUMENT.

           A.      Legal Standards.

        Plaintiffs seek a temporary restraining order and preliminary injunction against the

  Defendant pursuant to FED. R. CIV. P. 65. The decision to grant such relief is within the Court’s

  sound discretion. See, e.g., Kikumura v. Hurley, 242 F.3d 950, 955 (10th Cir. 2001) (reviewing

  district court’s decision on preliminary injunction for abuse of discretion). The object of such

  relief is to preserve the status quo, so that the rights of the parties at final hearing may be

  determined without injury to either. See Resolution Trust Corp. v. Cruce, 972 F.2d 1195, 1198

  (10th Cir. 1992) (“The primary function of a preliminary injunction is to preserve the status quo

  pending a final determination of the rights of the parties . . . in order to preserve the power to

  render a meaningful decision on the merits.”).

        To obtain a preliminary injunction, the moving party must establish:

                   (1) the moving party will suffer irreparable injury unless the
                   injunction issues; (2) the threatened injury to the moving party
                   outweighs whatever damage the proposed injunction may cause the
                   opposing party; (3) the injunction, if issued, would not be adverse
                   to the public interest; and (4) there is a substantial likelihood that
                   the moving party will eventually prevail on the merits.

  Id.

        “When a party seeking a preliminary injunction satisfies the first three requirements, the

  standard for meeting the fourth ‘probability of success’ prerequisite becomes more lenient.” Id.

  “The movant need only show questions going to the merits so serious, substantial, difficult and

  doubtful, as to make them a fair ground for litigation.” Id. In the instant case, the first three

  requirements are clearly satisfied, making a preliminary injunction proper if Plaintiffs’

  arguments on the constitutional merits are serious enough to be “fair ground for litigation.”

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            B.   H.B. 13-1224.

     HB 1224 (Attachment A) criminally punishes any person “who sells, transfers, or possesses”

  what the bill calls a “large-capacity magazine.” The maximum sentence is twelve months

  imprisonment, or a one thousand dollar fine, or both. Attachment A at 2; see Colo. Rev. Stat.

  § 18-1.3-501(1)(a). The bill defines “large-capacity magazine” as any fixed or detachable

  magazine, box, drum, feed strip, or “similar device capable of accepting, or that is designed to be

  readily converted to accept, more than fifteen rounds of ammunition.” Id. at 1-2 (emphasis

  added).

     HB 1224 purports to “grandfather” currently-owned magazines which actually hold more

  than fifteen rounds or which are “designed to be readily convertible” to do so. The

  “grandfathered” owner may “possess” magazines, but temporary “transfers” are forbidden. In

  order to maintain the highly restrictive “grandfathered” status afforded by HB 1224, the owner

  must maintain “continuous possession of the large-capacity magazine.” Id. at 3. The bill does not

  define “continuous possession.”

            C.   The Attorney General’s Technical Guidance Letter.

     On May 16, 2013, Attorney General John Suthers issued a “Technical Guidance” letter (“the

  Letter,” Attachment B) at the Governor’s request which purports to resolve some of the

  vagueness and ambiguity problems identified in Plaintiffs’ Complaint. While the Letter provides

  the Attorney General’s opinion on how HB 1224 should be interpreted and enforced, this

  guidance is not legally binding and has no effect on the actual provisions of HB 1224 itself. See

  Colorado Min. Ass’n v. Board of County Com’rs of Summit County, 199 P.3d 718, 731 (Colo.

  2009) (courts may consult and take into account an agency’s guidance, rules, and determinations,


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  but they do not bind the courts’ construction of the applicable law); Attachment B at 1 (“this

  guidance is not binding on the courts”).

         (“Designed to Be Readily Converted”)

     In the Letter, the Attorney General states that the bill’s definition of a “large capacity

  magazine” does not include every magazine that could conceivably be converted to a “large

  capacity magazine” “simply because” the magazine has a removable base plate or other similar

  features. Attachment B at 2. Rather than providing any bright-line test, the Letter concludes that

  a magazine’s “features” “must be judged objectively to determine whether they were ‘designed

  to be readily converted to accept more than fifteen rounds.’” The Letter does not further define

  what “judged objectively” means nor does it define who or what does the judging or what

  process would be employed to make the necessary determinations.

         (“Continuous Possession”)

     The Letter also states that only “temporary transfers” of “grandfathered” magazines are

  permissible, and only so long as the magazine remains in the “continual physical presence” of

  the owner. Furthermore, any “temporary transfer” must also be done with the “expectation that it

  will be promptly returned.” Id.

         D.      The Plaintiffs Will Suffer Immediate and Irreparable Harm in the Absence
                 of Injunctive Relief.

                 1.      The Harm That Plaintiffs Will Suffer Is Irreparable.

     The Plaintiffs will suffer irreparable harm in the absence of immediate injunctive relief.

  “Although there is no black letter definition for what constitutes irreparable injury, the essence of

  the concept requires a substantial threat of harm to the movant that cannot be compensated by

  money.” Harvey Barnett, Inc. v. Shidler, 143 F. Supp. 2d 1247, 1255 (D. Colo. 2001); see also

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  Mountain Medical Equipment, Inc. v. Healthdyne, Inc., 582 F. Supp. 846, 848 (D. Colo. 1984).

  The threat encompasses actions that are “about to occur.” Id at 848. “The notion of irreparable

  injury thus only refers to harm that might occur pendent lite if the preliminary injunction is not

  granted.” Id.

     Violations of enumerated constitutional rights are per se “irreparable injury” in the Tenth

  Circuit. Pinson v. Pacheco, 397 Fed. Appx. 488, 491-92 (10th Cir. 2010) (Eighth Amendment);

  Edmisten v. Werholtz, 287 Fed. Appx. 728 (10th Cir. 2008) (Eighth Amendment); Kikumura v.

  Hurley, 242 F. 3d 950, 963 (10th Cir. 2001) (First and Fifth Amendments).

     As detailed throughout this motion, if HB 1224’s “designed to be readily converted” and

  “continuous possession” elements are permitted to be enforced as-written, the Plaintiffs and the

  public at large will suffer direct and irreparable infringements of their constitutional rights, as

  well as an unconstitutional chilling effect on the exercise of these constitutional rights.

     HB 1224’s prohibition of magazines “designed to be readily” converted to prohibited larger

  magazines will cause irreparable harm to citizens, business owners, and law enforcement

  officials because it plainly violates the Second and Fourteenth Amendments. Due to its

  vagueness, the language of the statute has the potential to criminalize the ordinary use of a huge

  range of commonly-used firearms in Colorado because nearly all magazines may be considered

  illegal. Apart from the obvious incalculable financial burdens this will place on firearms dealers

  and recreational facilities, this prohibition directly impacts the fundamental rights of ordinary

  citizens to own and use common firearms and firearm magazines for their intended lawful

  purposes, such as self-defense.




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     Additionally, HB 1224’s prohibition of simple transfers of “grandfathered” magazines in the

  most harmless of contexts (such as loans between family and friends, or transfers for purposes of

  repair, maintenance, or training) is a patent violation of fundamental Second and Fourteenth

  Amendment rights that cannot be redressed by financial compensation, which would be

  impossible to calculate and may be unavailable in any event due to the Eleventh Amendment.

  Even as interpreted by the Attorney General, HB 1224 prohibits many “temporary transfers” of

  “grandfathered” magazines for innocent purposes (such as loans between family and friends, or

  transfers for purposes of repair, maintenance, or training). Such a prohibition is an immediate

  and patent violation of fundamental Second and Fourteenth Amendment rights that cannot be

  redressed by financial compensation.

     The per se irreparable injury of the violation of constitutional rights is aggravated by

  irreparable harm to law enforcement and licensed firearm dealers. Neither the Attorney General,

  licensed firearms dealers, nor the Sheriffs have any way to know which magazines are

  “designed” by their manufacturers to be readily converted to prohibited larger magazines. It will

  be impossible for the Sheriffs or any other law enforcement officers to enforce “designed to be

  readily converted” in a consistent and non-arbitrary way. Similarly, lawfully licensed firearms

  dealers are forced to speculate as to which magazines can be lawfully sold or transferred after

  July 1, 2013. Should they guess incorrectly, the affirmative defense offered by the Technical

  Guidance will provide little comfort in the face of a criminal prosecution.

     Similarly, if the Sheriffs attempt to enforce the ban on the transfer of “grandfathered”

  magazines and the “continuous possession” mandate, the Sheriffs will have to commit facially




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  unconstitutional acts, such as arresting someone who has left a magazine at a gunsmith for repair

  or cleaning.

                 2.      The Harm that Plaintiffs Will Suffer Is Imminent.

     The irreparable harm is imminent. HB 1224 is scheduled to take effect on July 1, 2013. The

  irreparable violation of the Plaintiffs’ constitutional rights will take place the moment HB 1224

  goes into effect.

     In the context of a constitutional injury, the Tenth Circuit distinguishes between injuries

  which take place, and injuries which might or might not occur at some future time. See Pinson v.

  Pacheco, 397 Fed. Appx. 488, 491-92 (10th Cir. 2010) (Eighth Amendment) (prisoner’s

  speculation that he might some day be attacked by gangsters was not an imminent injury);

  Edmisten v. Werholtz, 287 Fed. Appx. 728 (10th Cir. 2008) (denial of medical treatment, causing

  chronic pain and inability to eat solid foods was obviously imminent); Kikumura v. Hurley, 242

  F. 3d 950, 963 (10th Cir. 2001) (denial of pastoral visit for prisoner).

     Unlike in Pinson, Plaintiffs are not speculating that they may suffer an injury sometime in the

  future. As in Edmisten and Kikumura, Plaintiffs have detailed specific injuries that are certain to

  occur on July 1. After July 1, Plaintiffs will immediately be chilled from exercising their Second

  Amendment rights to buy, sell, and use magazines by the uncertainty as to what magazines are

  illegal because of HB 1224’s unconstitutionally vague “designed to be readily converted”

  language. Based on HB 1224’s “continuous possession” requirement, Plaintiffs will also be

  forbidden from lending otherwise legal “grandfathered” magazines and associated firearms with

  a gunsmith for repair or maintenance, or temporarily transferring their magazines and associated

  firearms to family members.


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     These imminent and irreparable constitutional injuries are all the more aggravated for some

  of the Plaintiffs. Sheriffs are required to enforce “all laws of the State of Colorado.” COLO. REV.

  STAT. § 16-2.5-103. But the Colorado Constitution, which is superior to any state legislature bill,

  requires that Sheriffs, as civil officers, “subscribe an oath or affirmation to support the

  constitution of the United States.” COLO. CONST., art. XII, § 8. Under the Colorado Constitution,

  Sheriffs are elected directly by the People. COLO. CONST., art. XIV, § 8. The Sheriffs face the

  dilemma of a statutory requirement to enforce the facially unconstitutional provisions of HB

  1224 while also being constitutionally compelled to comply with the United States Constitution.

  Licensed firearms dealers are faced with a similar dilemma: stop selling all magazines and

  associated firearms that may potentially fall into the “designed to be readily converted” category

  and risk bankruptcy and business failure, or be subjected to potential criminal prosecution under

  HB 1224.

     Consistent enforcement of HB 1224 as written will be impossible and will result in unlawful

  arrests, discordant legal opinions, and a massive burden to both the public and law enforcement.

  Sheriffs and licensed firearms dealers will be compelled to ascertain whether some magazines of

  15 rounds or less are “designed to be readily converted” to prohibited larger magazines—an

  impossible task that is prone to all manner of mistakes and inconsistencies. Further, all or many

  simple temporary transfers of one “grandfathered” magazine to another person will be a potential

  crime based on the “continuous possession” requirement, and Sheriffs will be required to enforce

  these vague and facially unconstitutional laws. Even if the Attorney General’s Technical

  Guidance letter constitutes binding law (which it does not), Sheriffs will still be forced to




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  determine whether a particular “temporarily transferred” magazine was in the owner’s “continual

  physical presence” and was loaned with the “expectation that it will be promptly returned.”

         E.      The Certain Injury to the Plaintiffs Outweighs any Potential Damage that
                 the Proposed Injunction Would Cause the Defendant.

     The Plaintiffs seek only to preserve the status quo so that a trial can be held without either the

  Plaintiffs or the Defendant having been injured. See Resolution Trust Corp. v. Cruce, 972 F.2d

  1195, 1198 (10th Cir. 1992). An injunction would protect the Plaintiffs because, among other

  things, it would 1) allow for the Sheriffs to continue with their duties without being compelled to

  make arrests or otherwise investigate possible crimes based on vague or facially unconstitutional

  language; 2) permit licensed firearms dealers, gunsmiths, shooting ranges, and other persons

  engaged in lawful businesses to continue to do so without fear of criminal prosecution; and,

  3) permit lawful firearm owners to continue to own, operate, leave for repair/maintenance, and

  lend legal firearms and magazines to others for lawful purposes.

     An injunction will not harm the Defendant. Defendant will simply continue to enforce all of

  the many Colorado gun control laws which are constitutional, while the Court determines the

  constitutionality of HB 1224.

     Significantly, granting the motion does not in any way impinge Defendant’s desire to freeze

  the number of so-called “large capacity magazines” in Colorado. Plaintiffs are not seeking a

  preliminary injunction on HB 1224’s ban on sales. Granting the motion would merely allow the

  owners of “grandfathered” magazines to continue with the ordinary and constitutionally-

  protected activities such as having magazines repaired for safety, or allowing a family member to

  use an owner’s firearm and its associated magazine. Granting the motion would likewise allow



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  the continuing sale and use of magazines of fifteen rounds or less without fear of criminal

  prosecution or civil lawsuits.

         F.      The Proposed Injunctive Relief Will Not Be Adverse to the Public Interest.

     The public interest is served by the requested injunction. Indeed, an injunction will benefit

  the public interest because it will temporarily prevent the enforcement of laws that potentially

  infringe on the public’s fundamental constitutional rights. See Awad v. Ziriax, 670 F.3d 1111,

  1132 (10th Cir. 2012) (“[I]t is always in the public interest to prevent the violation of a party’s

  constitutional rights.” (citation omitted)). If the Court permits the most-plainly unconstitutional

  language of HB 1224 to take effect on July 1, 2013, the infringements of constitutional rights

  will, as a matter of law, inflict irreparable injury on the Plaintiffs and the firearm-owning or

  firearm-using public at large. Conversely, awarding injunctive relief will simply preserve the

  status quo until the Court determines the constitutionality of HB 1224.

         G.      Plaintiffs Are Likely to Prevail on the Merits Because the Challenged
                 Language of HB 1224 Is Unconstitutionally Vague.

     Vague statutes such as HB 1224 violate the Due Process Clause of the Fourteenth

  Amendment to the Constitution. “[T]he terms of a penal statute creating a new offense must be

  sufficiently explicit to inform those who are subject to it what conduct on their part will render

  them liable to its penalties. . . and a statute which either forbids or requires the doing of an act in

  terms so vague that men of common intelligence must necessarily guess at its meaning and differ

  as to its application violates the first essential of due process of law.” Connally v. General Const.

  Co., 269 U.S. 385, 391 (1926). “The crime, and the elements constituting it, must be so clearly

  expressed that the ordinary person can intelligently choose, in advance, what course it is lawful

  for him to pursue.” Id. at 393. A statute may be unlawful if it either fails to give fair warning of

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  prohibited conduct or if it “allows for arbitrary enforcement.” United States v. Forbes, 806 F.

  Supp. 232, 237 (D. Colo. 1992).

                 1.      “Designed to be readily converted.”

     “Designed to be readily converted” is a term that does not exist in Colorado statutes, or in the

  statutes of any other State. Yet HB 1224 provides no hint about what the term means. A statute

  may be unconstitutionally vague if it is silent on an issue that would be expected to be within its

  scope, or is otherwise susceptible to more than one reasonable interpretation. People v. Carrillo,

  297 P.3d 1028, 1032 (Colo. App. 2013); Apodaca v. Allstate Ins. Co., 232 P.3d 253, 256 (Colo.

  App. 2009).

     Moreover, because HB 1224 contains no scienter requirement, it is “little more than ‘a trap

  for those who act in good faith.’” Colautti v. Franklin, 439 U.S. 379, 395 (1979) (quoting United

  States v. Ragen, 314 U.S. 513, 524 (1942)). As the Colorado Supreme Court wrote, in striking

  down a clause in a gun control law as void for vagueness, “ascertaining the design history and

  action design of a pistol is not something that can be expected of a person of common

  intelligence.” Robertson v. City & County of Denver, 874 P.2d 325, 335 (Colo. 1994).

     The Sixth Circuit came to a similar conclusion in striking down a provision of an ordinance

  banning semiautomatic handguns that are a “modification” of an automatic handgun. The Sixth

  Circuit ruled that the ordinance did not provide sufficient information “to enable a person of

  average intelligence to determine whether a weapon they wish to purchase has a design history

  of the sort which would bring it within this ordinance’s coverage.” Peoples Rights Org., Inc. v.

  City of Columbus, 152 F.3d 522, 537 (6th Cir. 1998). Plaintiffs and all citizens are faced with the




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  same conundrum in trying to determine if their magazines were “designed” to be readily

  converted.

     The crux of HB 1224’s vagueness is that it requires ordinary citizens and Sheriffs to know

  the intent of a magazine’s designer—persons both unknown and unknowable in most cases. HB

  1224 declares that some magazines of 15 rounds or less are illegal, but provides no hint about

  what physical features of a such magazines make it illegal. The ban on whatever is “designed to

  be readily converted” necessarily requires firearm owners, firearms dealers and law enforcement

  officials to make a judgment about the magazine designer’s intent—an impossible task which

  will inevitably lead to arbitrary enforcement based on varying guesses about what the magazine

  designer was thinking.

     Like ordinary gun-owning citizens, the Plaintiff Sheriffs and firearms dealers have no way to

  know with certainty whether any particular magazine is lawful or contraband. Thus the Sheriffs

  are unable to uniformly enforce HB 1224. Similarly, the Plaintiff firearms dealers, owners, and

  trade associations do not know whether selling, acquiring, or temporarily transferring various

  magazines of less than 15 rounds starting on July 1 will subject them to criminal prosecution.

  The chilling effect on the exercise of constitutional rights is severe.

                         a.      The Technical Guidance Confirms the Vagueness of “Designed
                                 to Be Readily Converted.”

     Even if the Attorney General’s non-binding, readily-changeable guidance Letter were legally

  enforceable, the vagueness problem would be aggravated. The Letter purports to offer safe

  harbor for some magazines of 15 rounds or less if two conditions are met: the magazine has

  “design features that fulfill more than one function, and whose function is not specifically to

  increase the capacity of a magazine.” Attachment B (emphasis added). When one considers that

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  the statute applies to ordinary consumers, the problems created by this “clarification” are self-

  evident.

     The first condition is fulfilled by every magazine with a removable base plate or end cap

  because the removability fulfills both the function of repair/cleaning and the function of

  extendability. But a person may not be aware of the second function, particularly if they are only

  interested in owning one magazine.

     The second condition requires law enforcement, sellers and users to determine if the

  magazine designer also “specifically” designed the magazine for convertibility, notwithstanding

  the fact that the particular design feature serves other purposes, such as cleaning and

  maintenance. One small capacity magazine designer might never have considered extendability

  when designing his magazine, while another designer may have been fully aware that his

  magazine was extendable, but may have been neutral or adverse to the possibility that a third

  party would produce aftermarket extenders for his magazine. Yet another designer might have

  fully intended that the removable base plate would facilitate expansion of his magazine. These

  designers were “specifically” thinking about the “function” of their base plates in opposite ways.

  Yet all of the magazines are equally “readily convertible” since the base plate comes off easily

  and there are extenders manufactured by third parties available for all three. Neither the gun-

  owning public nor law enforcement have any means of discerning the designer’s specific intent

  and, therefore, the Attorney General’s guidance on this matter does nothing to resolve HB 1224’s

  inherent vagueness and unenforceability.




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                 2.      “Continuous possession”

     After July 1, 2013, the “grandfathered” owner of a magazine exceeding 15 rounds may

  continue to “possess” the magazine if she owns the magazine on HB 1224’s effective date and

  maintains “continuous possession” of the magazine going forward. Attachment A at 3. Notably,

  while HB 1224 allows a person to “possess” “grandfathered” magazines after July 1, 2013, it

  says nothing about the possibility of “transfers.” Id.

     As discussed, the term “continuous possession” is not defined anywhere in HB 1224.

  Whether an owner’s possession is “continuous” is the key issue in determining whether the

  owner and temporary transferee of the magazine is committing a crime under HB 1224. As

  written, the phrase could ostensibly require owners of “grandfathered” magazines to keep them

  in their possession at all times, or it could simply prohibit ownership transfers or long-term

  loans.

     Other statutes and common law concepts interpreting the phrase “continuous possession”

  suggest the latter interpretation. For example, Colorado’s sales tax statutes state that if a lease or

  contract which gives a person the “right to continuous possession or use for more than three

  years of any article of tangible personal property,” the lease or contract is taxed the same as the

  sale of that property. COLO. REV. STAT. § 39-26-102. Conversely, if the person only acquires the

  “right to continuous possession or use for three years or less of any article of tangible personal

  property under a lease or contract” no sales tax is due (as long as the lessor himself paid the sales

  tax when buying the property). COLO. REV. STAT. § 39-26-713(1)(a). The statutes do not require

  the lessor to maintain literally continuous possession of the property; nor do the statutes forbid

  the lessee to lend the property to persons who are not in the “continual physical presence” of the


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  lessee. See Colorado Dep’t of Rev. v. City of Aurora, 32 P.3d 590, 593 (Colo. App. 2001) (City

  of Aurora liable for unpaid sales tax when it failed to either pay sales tax upon acquiring golf

  carts or paying sales tax when it rented the golf carts to others). Similarly, the “continuous

  possession” requirement to establish a prescriptive easement does not require the person

  claiming the easement to “physically possess[] the land every moment of every day.” Martini v.

  Smith, 18 P.3d 776, 781 (Colo. App. 2000). Nor does common law “continuous possession” for a

  prescriptive easement or adverse possession forbid the possessor from inviting other people to

  use the real property, even when the possessor is not present.

     However, these reasonable, every-day interpretations are inapplicable given the plain

  language of HB 1224, which allows “grandfathered” owners only to “possess” magazines after

  July 1, 2013, only if they maintain “continuous possession” after that date. This language,

  especially as interpreted by the Attorney General, more likely than not means that transfers of

  any kind are illegal, or that merely leaving the house without the grandfathered magazine breaks

  the chain of “continuous possession.”

     Can a magazine owner who goes on vacation store the magazine at a neighbor’s home? Only

  if the neighbor never touches the magazine? When, if ever, can an owner who must maintain

  “continuous possession” allow someone else to hold the magazine? When the owner is being

  instructed in safe firearms handling by someone else? When a competitor at a target shooting

  competition loans a magazine to a fellow competitor whose own magazine is malfunctioning?

  What if the owner leaves the firing line for 20 minutes, to go to the bathroom at the range’s

  indoor clubhouse? These are just a handful of scenarios implicated by HB 1224’s complete lack

  of guidance as to what constitutes “continuous possession.”


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     Because HB 1224 provides absolutely no guidance as to what “continuous possession”

  actually does mean, the phrase is unconstitutionally vague and ambiguous.       See Carrillo, 297

  P.3d at 1032 (a statute is ambiguous if is silent on an issue that would be expected to be within

  its scope). Further, because “continuous possession” is undefined, and because whatever it

  means is not what the same phrase means within other Colorado statutes or in the common law,

  law enforcement officers—including the 55 Plaintiff Sheriffs—will inevitably have varying and

  inconsistent interpretations of the term. See Apodaca, 232 P.3d at 253 (terms are ambiguous

  when it is possible to interpret them in more than one way); Forbes, 806 F. Supp. at 237 (statute

  is unconstitutional when it will result in arbitrary enforcement).

     Therefore, the Plaintiffs are likely to prevail on the merits because HB 1224 is

  unconstitutionally vague and violates the Due Process Clause of the Fourteenth Amendment.

         H.      Plaintiffs Are Likely to Prevail on the Merits Because the Challenged
                 Language of HB 1224 Is Vague Under the Fourteenth Amendment and
                 Violates the Second Amendment.

                 1.      The Second Amendment Forbids Bans on Small Magazines.

     Plaintiffs will demonstrate at trial that the “designed to be readily converted language” of HB

  1224 is unconstitutionally ambiguous in violation of the Fourteenth Amendment for all the

  reason stated above. A person of average intelligence will be unable to discern what conduct is

  forbidden, and that uncertainly will lead to inconsistent enforcement and a chilling effect on the

  exercise of a constitutional right. HB 1224 may be stricken for vagueness alone, but the

  underlying constitutional right will also be established at trial.

     As detailed above, the phrase “designed to be readily converted” potentially outlaws a

  (currently unknowable) group of magazines of 15 rounds or less which in fact have not been


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  converted to hold more than fifteen rounds. This prohibition expressly violates the Second

  Amendment.

     The Second Amendment is not solely about firearms. The Amendment protects the right to

  keep and bear “arms.” Arms are anything which are useful for offense or defense. District of

  Columbia v. Heller, 554 U.S. 570, 581 (2008). The arms which the Second Amendment protects

  are those typically possessed by law-abiding citizens for lawful purposes. Id. at 626-29.

     The Second Amendment is not limited to firearms only; it necessarily covers everything

  which is necessary to the proper function of a firearm—such as ammunition. See United States v.

  Pruess, 703 F.3d 242, 245 n.1 (4th Cir. 2012) (treating Supreme Court legal rule about guns as

  having the same meaning for ammunition); see also Ezell v. City of Chicago, 651 F.3d 684, 704

  (7th Cir. 2011) (“The right to possess firearms for protection implies a corresponding right to

  acquire and maintain proficiency in their use; the core right wouldn’t mean much without the

  training and practice that make it effective.”).

     Magazines are necessary to the function of a firearm. All tube magazines and some box

  magazines are integral to the gun itself. They are removable only to the extent that any firearm

  can be disassembled. Whether removable or not, the box magazines is necessary to the function

  of a firearm. After all, ammunition too is removable, and it too is necessary to firearm function.

     The Supreme Court in Heller taught that handguns are “overwhelmingly chosen by American

  society for [the] lawful purpose” of self-defense. Heller, 554 U.S. at 628. Most handguns made

  presently use magazines. As of 2011 (the latest year for which data are available), 82% of




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  handguns manufactured in the United States are semi-automatic.1 Accordingly, magazines of 15

  rounds or fewer are the sort of “arms” “typically possessed by law-abiding citizens for lawful

  purposes” and are therefore within the protections of the Second Amendment. See Heller, 554

  U.S. at 625.

     Whether by vague chilling or outright prohibition, “designed to be readily converted” casts

  into grave doubt the ownership, sale, acquisition, and temporary transfer of an enormous class of

  arms. Whereas the unconstitutional ordinance in Heller banned all handguns, HB 1224 is even

  more sweeping. It effectively outlaws or disables 82% of currently-manufactured handguns and

  a large fraction of rifles. This is a straightforward violation of Heller’s holdings that widespread

  handgun bans and bans against fully functional firearms in the home are unconstitutional. See

  Heller, 554 U.S. at 630 (ordinance requiring disassembly of a firearm while the firearm is in the

  owner’s home is unconstitutional because the ordinance made it impossible for citizens to use

  legal firearms for the core Second Amendment purpose of self-defense).

     Thus, for the reasons detailed above, a prohibition on some or most magazines of 15 rounds

  or fewer imposes an unconstitutional burden on Second Amendment rights. Therefore, even if

  the phrase “designed to be readily converted” is not unconstitutionally vague, the Plaintiffs are

  nonetheless likely to prevail on the merits because the “designed to be readily converted”

  prohibition expressly violates constitutional protections under the Second Amendment.




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          Bureau of Alcohol, Tobacco, Manufacturing and Explosives, Annual Firearms
  Manufacturing and Export Report 2011 (2,598,133 “pistols”; 572,867 “revolvers”),
  https://www.atf.gov/files/statistics/download/afmer/2011-final-firearms-manufacturing-export-
  report.pdf.
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         I.      Plaintiffs Are Likely to Prevail on the Merits Because HB 1224’s
                 “Continuous Possession” Requirement Are Unconstitutional under the
                 Second Amendment.

     A citizen’s right to “keep” arms includes the right to “take them to have them repaired.”

  Andrews v. State, 50 Tenn. 165, 1871 WL 3579 at *2 (1871). Andrews is favorably cited in

  Heller. Heller, 554 U.S. at 608, 629. More generally, the Second Amendment protects all

  “lawful purposes” of keeping and bearing arms. See id. at 625.

     HB 1224 criminally punishes anyone who “transfers” a “large capacity magazine.” HB 1224

  allows “grandfathered” owners to “possess” (but not to engage in “transfers” of) such a magazine

  if the owner maintains “continuous possession” of the “grandfathered” magazine. The Attorney

  General’s Technical Guidance purports to interpret “continuous possession” as allowing

  “temporary transfers” if the transferee is in the “continual physical presence” of the owner.

  Attachment B. Even if the Attorney General’s interpretation is construed as binding throughout

  the State, the following scenarios will become crimes in Colorado on July 1, unless the

  Plaintiffs’ requested preliminary relief is granted:

        The owner leaves the house for several hours. The spouse and all family members are
         specifically authorized by the owner to use a firearm and its magazine for lawful self-
         defense in case of home invasion. While the owner is gone, the wife or other family
         member holds the firearm (which contains the magazine) for a moment, or for a longer
         period, or picks it up to move it from one room to another.

        With the owner’s permission, a family member or friend takes the firearm and its
         magazine to a target range. While the owner remains at home, the transferee practices
         gun safety at the target range.

        A reserve member of the Armed Forces is called to duty for several months. While the
         serviceperson is away from home, his or her family members are authorized to use the
         magazine and its associated firearm for lawful self-defense, target practice, and other
         lawful activities. The family members do so.

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        A woman has a Concealed Carry Permit issued by her local Sheriff, pursuant to
         Colorado’s Concealed Carry Act. COLO. REV. STAT. §§ 18-12-201 et seq. She sometimes
         leaves her home unaccompanied by her husband, and therefore not in his “continual
         physical presence.” Outside the home, the woman sometimes carries her husband’s gun
         and its associated magazine in various public places, in full compliance with the
         Concealed Carry Act and all other laws related to the carrying of firearms.

        A magazine needs to be repaired. The owner brings the magazine to a licensed gunsmith.
         (A person who is engaged in the business of repairing firearms is required to have a
         Federal Firearms License, similar to a person who is engaged in the business of selling
         firearms. 27 C.F.R. § 478.11.) The owner leaves the magazine with the gunsmith for
         several weeks. After the magazine is repaired, the owner picks up the magazine from the
         gunsmith and pays for it.

        The owner’s firearm is not functioning properly. The gunsmith explains to the owner that
         in order for the gunsmith to test the firearm’s function, before and after repair, the
         gunsmith needs to use the firearm’s magazine. The owner leaves the firearm and its
         magazine with the gunsmith. Four days later, the gunsmith has completed the repair work
         on the firearm, and has used the magazine to test the firearm for proper function when
         feeding ammunition. The owner picks up the firearm from the gunsmith and brings it
         home.

        The Technical Guidance protects gunsmiths who provide while-you-wait service. Some
         such gunsmiths might immediately test fire the gun and magazine, have all the
         replacement parts on hand, and instantly begin repair immediately of a gun or magazine.
         The owner patiently waits in the store, in the “continual physical presence” of the
         gunsmith. But during the gunsmith’s several hours of work, the owner steps outside the
         gunsmith’s shop in order to take a phone call, smoke a cigarette, or run errands.

        The owner’s neighbor is being threatened by a violent stalker, who is the subject of a
         protective order. The owner lends the firearm to his neighbor for 48 hours. The neighbor
         wears the firearm and its magazine in a holster at her home when she is awake, and keeps
         the firearm and the magazine nearby when she is asleep.

        The owner is about to go on a month-long vacation. She wants to make sure that the
         magazine is not stolen. She gives the magazine to her neighbor, who stores the magazine
         in a locked safe.

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        The owner is going to visit a relative who lives in Salt Lake City. The owner drives to
         Denver International Airport. In compliance with all federal laws involving the
         transportation of firearms, the owner checks the firearm and the unloaded magazine
         (which is outside the firearm) in a locked case. Airline personnel take possession of the
         case and of the firearm and magazine therein. The airline employees place the case in the
         baggage compartment of the airplane. After the airplane lands, the owner retrieves the
         case, firearm, and magazine at Salt Lake City International Airport. The owner’s
         possession and transportation of the firearm and the magazine are fully compliant with all
         Utah laws.

  In every one of the above scenarios, every person is guilty of a crime punishable by a year in jail

  unless preliminary relief is granted against HB 1224.

     HB 1224’s broad ban on legitimate activities with firearms and their associated magazines

  burdens the exercise of Second Amendment rights, including “the core lawful purpose of self-

  defense.” Heller, 554 U.S. at 630. Some of what is banned is parallel to two of the provisions

  which were held unconstitutional in Heller. The District Council in Heller banned functional

  firearms in the home by requiring that arms always be disassembled or locked. Id. at 630. HB

  1224 does the same by allowing a husband to let his wife use his gun for self-defense in the

  home, but forbidding the wife to use the magazine, which is necessary for the firearm to be

  functional. This makes it “impossible for citizens to use them for the core lawful purpose of self-

  defense.” Id.

     Thus, in the absence of injunctive relief, the practical effect of HB 1224’s “continuous

  possession” requirement will be the widespread criminalization of the most innocuous and

  otherwise lawful transfers and uses of ordinary firearms and firearm magazines. “Under any of

  the standards of scrutiny that we have applied to enumerated constitutional rights,” the

  prohibition of ordinary uses of ordinary guns and associated magazines “would fail constitutional


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  muster.” See Heller, 554 U.S. at 628. Therefore, Plaintiffs are likely to succeed on the merits

  because HB 1224’s “continuous possession” requirement for existing owners infringes the right

  to keep and bear arms.

                                              CONCLUSION

     Plaintiffs request that this Court grant a temporary restraining order and preliminary

  injunction against the enforcement of several provisions of HB 1224 until the Court makes its

  determination as to whether HB 1224, as written, violates the Second and Fourteenth

  Amendments of the United States Constitution. Those provisions are:

        “or that is designed to be readily converted to accept”

        “and (II) maintains continuous possession of the large-capacity magazine.”

     In addition, Plaintiffs request that this Court grant a temporary restraining order and

  preliminary injunction against the enforcement of the word “transfers” as used in the paragraph

  of HB 1224 to be codified at Colo. Rev. Stat. § 18-12-302(1)(a).

         Dated this 12th day of June, 2013.




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                                      Respectfully submitted,


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                                     CERTIFICATE OF SERVICE



          I hereby certify that on June 12, 2013, I have caused to be presented the foregoing to the
  Clerk of Court for filing and uploading to the CM/ECF system which will send notification of
  such filing to the following e-mail address:

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     NOTE: The governor signed this measure on 3/20/2013.
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         HOUSE BILL 13-1224


         BY REPRESENTATIVE(S) Fields, Court, Fischer, Hullinghorst, Labuda,
         Levy, Melton, Pabon, Rosenthal, Schafer, Williams, Young, Buckner,
         Ferrandino;
         also SENATOR(S) Hodge, Aguilar, Guzman, Heath, Nicholson, Ulibarri,
         Morse.


         CONCERNING PROHIBITING LARGE-CAPACITY AMMUNITION MAGAZINES.


         Be it enacted by the General Assembly of the State of Colorado:

                  SECTION 1. In Colorado Revised Statutes, add part 3 to article 12
         of title 18 as follows:

                                    PART 3
                     LARGE-CAPACITY AMMUNITION MAGAZINES

              18-12-301. Definitions. AS USED IN THIS PART 3, UNLESS THE
         CONTEXT OTHERWISE REQUIRES:

              (1) "BUREAU" MEANS THE COLORADO BUREAU OF INVESTIGATION
         CREATED AND EXISTING PURSUANT TO SECTION 24-33.5-401, C.R.S.

                 (2) (a) "LARGE-CAPACITY MAGAZINE MEANS:
                                                                                              Exhibit A
         ________
         Capital letters indicate new material added to existing statutes; dashes through words indicate
         deletions from existing statutes and such material not part of act.                                           254
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               (I) A FIXED OR DETACHABLE MAGAZINE, BOX, DRUM, FEED STRIP, OR
         SIMILAR DEVICE CAPABLE OF ACCEPTING, OR THAT IS DESIGNED TO BE
         READILY CONVERTED TO ACCEPT, MORE THAN FIFTEEN ROUNDS OF
         AMMUNITION;

               (II) A FIXED, TUBULAR SHOTGUN MAGAZINE THAT HOLDS MORE
         THAN TWENTY-EIGHT INCHES OF SHOTGUN SHELLS, INCLUDING ANY
         EXTENSION DEVICE THAT IS ATTACHED TO THE MAGAZINE AND HOLDS
         ADDITIONAL SHOTGUN SHELLS; OR

               (III) A NONTUBULAR, DETACHABLE MAGAZINE, BOX, DRUM, FEED
         STRIP, OR SIMILAR DEVICE THAT IS CAPABLE OF ACCEPTING MORE THAN
         EIGHT SHOTGUN SHELLS WHEN COMBINED WITH A FIXED MAGAZINE.

               (b) "LARGE-CAPACITY MAGAZINE" DOES NOT MEAN:

               (I) A FEEDING DEVICE THAT HAS BEEN PERMANENTLY ALTERED SO
         THAT IT CANNOT ACCOMMODATE MORE THAN FIFTEEN ROUNDS OF
         AMMUNITION;

              (II) AN ATTACHED TUBULAR DEVICE DESIGNED TO ACCEPT, AND
         CAPABLE OF OPERATING ONLY WITH, .22 CALIBER RIMFIRE AMMUNITION; OR

               (III) A TUBULAR MAGAZINE THAT IS CONTAINED IN A LEVER-ACTION
         FIREARM.


               18-12-302. Large-capacity magazines prohibited - penalties -
         exceptions. (1) (a) EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION, ON
         AND AFTER JULY 1, 2013, A PERSON WHO SELLS, TRANSFERS, OR POSSESSES
         A LARGE-CAPACITY MAGAZINE COMMITS A CLASS 2 MISDEMEANOR.

               (b) ANY PERSON WHO VIOLATES SUBSECTION (1) OF THIS SECTION
         AFTER HAVING BEEN CONVICTED OF A PRIOR VIOLATION OF SAID SUBSECTION
         (1) COMMITS A CLASS 1 MISDEMEANOR.

              (c) ANY PERSON WHO VIOLATES SUBSECTION (1) OF THIS SECTION
         COMMITS A CLASS 6 FELONY IF THE PERSON POSSESSED A LARGE-CAPACITY
         MAGAZINE DURING THE COMMISSION OF A FELONY OR ANY CRIME OF
         VIOLENCE, AS DEFINED IN SECTION 18-1.3-406.


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               (2) (a) A PERSON MAY POSSESS A LARGE-CAPACITY MAGAZINE IF HE
         OR SHE:

                (I) OWNS THE LARGE-CAPACITY MAGAZINE ON THE EFFECTIVE DATE
         OF THIS SECTION; AND

               (II) MAINTAINS CONTINUOUS POSSESSION OF THE LARGE-CAPACITY
         MAGAZINE.

               (b) IF A PERSON WHO IS ALLEGED TO HAVE VIOLATED SUBSECTION (1)
         OF THIS SECTION ASSERTS THAT HE OR SHE IS PERMITTED TO LEGALLY
         POSSESS A LARGE-CAPACITY MAGAZINE PURSUANT TO PARAGRAPH (a) OF
         THIS SUBSECTION (2), THE PROSECUTION HAS THE BURDEN OF PROOF TO
         REFUTE THE ASSERTION.

               (3) THE OFFENSE DESCRIBED IN SUBSECTION (1) OF THIS SECTION
         SHALL NOT APPLY TO:

                (a) AN ENTITY, OR ANY EMPLOYEE THEREOF ENGAGED IN HIS OR HER
         EMPLOYMENT DUTIES, THAT MANUFACTURES LARGE-CAPACITY MAGAZINES
         WITHIN COLORADO EXCLUSIVELY FOR TRANSFER TO, OR ANY LICENSED GUN
         DEALER, AS DEFINED IN SECTION 12-26.1-106 (6), C.R.S., OR ANY EMPLOYEE
         THEREOF ENGAGED IN HIS OR HER OFFICIAL EMPLOYMENT DUTIES, THAT
         SELLS LARGE-CAPACITY MAGAZINES EXCLUSIVELY TO:

               (I) A BRANCH OF THE ARMED FORCES OF THE UNITED STATES;

               (II) A DEPARTMENT, AGENCY, OR POLITICAL SUBDIVISION OF THE
         STATE OF COLORADO, OR OF ANY OTHER STATE, OR OF THE UNITED STATES
         GOVERNMENT;

              (III) A FIREARMS RETAILER FOR THE PURPOSE OF FIREARMS SALES
         CONDUCTED OUTSIDE THE STATE;

               (IV) A FOREIGN NATIONAL GOVERNMENT THAT HAS BEEN APPROVED
         FOR SUCH TRANSFERS BY THE UNITED STATES GOVERNMENT; OR

              (V) AN OUT-OF-STATE TRANSFEREE WHO MAY LEGALLY POSSESS A
         LARGE-CAPACITY MAGAZINE; OR



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               (b) AN EMPLOYEE OF ANY OF THE FOLLOWING AGENCIES WHO BEARS
         A FIREARM IN THE COURSE OF HIS OR HER OFFICIAL DUTIES:

               (I) A BRANCH OF THE ARMED FORCES OF THE UNITED STATES; OR

               (II) A DEPARTMENT, AGENCY, OR POLITICAL SUBDIVISION OF THE
         STATE OF COLORADO, OR OF ANY OTHER STATE, OR OF THE UNITED STATES
         GOVERNMENT; OR

               (c) A PERSON WHO POSSESSES THE MAGAZINE FOR THE SOLE PURPOSE
         OF TRANSPORTING THE MAGAZINE TO AN OUT-OF-STATE ENTITY ON BEHALF
         OF A MANUFACTURER OF LARGE-CAPACITY MAGAZINES WITHIN COLORADO.


                18-12-303. Identification markings for large-capacity magazines
         - rules. (1) A LARGE-CAPACITY MAGAZINE THAT IS MANUFACTURED IN
         COLORADO ON OR AFTER THE EFFECTIVE DATE OF THIS SECTION MUST
         INCLUDE A PERMANENT STAMP OR MARKING INDICATING THAT THE
         LARGE-CAPACITY MAGAZINE WAS MANUFACTURED OR ASSEMBLED AFTER
         THE EFFECTIVE DATE OF THIS SECTION. THE STAMP OR MARKING MUST BE
         LEGIBLY AND CONSPICUOUSLY ENGRAVED OR CAST UPON THE OUTER
         SURFACE OF THE LARGE-CAPACITY MAGAZINE.

               (2)  THE BUREAU MAY PROMULGATE SUCH RULES AS MAY BE
         NECESSARY FOR THE IMPLEMENTATION OF THIS SECTION, INCLUDING BUT
         NOT LIMITED TO RULES REQUIRING A LARGE-CAPACITY MAGAZINE THAT IS
         MANUFACTURED ON OR AFTER THE EFFECTIVE DATE OF THIS SECTION TO
         BEAR IDENTIFYING INFORMATION IN ADDITION TO THE IDENTIFYING
         INFORMATION DESCRIBED IN SUBSECTION (1) OF THIS SECTION.

               (3) A PERSON WHO MANUFACTURES A LARGE-CAPACITY MAGAZINE
         IN COLORADO IN VIOLATION OF SUBSECTION (1) OF THIS SECTION COMMITS
         A CLASS 2 MISDEMEANOR AND SHALL BE PUNISHED IN ACCORDANCE WITH
         SECTION 18-1.3-501.


               SECTION 2. Effective date. This act takes effect July 1, 2013.

               SECTION 3. Safety clause. The general assembly hereby finds,




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         determines, and declares that this act is necessary for the immediate
         preservation of the public peace, health, and safety.




         ____________________________        ____________________________
         Mark Ferrandino                                     John P. Morse
         SPEAKER OF THE HOUSE                              PRESIDENT OF
         OF REPRESENTATIVES                                  THE SENATE




         ____________________________        ____________________________
         Marilyn Eddins                                   Cindi L. Markwell
         CHIEF CLERK OF THE HOUSE                         SECRETARY OF
         OF REPRESENTATIVES                                  THE SENATE




                APPROVED________________________________________




                          _________________________________________
                          John W. Hickenlooper
                          GOVERNOR OF THE STATE OF COLORADO




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Daniel D. Domenico                                                    Phone (720) 508·6000
Solicitor General
                                                                        May 16,2013
       Colorado Department of Public Safety
       Executive Director James H. Davis
       700 Kipling Street, 3rd Floor
       Denver CO 80215

       RE:    Technical Guidance on the Interpretation and Application of House Bill13-
              1224, Large-Capacity Magazine Ban

       Dear Executive Director Davis:

       House Bill13-1224, which was passed during this year's legislative session and
       becomes effective July 1, 2013, prohibits the sale, transfer, and possession of "large-
       capacity ammunition magazines." On March 20, 2013, in a statement issued at the
       time he signed HB 13-1224 into law, Governor Hickenlooper instructed "the
       Colorado Department of Public Safety to consult with the Office of the Attorney
       General and others, as necessary ... and then to draft and issue, to law
       enforcement agencies in the State of Colorado, technical guidance on how the law
       should be interpreted and enforced."

       This letter sets forth the technical guidance requested by the Governor.

       Introduction

       This technical guidance, issued at the request of the Governor, is meant to assist
       Colorado law enforcement agencies in understanding and applying portions of
       House Bill13-1224, which regulates the sale, transfer, and possession of "large
       capacity magazines." Although this guidance is not binding on the courts, it is based
       upon existing legal principles and represents a fair and accurate reading of the
       legislation.

       Definition of"Large Capacity Magazine"

       Under House Bill 1224, the term "large capacity magazine" is defined, in part, as
       follows: "a fixed or detachable magazine, box, drum, feed strip, or similar device
       capable of accepting, or that is designed to be readily converted to accept, more than
       fifteen rounds of ammunition."


                                                                        Exhibit B

                                                                                                  259
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   The phrase "designed to be readily converted to accept more than fifteen rounds of
   ammunition" has prompted questions regarding the scope of the definition,
   particularly because some ammunition magazines include features, such as
   removable baseplates, that can be removed and replaced, or otherwise altered, so
   that the magazine accepts more than fifteen rounds.

   The term "designed," when used as a modifier, denotes a feature that meets a
   specific function. This suggests that design features that fulfill more than one
   function, and whose function is not specifically to increase the capacity of a
   magazine, do not fall under the definition. The features of a magazine must be
   judged objectively to determine whether they were "designed to be readily converted
   to accept more than fifteen rounds."

   Under this reading of the definition, a magazine that accepts fifteen or fewer rounds
   is not a "large capacity magazine" simply because it includes a removable baseplate
   which may be replaced with one that allows the magazine to accept additional
   rounds. On many magazines, that design feature is included specifically to permit
   cleaning and maintenance. Of course, a magazine whose baseplate is replaced with
   one that does, in fact, allow the magazine to accept more than fifteen rounds would
   be a "large capacity magazine" under House Bill 1224.

   "Possession" of Large-Capacity Magazines and Application of the
   Grandfather Clause of House Bill 1224

   House Bill 1224 also places limitations on when and how a large-capacity magazine
   may be sold, transferred, or possessed. In particular, the bill's grandfather clause
   permits possession of a large-capacity magazine on or after July 1, 2013 by an
   individual who "owns" such a magazine on that date and "maintains continuous
   possession" of it thereafter. However, the bill prohibits the owner of a large-capacity
   magazine from selling or transferring it after July 1, 2013, and also prohibits an
   individual who as of July 1 did not own and since then has not continuously
   possessed a particular large-capacity magazine to possess it after July 1, 2013.

   Responsible maintenance, handling, and gun safety practices, as well as
   constitutional principles, dictate that these provisions cannot be reasonably
   construed as barring the temporary transfer of a large-capacity magazine by an
   individual who remains in the continual physical presence of the temporary
   transferee, unless that temporary transfer is otherwise prohibited by law. For
   example, an owner should not be considered to have "transferred" a large-capacity
   magazine or lost "continuous possession" of it simply by handing it to a gunsmith,
   hunting partner, or an acquaintance at a shooting range with the expectation that it
   will be promptly returned. Likewise, a gunsmith, hunting partner, or acquaintance
   at a shooting range who acquires temporary physical custody of a large-capacity
   magazine from its owner should not be considered in "possession" of the magazine




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   so long as he or she remains in the owner's physical presence. However, it would be
   unreasonable to construe the bill or this guidance to exempt a temporary transfer of
   a large-capacity magazine in connection with criminal activity.

   For similar reasons, the bill's requirement that an owner must maintain
   "continuous possession" in order to ensure the application of the grandfather clause
   cannot reasonably be read to require continuous physical possession. Proper storage
   of a large-capacity magazine, such as in a gun safe in the owner's home or in a
   secure carrying case in the trunk of an automobile, is entirely consistent with the
   bill's intent of limiting the acquisition and permanent transfer oflarge-capacity
   magazines after the effective date of July 1, 2013.

                                         Sincerely,
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                                         ., -I~ \.oJ . __,v..U~.--7
                                         JQ.rfN W. SUTHERS --··
                                         _0\llorado Attorney General
                                        (/


   cc:      Governor John Hickenlooper
            Jack Finlaw, Chief Legal Counsel to Governor Hickenlooper




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   MIME−Version:1.0
   From:COD_ENotice@cod.uscourts.gov
   To:COD_NEF@coddb.cod.circ10.dcn
   Message−Id:4053396@cod.uscourts.gov
   Subject:Activity in Case 1:13−cv−01300−MSK−MJW Cooke et al v. Hickenlooper Order
   Content−Type: text/html

                                              U.S. District Court

                                              District of Colorado

   Notice of Electronic Filing


   The following transaction was entered on 6/13/2013 at 4:15 PM MDT and filed on 6/13/2013

   Case Name:       Cooke et al v. Hickenlooper
   Case Number:     1:13−cv−01300−MSK−MJW
   Filer:
   Document Number: 31(No document attached)
   Docket Text:
    ORDER SETTING HEARING: The Court will conduct a non−evidentiary law and motion
   hearing on the Plaintiffs' Motion for Temporary Restraining Order and Preliminary Injunction
   [29] on 6/17/2013 at 04:30 PM. The parties shall be prepared to address: (i) whether
   determination of any provisional injunctive relief should be consolidated with an expedited
   trial on the merits pursuant to Fed. R. Civ. P 65(a)(2); (ii) what factual issues relevant to the
   applicable preliminary injunction factors are in dispute, such that an evidentiary hearing is
   necessary; and (iii) to the extent an evidentiary hearing is necessary, how much time is
   necessary for that hearing. By Chief Judge Marcia S. Krieger on 6/13/13. Text Only Entry
   (msklc2, )


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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-CV-1300-MSK-MJW

  JOHN B. COOKE, Sheriff of Weld County, et al.,

             Plaintiffs
  v.

  JOHN W. HICKENLOOPER, Governor of the State of Colorado,

             Defendant.

       PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION FOR CERTIFICATION
           OF QUESTIONS OF LAW TO THE COLORADO SUPREME COURT

            Plaintiffs submit this Response to Defendant’s Motion for Certification of Questions of

  Law to the Colorado Supreme Court. For the reasons set forth below, the motion should be

  denied.

  I.        INTRODUCTION

            Certification in this case is not only unnecessary, but completely unhelpful given the

  vagueness problems with HB 1224. Applicable case law directs that where, as here, challenged

  legislation suffers from vagueness, it is not subject to a limiting interpretation by the state court

  because the legislation is open to an indefinite number of interpretations, and nothing less than

  extensive adjudications in a variety of factual situations would bring the legislation within the

  bounds of constitutional certainty.     Certification of the two questions posed by Defendant

  therefore would not be dispositive, nor would it serve to narrow the constitutional issues facing

  this Court.




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         HB 1224 was introduced on February 7, 2013, and signed by the Governor on March 20,

  2013 – a total of 41 days. The Governor has now had three months working with his lawyers to

  define: (a) which magazines that presently use 15 rounds or less are “designed to be readily

  converted” to 16 rounds or more and are therefore illegal under HB 1224; and (b) what

  “possession” constitutes “continuous possession” allowing a present owner of a magazine to

  avail himself or herself of HB 1224’s facially highly restrictive “grandfather clause.” After May

  16’s “Technical Guidance,” Plaintiffs’ highly detailed complaint filed on May 17 pointing out

  the problems with both clauses, and now the questions posed to be certified to the Colorado

  Supreme Court (filed on June 12), there remains no definition, or even a suggested definition, of

  either of the terms “designed to be readily converted” or “continuous possession” that would

  allow citizens to know which magazines and what possession are legal – and that law

  enforcement can use to enforce them. For these reasons and those detailed below, certification is

  particularly inappropriate in this case.

  II.    QUESTIONS FOR WHICH CERTIFICATION IS SOUGHT

         At issue in Plaintiffs’ motion for preliminary injunction and the two questions for which

  certification is sought are two aspects of HB 1224 that everyone agrees are vague and capable of

  multiple interpretations. Upon signing HB 1224 on March 20, 2013, the Governor issued a

  “signing statement” wherein he effectively conceded that there were interpretation problems

  attendant to HB 1224’s “designed to be readily converted” language as well as what would

  constitute “continuous possession,” and asked that the Attorney General follow up on trying to

  better define what these terms meant. The Attorney General then issued a “Technical Guidance”




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  addressing these two problem areas of HB 1224 and noted at the beginning that it was issuing the

  “Technical Guidance” at the request of the Governor.

             In the “Technical Guidance,” the Attorney General states that the bill’s definition of a

  “large capacity magazine” does not include every magazine that could conceivably be converted

  to a “large capacity magazine” “simply because” the magazine has a removable base plate or

  other similar features. “Technical Guidance” at 2. Rather than providing any bright-line test, the

  “Technical Guidance” concludes that a magazine’s “features” “must be judged objectively to

  determine whether they were ‘designed to be readily converted to accept more than fifteen

  rounds.’” The “Technical Guidance” does not further define what “judged objectively” means,

  nor does it define who or what does the judging, or what process would be employed to make the

  necessary determinations.

             Regarding “continuous presence,” the “Technical Guidance” states that only “temporary

  transfers” of “grandfathered” magazines are permissible, but only so long as the magazine

  remains in the “continual physical presence” of the owner.          Furthermore, any “temporary

  transfer” must also be done with the “expectation that it will be promptly returned.” Id.

  Accordingly, all “temporary transfers” where the “grandfathered” magazine leaves the “physical

  presence” of the owner destroys “grandfather” status and any possession after such transfer is

  illegal.

             The questions Defendant proposes to certify not only deviate from the “Technical

  Guidance” but any answer to them would not add any clarity to the uncertainty surrounding these

  two aspects of HB 1224. As for the first question proposed by Defendant, it does not even

  reference the language of the statute: “designed to be readily converted.” While it is not entirely


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  clear what exactly is being asked of the Colorado Supreme Court, it appears that what is being

  sought is a legal conclusion that irrespective of the language of HB 1224 and its “designed to be

  readily converted” language, the intent of HB 1224 is that it not “amount to a ban on functional

  magazines for most handguns and many rifles.” (Emphasis added.) This question, even if

  answered, would not provide guidance on what exactly “designed to be readily converted”

  means, which is the focus of the motion for a temporary restraining order or preliminary

  injunction.

         The lack of any certainty arising from the first question is underscored by the question’s

  last clause: “or does it apply only to magazines that are principally used with extensions or

  devices that increase the combined capacity to more than 15 rounds.” (Emphasis added.) This

  too deviates from the “Technical Guidance.” The “Technical Guidance” specifically addressed

  “designed to be readily converted” and said magazines with removable base plates would not be

  deemed prohibited by this language “simply because” of such a feature and stated that each

  magazine would then be subject to an “objective test” to see whether the magazine was

  “designed to be readily converted.” By contrast, Defendant’s first proposed question indicates

  that some test will still need to be applied on a magazine-by-magazine basis to determine

  whether it is “only” one of those magazines that is “principally used” with an “extender or

  device.” The question suggests no definition for what would constitute “principally,” or what is

  an “extender,” or, especially, what is a “device.” It is also silent on what type of test or process

  should be used to make the determination.

         In short, the first question is designed to obtain from the Colorado Supreme Court an

  answer based upon a false choice: does HB 1224’s definition of “large capacity magazine” either


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  (a) “amount[] to a ban on functional magazines for most handguns and many rifles” (which

  would make it patently unconstitutional) or (b) encompass “only” some limited subset of

  magazines that are “principally used” with an “extender or a device”? In a variation on begging

  the question, the only answer could be HB 1224’s intent is not to be patently unconstitutional,

  but rather, it should be read as applying to some more limited but still undefined subset of

  magazines.    The question appears designed to avoid providing any real definition of what

  “designed to be readily converted” actually means, but rather to shift the focus to one of

  empirical effects.

         The second question also deviates from the “Technical Guidance.” There, “continuous

  possession” means “continual physical presence” of the owner, with certain “temporary

  transfers” being allowed so long as “continual physical presence” was maintained and that the

  “temporary transfer” must also be done with the “expectation that it will be promptly returned.”

  In Defendant’s second question, he substitutes an allowance for “another person to temporarily

  hold, use, or share [a magazine] for lawful purposes.” There is no definition of what constitutes

  “temporarily,” “hold,” “use,” or, especially, “share.” The second question, even if answered yes

  (as Defendant intends), would provide far less – not more – clarity than that offered in the

  “Technical Guidance.”




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  III.    LEGAL ANALYIS

          A.     Certification Should Not Be Routinely Granted, But Only Where the State
                 Law Questions Are “Dispositive” or Would Avoid or Substantially Modify
                 the Federal Constitutional Challenge to the Statute

          The Tenth Circuit has held that certification should not be routinely invoked. Armijo v.

  Ex Cam, Inc., 843 F.2d 406, 407 (10th Cir. 1988) (“Certification is not to be routinely invoked

  whenever a federal court is presented with an unsettled question of state law.”). Other Tenth

  Circuit cases stand for a similar proposition. For example, in Pino v. United States, 507 F.3d

  1233 (10th Cir. 2007), the Tenth Circuit declared that “we will not trouble our sister state courts

  every time an arguably unsettled question of state law comes across our desks. When we see a

  reasonably clear and principled course, we will seek to follow it ourselves.” Id. at 1236.

          Thus, certification in the Tenth Circuit is appropriate only where the state law questions

  are both “unsettled and dispositive.” Anaconda Minerals Co. v. Stoller Chem. Co., 990 F.2d

  1175, 1177 (10th Cir. 1993).       “Moreover, where statutory interpretation is at issue, the

  touchstone of our certification inquiry is whether the state statute is readily susceptible of an

  interpretation that ‘would avoid or substantially modify the federal constitutional challenge to the

  statute.’” Kansas Judicial Review v. Stout, 519 F.3d 1107, 1119 (10th Cir. 2008) (quoting

  Bellotti v. Baird, 428 U.S. 132, 148 (1976)).

          Defendant cited Larrieu v. Best Buy Stores, 491 F. Appx. 864 (10th Cir. 2012), for the

  applicable standard. Larrieu, unlike the cases cited above, is an unpublished decision. However,

  the standard recited in Larrieu focuses on whether the state law question is, among other things,

  “determinative.” Id. at 866. It is therefore similar to the “unsettled and dispositive” standard in

  Anaconda Minerals.


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         Larrieu also provides a very useful contrast between the kinds of cases deserving of

  certification and those that are not. In Larrieu the outcome of a personal injury lawsuit depended

  on which of two competing interpretations of the Colorado Premises Liability Act would prevail

  in Colorado state courts. The case did not involve a constitutional challenge to the Act. The

  Tenth Circuit, emphasizing that both its own precedent as well as C.A.R. 21.1 focuses on the

  word “determinative,” id. at 865, certified the case to the Colorado Supreme Court to address

  whether the Act applies to injuries caused by a defendant-landowner’s employee during an

  activity not directly or inherently related to the land. If the answer was no, the district court’s

  grant of summary judgment would be affirmed and the case would be at an end; if the answer

  was yes, the plaintiff’s lawsuit would be reinstated. The answer to the certified question would

  be determinative.

         By contrast, in this case the answer to Defendant’s proposed questions will not be

  determinative in any sense. As discussed above, even if the Colorado Supreme Court answers

  the questions in the way Defendant would like, substantial vagueness and uncertainty will

  remain. Simply stated, the questions as posed do nothing to address, much less correct, the

  vagueness concerns with regard to the terms “designed to be readily converted” and “continuous

  possession.” As a result, the Supreme Court’s response will be neither “determinative” nor

  “dispositive” of the vagueness problems created by the use of these two terms. 1




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     While Defendant presumably wishes that the Colorado Supreme Court would read out of the
  statute the words “designed to be readily converted,” as further discussed below, rewriting a
  statute is not an appropriate purpose for certification.

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         B.      The Pullman Abstention Doctrine Provides Additional Guidance to this
                 Court in Addressing Motions for Certification to a State Supreme Court

         The Tenth Circuit, in fashioning the principles applicable to state certification questions,

  has borrowed heavily from the Pullman abstention doctrine. R.R. Comm’n v. Pullman Co., 312

  U.S. 496 (1941). In Kansas Judicial Review, the Tenth Circuit held that the “touchstone” of a

  certification inquiry is whether the state legislation can readily be interpreted in a way that

  “would avoid or substantially modify the federal constitutional challenge to the statute.” 519

  F.3d at 1119 (quoting Bellotti v. Baird, 428 U.S. at 148). This “touchstone” was derived, in turn,

  from Pullman abstention cases. See, e.g., Harman v. Forssenius, 380 U.S. 528, 535 (1965)

  (abstention appropriate only when the state law is “fairly subject to an interpretation which will

  render unnecessary or substantially modify the federal constitutional question” (emphasis

  added)).

         Although Defendant does not bring his motion pursuant to the Pullman abstention

  doctrine, other principles derived from Pullman precedent are equally applicable to his

  certification request. Indeed, even Defendant himself has treated abstention and certification

  interchangeably. He states that “certification or abstention is inappropriate in cases involving a

  challenged provision that is not ‘fairly subject to an interpretation which will render unnecessary

  or substantially modify the federal constitutional question.’” Motion, ¶ 7 (quoting Board of

  Airport Comm’rs v. Jews for Jesus, 482 U.S. 569, 575-76 (1989)).

                 1.     When a Statute’s Language Is Open to an Indefinite Number of
                        Interpretations, State Certification Will Not Be Useful

         In Board of Airport Comm’rs v. Jews for Jesus, the United States Supreme Court held

  that neither certification nor abstention was available. 482 U.S. at 575. Of particular relevance


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  to the instant case, the Court held that abstention was inappropriate because the state statute at

  issue was so vague that any limiting construction would be of no assistance. Id. In so holding,

  the Court discussed its earlier decision in Baggett v. Bullitt, 377 U.S. 360 (1964), which involved

  the constitutionality of several statutes requiring loyalty oaths:

          The Baggett Court concluded that abstention would serve no purpose given the
          lack of any limiting construction, and held the statutes unconstitutional on their
          face under the First Amendment overbreadth doctrine. We observed that the
          challenged loyalty oath was not “open to one or a few interpretations, but to an
          indefinite number,” and concluded that “[i]t is fictional to believe that anything
          less than extensive adjudications, under the impact of a variety of factual
          situations, would bring the oath within the bounds of permissible constitutional
          certainty.” Here too, it is difficult to imagine that the resolution could be limited
          by anything less than a series of adjudications, and the chilling effect of the
          resolution on protected speech in the meantime would make such a case-by-case
          adjudication intolerable.

  482 U.S. at 575. Thus, when a state statute is vague, it is not fairly subject to a limiting

  interpretation, and certification is therefore inappropriate.

          In this case, Defendant concedes that HB 1224 “is subject to a range of interpretations,”

  i.e., that it is vague. Motion at ¶ 8.a. Despite Defendant’s assurance that submitting HB 1224 to

  the Colorado Supreme Court for interpretation “will likely” “obviate Plaintiffs’ vagueness

  challenges altogether,” that assurance flies in the face of the very United States Supreme Court

  precedent which Defendant cited in his Motion. Similar to Jews for Jesus and Baggett decisions,

  certification would be of no use because the vagueness problems inherent in HB 1224 are such

  that it can be limited by nothing less than a series of adjudications involving numerous factual

  situations.




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                  2.      This Court Cannot Certify to the Colorado Supreme Court for
                          Purposes of Rewriting the Statute

          It is also inappropriate to certify the interpretation of a state statute to a state supreme

  court for purposes of effectively re-writing the statute. City of Houston v. Hill, 482 U.S. 451

  (1987). In City of Houston, the Court refused to certify a question of interpretation to the Texas

  courts because “there is no uncertain question of state law whose resolution might affect the

  pending federal claim. . . . [T]his ordinance is neither ambiguous nor obviously susceptible of a

  limiting construction. A federal court may not properly ask a state court if it would care in effect

  to rewrite a statute.” Id. at 471.

          Defendant’s two proposed questions effectively invite the Colorado Supreme Court to

  rewrite HB 1224. For example, Defendant’s first question invites the Court to (1) import into the

  bill the words “principally used” despite the fact that neither of those words appears anywhere in

  the bill, and (2) write out of the bill the words “designed to be readily converted.” Similarly,

  Defendant’s second proposed question invites the Court to import into the bill an exception to

  the “continuous possession” requirement, allowing the owner to “allow[] another person to

  temporarily hold, use, or share it for lawful purposes.”       Again, the words “temporary” or

  “temporarily” do not appear anywhere in HB 1224. Defendant cannot utilize the certification

  procedure to ask the Colorado Supreme Court to rewrite an overbroad and vague bill.

                  3.      Federal Courts Should Be More Reluctant to Certify Questions in
                          Cases Involving Challenges Based on Fundamental Rights

          The Tenth Circuit observed that “[c]ourts have been particularly reluctant to abstain in

  cases involving facial challenges on First Amendment grounds, in part because the delay caused

  by declining to adjudicate the issues could prolong the chilling effect on speech.” Kansas


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  Judicial Review, 519 F.3d at 1119 (citing City of Houston v. Hill, 482 U.S. 451, 467-68 (1987)).

  The same concerns regarding delay are applicable to certification of questions to a state supreme

  court.

           Defendant clearly contemplates that all proceedings before this Court will stop while the

  parties brief the proposed questions to the Colorado Supreme Court. See Motion at ¶ 10 (alluding

  to concerns about delay “during the pendency of any certification proceedings”). Granting

  Defendant’s motion would mean that a ruling on Plaintiffs’ constitutional challenges inevitably

  would be delayed. There are many other issues involved in this case not addressed in either the

  Plaintiffs’ motion for preliminary injunction or in the proposed certified questions (e.g., the

  legality of all of HB 1229 requiring background checks of all private loans and transfers). There

  is no question that HB 1224 and HB 1229 seriously implicate all Coloradans’ Second

  Amendment rights. Whether these rights are in fact violated should be determined at the earliest

  possible time.

           C.      Certification Is Unnecessary Where the Federal Court Has Ready Access to
                   State Court Precedent and Other State Materials, and Where the Parties Are
                   Represented by State-Based Counsel

           In L. Cohen & Co., Inc. v. Dun & Bradstreet, Inc., 629 F. Supp. 1419 (D. Conn. 1986),

  the court noted that “[a] federal district court sitting in [the relevant state] is not without

  resources to decide the routine questions of statutory construction,” for it has “ready access to the

  various reported decisions of the [state] Supreme Court and the state lower courts construing the

  [relevant laws] . . . [and] also has access to the decisions of other courts construing similar state

  and federal statutes.”    Further, and most relevant to the present case, the court believed

  certification was unnecessary because the parties were “represented by competent [state-based]


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  counsel who [could] be relied upon to bring other relevant legislative and administrative

  materials to the court’s attention.” Id. at 1424-25.

          The Governor, his team of lawyers in the Attorney General’s office, and all executive

  branch departments including the Department of Public Safety (to whom the “Technical

  Guidance” was addressed) are before this Court and can inform this Court’s decision. The

  Colorado Supreme Court can add nothing more than to attempt a potential rewrite of the actual

  language used in HB 1224.

  IV.     THIS COURT SHOULD DENY CERTIFICATION IN THIS CASE

          The certification proposed by the Defendant fails all of the tests federal courts look to in

  determining whether to certify questions of law to state supreme courts. The motion to certify

  should be denied.

          Dated this 14th day of June, 2013.

                                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 14, 2013, I have caused to be presented the foregoing to the
  Clerk of Court for filing and uploading to the CM/ECF system which will send notification of
  such filing to the following e-mail address:


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